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 Case 2:19-cv-00553-HCN-CMR Document
                            SALT LAKE80-7 POLICE
                                           Filed 10/28/22 PageID.1269 Page 1 of 154
                                                     DEPARTMENT
                                          GENERAL OFFENSE HARDCOPY
               GO# SL 2017-149617 CLOSED/COMPLETED                906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




General Offense Information
 Operational status: CLOSED/COMPLETED
 Reported on: Aug-13-2017 (Sun.) 2226
 Occurred on: Aug-13-2017 (Sun.) 2217
 Approved on: Aug-14-2017 (Mon.) by: I57 - Mitchell, Todd C
 Report submitted by: O96 - Smith, Kristopher
 Org unit: Liberty Patrol/B/Grv
 Address: 1002 S STATE ST
           Municipality: SALT LAKE CITY County: SLC Cncl Dist 5
           District: 2 Beat: Z5 Grid: 232
 Bias: None (no bias)
 Family violence: NO

Offenses (Completed/Attempted)
 Offense: # 1 906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV - COMPLETED
 Location: Sidewalk/Curb
 Offender suspected of using: Not Applicable
 Weapon type: Handgun




                                                                             SLCC 000048
For: MH7014   Printed On: Aug-17-2018 (Fri.)                                               Page 1 of 154
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[]                                                             SALT LAKE                DEPARTMENT
                                                                            GENERAL OFFENSE HARDCOPY
I               IGO# SL 2017-149617 CLOSED/COMPLETED                                                                                   906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Attachment(s) - Witness Statement
    Attachment Description: WRIGHT,ASHLEY
    Reference Number:


                                                                                          SALT LAKE CITY POLICE DEPARTMENT
                                                                                          VICTIM & WITNESS STATEMENT

                                                                                          To be filled out by Police Officer


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For: MH7014     Printed On: Aug-17-2018 (Fri.)                                                                                                                                                 Page 2 of 154
 Case 2:19-cv-00553-HCN-CMR                                        Document 80-7 POLICE
                                                                                  Filed 10/28/22 PageID.1271 Page 3 of 154
[]                                                                 SALT LAKE                DEPARTMENT
                                                                                  GENERAL OFFENSE HARDCOPY
              GO# SL 2017-149617 CLOSED/COMPLETED                                                                                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Attachment(s) - Witness Statement
 Attachment Description: HEATON,JEFFREY
 Reference Number:

                                                                                        SALT LAKE CITY POLICE DEPARTMENT
                                                                                       VICTIM & WITNESS STATEMENT

                                                                                         To
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For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                                                                                                                                Page 3 of 154
 Case 2:19-cv-00553-HCN-CMR                      Document 80-7 POLICE
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[]                                               SALT LAKE                DEPARTMENT
                                                     GENERAL OFFENSE HARDCOPY
              GO# SL 2017-149617 CLOSED/COMPLETED                        906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




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For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                      Page 4 of 154
 Case 2:19-cv-00553-HCN-CMR                                              Document 80-7 POLICE
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                                                                                           GENERAL OFFENSE HARDCOPY
I               IGO# SL 2017-149617 CLOSED/COMPLETED                                                                                                906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Attachment(s) - Witness Statement
    Attachment Description: MITCHELL, LAURIE
    Reference Number:
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                                                                                                    SALT LAKE CITY POLICE DEPARTMENT
                                                                                                    VICTIM & WITNESS STATEMENT

                                                                                                        To be filled out by Police Officer


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                   Victim/Witness Signature                                                                                                          Date




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For: MH7014     Printed On: Aug-17-2018 (Fri.)                                                                                                                                                                        Page 5 of 154
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 Case 2:19-cv-00553-HCN-CMR                             Document
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                                                                       Filed 10/28/22 PageID.1274 Page 6 of 154
                                                                                 DEPARTMENT
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                                                                 GENERAL OFFENSE HARDCOPY
I               GO# SL 2017-149617 CLOSED/COMPLETED                                                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Attachment(s) - Miscellaneous
    Attachment Description: DA CLEARANCE LETTER
    Reference Number:



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                  Chief Deputy                                         DIS'IRICT
                                                                       DISTRICT ATTORNEY                                                       Chief Deputy
                  Civil Division                                                                                                              Justice Division

                  Lisa Ashman                                                                                                             Blake Nakamura
                  Administrative                                                                                                              Chief Deputy
                  Operations                                                                                                                 Justice Division

                           Sheriff Rosie Rivera
                           Unified Police Department
                           3365 South 900 West
                           Salt Lake City, UT 84119

                           Chief Mike Brown
                           Salt Lake City Police Department
                           475 South 300 East
                           Salt Lake City, UT 84111

                           Via Hand Delivery

                                                                             October 4, 2017

                                    RE:                         SLCPD Officer Fox's Use ofDeadly Force
                                    Incident Location:          1002 South State St., Salt Lake City, Utah
                                    Incident Date:              August 13, 2017
                                    UPD Case No.:               2017-130290
                                    SLCPD Case No.:             17-149617
                                    D.A. Case No.:              2017-980

                           Dear Sheriff Rivera and Chief Brown:

                                   The Salt Lake County District Attorney's Office ("D.A.("D.A.'s  's Office") operates under Utah
                           State law to review and "screen'"    criminal charges against individuals where criminal activity
                                                    "screen! criminal
                           may have occurred. The D    .A.''ss Office operates pursuant to an agreement between the D
                                                      D.A.                                                                   .A.''ss
                                                                                                                           D.A.
                           Office and participating law enforcement agencies to perform joint investigations and
                           independent reviews of officer involved critical incidents ("OICI") including police officers' use
                           of deadly force while in the scope of their official duties. Pursuant to the State law and the
                           agreement between the D.A.
                                                   D.A.'s's Office and participating law enforcement agencies, the D.A.        's
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                           of deadly force violated criminal statutes and whether a criminal prosecution should commence.
                           Part of our screening process considered whether the use of deadly force was "justified" under
                           Utah State law thereby providing a legal defense to a criminal charge. charge. As outlined more fully
                           below, the D.A. 's Office declines to file criminal charges in the above referenced matter because

                           11 As explained more fully herein, the process of "screening" a case includes an assessment of the facts and an
                           application of the facts to relevant law, using legal and ethical standards to determine whether to file a criminal
                           charge.


                                                               E Broadway, Ste 400, Salt Lake City, UT 84111
                                                           111 E
                                                Telephone 385.468.7600 · Fax 385.468.7736 · www.districtattorney.slco.org




                                                                                                                                       SLCC 000053
For: MH7014     Printed On: Aug-17-2018 (Fri.)                                                                                                                   Page 6 of 154
 Case 2:19-cv-00553-HCN-CMR                 Document 80-7 POLICE
                                                           Filed 10/28/22 PageID.1275 Page 7 of 154


    sI
[]                                          SALT LAKE                DEPARTMENT
                                                     GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                    SLCPDOICI
                    SLCPD OICI                                  October 4, 2017                                      Page2



                    we conclude that Salt Lake City Police Department ("SLCPD") Officer Fox's use of deadly force
                    was ''.justified"
                        "justified" under Utah State law.

                            On August 13, 2017, SLCPD Officer Smith saw a male, later identified as Patrick
                    Harmon, ride his bicycle across all six road lanes and a median on State Street in Salt Lake City,
                    Utah. Officer Smith said he saw that Mr. Harmon didn't have a required red rear tail light on his
                    bicycle, although it was night. Officer Smith asked the male for identification and the male gave
                    several different names and spellings. Officer Smith asked for backup.

                            Eventually, Officer Smith discovered Mr. Harmon had active felony warrants (one for
                    aggravated assault) and arrested him as SLCPD Officers Fox and Robinson arrived to help. Mr.
                    Harmon broke away from the officers and ran. The officers followed. As he ran, Mr. Harmon
                    said "I'll cut you," and turned and faced the officers with a knife. Officer Fox fired his weapon
                    at Mr. Harmon, killing him.

                                                           UTAH STATE LAW

                            As part of the review and screening determination, the D.A. 's Office relied in part upon
                                                                                   D.A.'s
                    the following statutory provisions for the legal analysis:

                           76-2-401 Justification as defense -- When allowed.

                           (I)
                           ( 1) Conduct which is justified is a defense to prosecution for any offense based on the
                           conduct. The defense of justification may be claimed:

                           (a) when the actor's conduct is in defense of persons or property under the circumstances
                           described in Sections 76-2-402 through 76-2-406 of this part;

                           (b) when the actor's conduct is reasonable and in fulfillment of his duties as a
                           governmental officer or employee;


                           76-2-402 Force in defense of person -- Forcible felony defined.

                           (l)(a) A person is justified in threatening or using force against another when and to the
                           extent that the person reasonably believes that force or a threat of force is necessary to
                           defend the person or a third person against another person's imminent use of
                           unlawful force.

                           (b)   person lsJusdl'led
                           () A petsoii                  using force
                                         ts 1ustitted tn ustng       tntended or 111<:ety
                                                               force tended      1tety to cause deal'.ti
                                                                                                death or serious
                                                                                                             Serious
                           bodily injury only if the person reasonably believes that force is necessary to prevent
                           death or serious bodily injury to the person or a third person as a result of another
                           person's imminent use of unlawful force, or to prevent the commission ofa     of a forcible
                           felony.




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                          (2)(a) A person is not justified in using force under the circumstances specified in
                          Subsection (1) if the person:

                                 (i) initially provokes the use of force against the person with the intent to use
                                 force as an excuse to inflict bodily harm upon the assailant;

                                 (ii) is attempting to commit, committing, or fleeing after the commission or
                                 attempted commission of a felony; or

                                 (iii) was the aggressor or was engaged in a combat by agreement, unless the
                                 person withdraws from the encounter and effectively communicates to the other
                                 person his intent to do so and, notwithstanding, the other person continues or
                                 threatens to continue the use of unlawful force.

                          (b) For purposes of Subsection (2)( a)(iii) the following do not, by themselves, constitute
                          "combat by agreement":

                                 (i) voluntarily entering into or remaining in an ongoing relationship; or

                                 (ii) entering or remaining in a place where one has a legal right to be.

                          (3) A person does not have a duty to retreat from the force or threatened force described
                          in Subsection (1) in a place where that person has lawfully entered or remained, except as
                          provided in Subsection (2)(a)(iii).

                          (4)(a) For purposes of this section, a forcible felony includes aggravated assault,
                          mayhem, aggravated murder, murder, manslaughter, kidnapping, and aggravated
                          kidnapping, rape, forcible sodomy, rape of a child, object rape, object rape of a child,
                          sexual abuse of a child, aggravated sexual abuse of a child, and aggravated sexual assault
                          as defined in Title 76, Chapter 5, Offenses Against the Person, and arson, robbery, and
                          burglary as defined in Title 76, Chapter 6, Offenses Against Property.

                          (b) Any other felony offense which involves the use of force or violence against a person
                          so as to create a substantial danger of death or serious bodily injury also constitutes a
                          forcible felony.

                          (c) Burglary of a vehicle, defined in Section 76-6-204, does not constitute a forcible
                          felony except when the vehicle is occupied at the time unlawful entry is made or
                          attempted.

                          (5) In determining imminence or reasonableness under Subsection (1), the trier of fact
                          may consider, but is not limited to, any of the following factors:

                                 (a) the nature of the danger;




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                                          (b) the immediacy of the danger;

                                          (c) the probability that the unlawful force would result in death or serious bodily
                                                                                                                       bodily
                                          injury;

                                          (d) the other's prior violent acts or violent propensities;
                                                                                        propensities; and

                                          (e)
                                          ( e) any patterns of abuse or violence in the parties' relationship.
                                                                                                 relationship.
                               76-2-404 Peace officer's use of deadly force.

                                                            person acting by his command in his aid and assistance,
                               (1) A peace officer, or any person                                       assistance, is
                                                                                                                    is
                               justified in using deadly force when:

                                  (a) the officer is acting in obedience to and in accordance with the judgment
                                                                                                       judgment of a
                                  competent court in executing a penalty of death_
                                                                              death under Subsection 77-18-5.5(3)
                                                                                                      77-18-5.5(3) or (4);
                                                                                                                      (4);

                                                   arrest or preventing an escape from custody following
                                  (b) effecting an an·est                                       following an arrest,
                                                                                                              arrest, where
                                  the officer reasonably believes that deadly force is necessary to prevent
                                                                                                    prevent the arrest from
                                                                                                                       from
                                  being defeated by escape; and

                                     (i) the officer has probable cause to bcLieve
                                                                           believe that the suspect has committed aa felony
                                                                                                                     felony
                                     offense involving the infliction or threatened infliction of death or serious bodily
                                                                                                                   bodily
                                     injury; or

                                    (ii) the officer has probable cause to believe the suspect poses a threat of death or
                                    serious bodily injury to the officer or to others if apprehension is delayed;
                                                                                                         delayed; or

                                 ( c) the officer reasonably believes that the use of deadly force is necessary
                                 (c)                                                                  necessary to prevent
                                                                                                                   prevent
                                 death or serious bodily injury to the officer or another person.
                                                                                          person.

                    Criminal Charges and Prosecution: Standards

                               D.A.'s
                          The D.A.  's Office reviews police officers' use of deadly force pill'suant
                                                                                             pursuant to the D.A.
                                                                                                             D.A.'s's
                   Office's authority as a public prosecutor as set forth in Utah Constitution
                                                                                    onstitution Article VITI,
                                                                                                        VIII, Section
                                                                                                              Section
                   162 and Utah Code I17-18a-203',
                   16                    7-lSa-2033, among other legal authority.
                                                                         authority. Pursuant to this authority,
                                                                                                      authority, the
                                                                                                                 the

                   2
                   2 Utah Const. Art. VIII, Section 16 [Public prosecutors.] The Legislature shall provide  provide for aa system
                                                                                                                           system of    public
                                                                                                                                     of public
                   prosecutors who shall have primary responsibility for the prosecution of criminal actions brought brought in
                                                                                                                             in the
                                                                                                                                 the name
                                                                                                                                      name ofof the
                                                                                                                                                the
                   State of Utah and shall perfonn such otbec
                                           perform such other d1
                                                               duties as Illa~
                                                                 •Hes aG may-be~• ~•e , ided by statme.
                                                                                  provided                  abttc pt
                                                                                                statute. I'Pubttc    oseculors sshall
                                                                                                                  prosecutors     hall be
                                                                                                                                       be elected
                                                                                                                                           elected
                   In a manuer
                   in   manner provided by statute, and shall be admitted to practice law in Utah. If a public       prosecutor fails
                                                                                                             public prosecutor    fails or
                                                                                                                                        or refuses
                                                                                                                                           refuses
                   to prosecute, the Supreme Court shall have power to appoint a prosecutor
                                                                                    prosecutor pro
                                                                                                 pro tempore.
                                                                                                      tempore.
                   3 17-18a-203. District attorney powers and functions.
                   '17-18a-203.
                            county
                       In a coun ty that is located within a prosecution district, the district attorney;
                                                                                                attorney:
                    (I) is a public prosecutor for the county; and

                   (2) shall perform each public prosecutor duty in accordance with this chapter
                                                                                         chapter or as otherwise required
                                                                                                                 required by
                                                                                                                          by law.
                                                                                                                             law.



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                    D.A.'s
                    D.A. 's Office is responsible for determining whether a person's actions (in this case, whether a
                    law enforcement officer's use of deadly force) violates a criminal statute (Utah State law) and if
                    so, whether and to what extent that person should be charged with a crime.

                                  D .A.''ss Office is a public prosecution agency for and has jurisdiction over the
                             The D.A.
                    prosecution of criminal offenses that occur within Salt Lake County. Among the duties of the
                    D.A's Office is the responsibility to receive investigations of potential criminal activity from law
                    enforcement agencies. Law enforcement agencies "screen          4" potential criminal charges with the
                                                                             "screen"
                    D .A.' s Office by presenting evidence to the D .A.' s Office that may support the filing of criminal
                    charges against a person who may have committed a criminal offense. Law enforcement
                    agencies present all the relevant facts presently known to them.

                            After receiving relevant facts about a particular matter, the D.A.   's Office considers
                                                                                            D.A.'s
                    potentially applicable statutes to determine whether the statutes proscribe the conduct. During
                    the "screening" process, the D.A.
                                                  D .A.''ss Office applies legal and ethical standards to the matter at
                    hand to decide whether to file criminal charges. The D.A. 's Office files criminal charges against
                    individuals accused of violating the law when certain legal and ethical standards are satisfied.
                    When these legal and ethical standards are not satisfied, the D.A's Office declines to file a
                    criminal charge.

                            Legal Standards

                            A case must satisfy legal standards before a prosecutor files criminal charges. Among
                    the legal standards to file a case is the requirement that facts show "probable cause" to believe
                    that offense was committed and the accused committed the offense. See, e.g., Ut.R.Cr.P. 4(b).

                           A criminal case must be built on admissible evidence; the screening function doesn't
                    simply consider all the relevant facts presented by law enforcement but must evaluate what
                    evidence will be legally admissible against a defendant charged with a crime. Some evidence
                    proves facts that, while true, may nevertheless not be admissible against a defendant at trial. The
                    screening function is limited to considering evidence that will likely be admissible against a
                    defendant.

                            Ethical Standards

                            The D.A.'s
                                 D .A.' s Office files cases that satisfy ethical standards and considerations in addition
                    to legal standards for filing5•
                                                  5 • Honoring ethical standards ensures that everyone affected by the

                    criminal justice system-suspects, defendants, victims, the community and the system itself-
                    are treated fairly, honorably and respectfully.


                    Utah
                    4 Utah State Code defines "screening" as ""the
                                                                the process used by a prosecuting attorney to terminate investigative
                    action, proceed with prosecution [by filing an information or indictment], move to dismiss a prosecution that has
                    been commenced, or cause a prosecution to be diverted." U.C.A. 77-2-2 (!). (1).

                    5 Even when a criminal case is filed, the defendant is presumed innocent of the charges unless and until convicted in
                    a court oflaw.
                            of law.



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                            Among the ethical standards which a case must satisfy is a reasonable likelihood of
                    success at trial. A prosecutor must prove each element of the case beyond a reasonable doubt
                    and to the unanimous satisfaction of a jury to prevail (succeed) at trial. A screening decision
                    includes a consideration of factors that a jury may consider in weighing testimony, evaluating
                    evidence, applying the law and rendering a verdict.

                            The D.A. 's Office follows many of the screening considerations outlined by
                                D.A.'s
                    organizations like the National District Attorneys Association6 and the American Bar
                    Association---organizations
                    Association--organizations that address the prosecution function and provide guidance in
                    screening a case. These ethical screening standards are helpful to prosecutors deciding whether
                    a case ought to be filed.




                    66                                                                         inNDAA
                         For instance, some relevant considerations for screening are outlined in NDAA Standards 3-3.9 and 4-4.2:

                    Standard 3-3.9 Discretion in the Charging Decision
                      (a) A prosecutor should not institute, or cause to be instituted, or permit the continued pendency of criminal
                    charges when the prosecutor knows that the charges are not supported by probable cause. A prosecutor should not
                    institute, cause to be instituted, or permit the continued pendency of criminal charges in the absence of sufficient
                    admissible evidence to support a conviction.
                      (b) The prosecutor is not obliged to present all charges which the evidence might support. The prosecutor may in
                    some circumstances and for good cause consistent with the public interest decline to prosecute, notwithstanding that
                    sufficient evidence may exist which would support a conviction. Illustrative or the factors which the prosecutor may
                    properly consider in exercising his or her discretion are:
                      (i) the prosecutor's reasonable doubt that the accused is in fact guilty;
                      (ii) the extent of the harm caused by the offense;
                      (iii) the disproportion of the authorized punishment in relation to the particular offense or the offender;
                      (iv) possible improper motives of a complainant;
                      (v) reluctance of the victim to testify;
                      (vi) cooperation of the accused in the apprehension or conviction of others; and
                      (vii) availability and likelihood of prosecution by another jurisdiction.
                        c) A prosecutor should not be compelled by his or her supervisor to prosecute a case in which he or she has a
                      ((c)
                    reasonable doubt about the guilt of the accused.
                        d) In making the decision to prosecute, the prosecutor should give no weight to the personal or political
                      ((d)
                    advantages or disadvantages which might be involved or to a desire to enhance his or her record of convictions.
                      (e) In cases which involve a serious threat to the community, the prosecutor should not be deterred from
                    prosecution by the fact that in the jurisdiction juries have tended to acquit persons accused of the particular kind of
                    criminal act in question.
                      (f) The prosecutor should not bring or seek charges greater in number of degree than can reasonably be supported
                    With evidence at trial or than are necessary to
                    wllh                                           to fatrly
                                                                      Talrly reflect the gravlly
                                                                                         gravity of the offense.
                      (g) The prosecutor should not condition a dismissal of charges, no/le nolle prosequi, or similar action on the accused's
                    relinquishment of the right to seek civil redress unless the accused has agreed to the action knowingly and
                    intelligently, freely and voluntarily, and where such waiver is approved by the court.


                    4-2.2 Propriety of Charges
                    A prosecutor should file charges that he or she believes adequately encompass the accused's criminal activity and
                    which he or she reasonably believes can be substantiated by admissible evidence at trial.



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                    "Justification" as Defense in Utah

                             When screening a case, a prosecutor considers whether a person who ostensibly
                    committed a crime (or for which there may be probable cause to believe has committed a crime)
                    nevertheless has a legal defense to prosecution. If a person who, for instance, shot or attempted
                    to kill another has a legal defense to ostensible criminal charges related thereto, no charges can
                    be brought against that person.

                              One legal defense to potential criminal charges available to police officers who used
                    deadly force (whether or not the deadly force caused the death of a person) is the legal defense of
                    "justification."
                    ''justification." This legal defense is found in Utah State Code as set forth above and operates in
                    conjunction with other legal authority. The legal defense of"justification" could apply to any
                    potential criminal charge; some of the potential criminal charges a police officer could face
                    through an improper use of deadly force include criminal homicide, murder (or attempted
                    murder), aggravated assault, or other offenses set forth in the criminal code. The legal defense of
                    "justification"
                    ''justification" is applicable to any potential criminal charge.

                             A person's use of deadly force (including but not limited to use of deadly force by peace
                    officers) is ''.justified"
                                 "justified" when the use of deadly force conformed to the statutes referenced above.
                    Persons may lawfully defend themselves under circumstances outlined by law, and are afforded
                    the legal defense of''.justification"
                                         of "justification" for the lawful use of deadly force in accordance with statutes.
                    Utah Code Ann. 76-2-402 states that a "person is justified in threatening or using force against
                    another when and to the extent that the person reasonably believes that force or a threat of force
                    is necessary to defend the person or a third person against another person's imminent use of
                    unlawful force." Id. This section also states: "A person is justified in using force intended or
                    likely to cause death or serious bodily injury only if the person reasonably believes that force is
                    necessary to prevent death or serious bodily injury to the person or a third person as a result of
                    another person's imminent use of unlawful force, or to prevent the commission of a forcible
                           7 ." Id.
                    felony."
                    felony

                           In addition to the use of deadly force in defense of self or others, a peace officer's use of
                    deadly force is "justified" when:

                                      "effecting an arrest or preventing an escape from custody following an arrest,
                                      where the officer reasonably believes that deadly force is necessary to prevent the
                                      arrest from being defeated by escape; and the officer has probable cause to believe
                                      that the suspect has committed a felony offense involving the infliction or
                                      threatened infliction of death or serious bodily injury; or the officer has probable
                                      cause to believe the suspect poses a threat of death or serious bodily injury to the
                                      officer or to others if apprehension is delayed; or the officer reasonably believes
                                      that the use of deadly &nee
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                                                               force is  necessary to ,,10.cut
                                                                                      prevent dcud,
                                                                                               tdenth 01
                                                                                                      or sci ious bodil,
                                                                                                         serious  bodily i1dttr,
                                                                                                                         injury
                                      to the officer or another person." U.C.A. 76-2-404.

                            In essence, the analysis for the use of deadly force to prevent death or serious bodily injury
                     (whether by individuals or peace officers) turns on similar elements. In relation to the use of
                     deadly force by individuals:
                                     individuals: "A person is justified in using force intended or likely to cause death

                     77 For the enumerated "forcible felonies," see U.C.A. 76-2-402(4)(a), supra.



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                    or serious bodily injury only if the person reasonably believes that force is necessary to prevent
                    death or serious bodily injury to the person or a third person as a result of another person's
                    imminent use of    unlawful force" U.C.A. 76-2-402(1)(a),(b).
                                    ofunlawful                  76-2-402(l)(a),(b). For the use of deadly force by peace
                    officers: "the officer reasonably believes that the use of deadly force is necessary to prevent death
                    or serious bodily injury to the officer or another person," or to effect an arrest under circumstances
                    set forth in law. See, U.C.A. 76-2-404. A peace officer's use of deadly force is "justified" when
                    that officer "reasonably believes" that the use of deadly force is "necessary to prevent" the threat
                    of "death or serious bodily injury." Id.

                             As mentioned above, U.C.A. 76-4-202 and 404 constitute legal defenses to potential
                    criminal charges. Although Utah Code doesn't directly reference other means of evaluating
                    liability and reasonableness of police use of force, the United States Supreme Court case
                    Graham v. Conner provides an analytical methodology for assessing excessive force claims in a
                    Fourth Amendment context.8 Graham considers excessive force claims from a "reasonable
                    officer on the scene, rather than with the 20/20 vision of hindsight." Graham v. Conner, 490 U.S.
                    386,396
                    386, 396 (1989) (citations omitted.) Graham also "requires a careful balancing of'"the
                                                                                                         of '"the nature
                    and quality of the intrusion on the individual's Fourth Amendment interests'"
                                                                                          interests"' ... against the
                    countervailing governmental interests at stake." Id. (citations omitted) Graham observes:
                    "Because '[t]he test ofreasonableness under the Fourth Amendment is not capable of precise
                    definition or mechanical application,' [citation omitted] however, its proper application requires
                    careful attention to the facts and circumstances of each particular case, including the severity of
                    the crime at issue, whether the suspect poses an immediate threat to the safety of the officers or
                    others, and whether he is actively resisting arrest or attempting to evade arrest by flight." Id.
                    (citations omitted).

                            This OICI investigation and our review that followed was conducted in accordance with
                    an OICI investigation protocol previously established and in conformity with recently enacted
                    legislation governing investigations of OICI events. The OICI investigation protocol strives to
                    establish an investigation methodology and process that provides the D.A. D.A.'s 's Office with the
                    evidence needed to review the investigation to determine whether a police officer's use of deadly
                    force conformed to the above referenced statutes. If the use of deadly force conformed to the
                    statutes, the use of deadly force is "justified,"
                                                         ''justified," and the legal defense of ''justification" is available
                    to the officer such that criminal charges cannot be filed against the officer and the criminal
                    investigation into the actions of the officer is concluded.

                            If the use of deadly force does not conform to the statutes above, the use of deadly force
                    may not be ''justified," and the legal defense of"justification"
                                                                   of ''justification" may not be available to the officer.
                    In other words, if the use of deadly force failed to conform to the applicable statutes, the law
                    does not afford the officer the legal defense of''justification."
                                                                  of "justification." Further investigation may be
                    needed to determine whether, and if so which, cnmmal
                                                                     criminal charges can and should be filed
                                                                                                           hied agamst
                    the officer. Just because the legal defense of "justification" may not be available (because the
                    use of deadly force did not conform to the statutes) does not therefore necessarily mean that
                    criminal charges should be filed against the officer. For instance, the evidence available to the


                     8 The issue addressed in this OICI review is narrow and well defined: did an officer's use of force violate a criminal
                     statute and if so, should a prosecution ensue? While our review does not directly employ a Fourth Amendment
                     analysis, the Graham case is nevertheless informative.


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                    District Attorney may not support criminal charges, the case may not have a reasonable
                    likelihood of success at trial, or other reasons may preclude a prosecution. Again, further
                    investigation and consideration may be required to determine whether the use of deadly force
                    warrants criminal charges.

                                                             INVESTIGATION

                           During the 2015 Utah State Legislature's General Session, the legislature enacted U.C.A.
                    76-2-408 which sets forth in relevant part the following provisions governing the investigation of
                    peace officers' use of deadly force:

                           76-2-408 Peace officer use of force -- Investigations.

                           (1) As used in this section:

                                   (a) "Dangerous weapon" is a firearm or an object that in the manner of its use or
                                   intended use is capable of causing death or serious bodily injury.

                                   (b) "Investigating agency" is a law enforcement agency, the county or district
                                   attorney's office, or an interagency task force composed of officers from multiple
                                   law enforcement agencies.

                                   (c) "Officer" is a law enforcement officer as defined in Section 53-13-103.

                                   ((d)
                                     d) "Officer-involved critical incident" is any of the following:

                                           (i) the use of a dangerous weapon by an officer against a person that
                                           causes injury to any person;


                           (2) When an officer-involved critical incident occurs:

                                   (a) upon receiving notice of the officer-involved critical incident, the law
                                   enforcement agency having jurisdiction where the incident occurred shall, as soon
                                   as practical, notify the county or district attorney having jurisdiction where the
                                   incident occurred; and

                                   (b) the chief executive of the law enforcement agency and the county or district
                                   attorney having jurisdiction where the incident occurred shall:

                                           (i) jointly designate an investigating agency for the officer-involved
                                           critical incident; and

                                           (ii) designate which agency is the lead investigative agency if the officer-
                                           involved critical incident involves multiple investigations.




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                            (3) The investigating agency under Subsection (2) may not be the law enforcement
                            agency employing the officer who is alleged to have caused or contributed to the officer-
                            involved critical incident.


                           To comply with state law requiring an outside agency to investigate an OICI, SLCPD
                    invoked the OICI investigation protocol, and an investigative team comprised oflaw
                    enforcement personnel from several agencies responded to investigate this matter pursuant to the
                    previously agreed upon OICI investigation protocol.

                            On August 30, 2017, OICI protocol investigators presented the investigation findings to
                    the District Attorney for review and this opinion letter. During the presentation of the
                    investigation findings, OICI protocol investigators reported that SLCPD was helpful and
                    accommodating with the investigation's needs, but did not perform any investigation of the OICI
                    itself.

                                                                     FACTS

                             The following facts were developed from the OICI protocol investigation. Should
                    additional or different facts subsequently come to light, the opinions and conclusions contained
                    in this letter may likewise be different.

                             Just after l10:00
                                          0:00 p.m. on August 13, 2017, SLCPD Officer Smith was on patrol in Salt
                    Lake City. He saw a man, later identified as Patrick Harmon, ride his bicycle across all six road
                    lanes and a median on State Street. Officer Smith noticed that, although it was dark, Mr.
                    Harmon didn't have a required red rear tail light on his bicycle. Officer Smith stopped the man
                    and asked him for identification. The man gave a couple of different names while Officer Smith
                    tried to make an identification. Officer Smith asked for backup.

                            SLCPD Officers Fox and Robinson arrived at the traffic stop. Officer Fox walked over to
                    Mr. Harmon and talked to him. Officer Robinson went to Officer Smith in his patrol car and
                    talked to Officer Smith who was running Mr. Harmon for warrants. As they talked, felony arrest
                    warrants (one for aggravated assault) came up on the computer. Officer Smith told Officer
                    Robinson he was going to arrest Mr. Harmon for the warrants.

                             Officers Smith and Robinson walked to where Officer Fox was talking to Mr. Harmon.
                     Officer Smith told Mr. Harmon he was under arrest for the warrants, and Mr. Harmon pleaded
                     with the officers not to go to jail. The officers took Mr. Harmons hands and placed them behind
                     HS back. As Mr. Harmon's hands
                     his                                                   Dack, Mr.
                                                               behind his back,
                                                   bands went belund                        bolted from
                                                                                     Harmon bolted
                                                                                 Mr. Ham1on             the officers
                                                                                                   Tr~m the oTlicers
                     and ran. The officers pursued.

                            As he ran, Mr. Harmon said he was going to cut or stab the officers. Mr. Harmon
                     stopped running and turned to face the officers. Officer Fox later said he saw a knife in Mr.
                     Harmon's hand with a blade open. Officer Fox said he feared Mr. Harmon would cut or stab him




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                    and/or his fellow officers. Officer Fox said he believed his life and the lives of the other officers
                    were in danger. Officer Fox fired his weapon three times at Mr. Harmon. After Mr. Harmon
                    went down, officers handcuffed him and rendered first aid until medical personnel arrived. Mr.
                    Harmon died from the gunshot wounds.

                            An OICI protocol investigation team arrived and documented the scene, conducted
                    interviewed and performed other investigation tasks. Investigators located and documented a
                    knife with an open blade among the items at the scene. Investigators inspected and documented
                    the conditions of officers' weapons used in the incident. Investigators also reviewed body-worn
                    camera video recordings of the incident.

                    Officer Fox

                            On August 22, 2017, OICI protocol investigators interviewed SLCPD Officer Clinton
                    Fox with his attorney present. Officer Fox said that on August 13, 2017, he was on patrol when
                    he heard Officer Smith on the police radio ask for assistance with a pedestrian stop. Officer Fox
                    said he drove to the area and saw Officer Smith's patrol car. Officer Fox said he walked up to a
                    man, later identified as Patrick Harmon and asked Mr. Harmon to step off his bicycle.

                          Officer Fox said Mr. Harmon seemed emotional and distraught. Officer Fox said Mr.
                    Harmon was talking about getting right with God and doing work for God; Officer Fox said Mr.
                    Harmon said he was trying to take care of his arrest warrant. Officer Fox said Mr. Harmon
                    seemed nervous.

                             Officer Fox said Officers Smith and Robinson walked over to him and Mr. Harmon.
                    Officer Fox said he saw Officer Smith wearing gloves and inferred that Mr. Harmon was going
                    to jail for his warrants. Officer Fox said he positioned himself to assist Officer Smith with the
                    arrest; Officer Fox said Officer Smith stood on Mr. Harmon's right side and Officer Robinson
                    stood on Mr. Harmon's left side. Officer Fox said Officer Smith told Mr. Harmon he was under
                    arrest for the outstanding warrants and asked Mr. Harmon to remove his backpack. Officer Fox
                    said Mr. Harmon complied.

                             Officer Fox said the other officers took Mr. Harmon's hands to place him in handcuffs.
                     Officer Fox said as soon as Mr. Harmon's hands went behind his back, Mr. Harmon bolted and
                     ran. Officer Fox said he believed Officer Smith yelled at Mr. Harmon to stop. Officer Fox said
                     he saw Mr. Harmon's hands move to his right pants pocket. Officer Fox said he heard Mr.
                     Harmon say he was going to cut them, or that they (the officers) would get cut. Officer Fox said
                     he quickly realized Officer Robinson was in a dangerous position if Mr. Harmon produced a
                     knife. Officer Fox said he believed Mr. Harmon could have stabbed Officer Robinson.

                             Officer Fox said Mr. Harmon stopped running, turned and yelled: "I'll fucking stab you."
                     Officer Fox said Mr. Harmon came at the officers with something in his hand. Officer Fox said
                     he was terrified by how close Mr. Harmon was to the officers when Mr. Harmon stopped and
                     turned towards them. Officer Fox said when Mr. Harmon turned towards the officers, Officer
                     Fox saw that Mr. Harmon had an open knife in his hand. Officer Fox said he was afraid Mr.




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                    Harmon was going to stab him and/or the other officers. Officer Fox said he didn't know
                    whether the other officers could see or perceive that Mr. Harmon was armed with an open knife.
                    Officer Fox said he was worried about Officers Smith and Robinson if they tried to go "hands-
                    on" with Mr. Harmon.

                            Officer Fox said he feared ifhe didn't immediately use deadly force, Mr. Harmon was
                    going to stab him and/or the other officers. Officer Fox said he remembered he felt like Mr.
                    Harmon was going to stab him. Officer Fox said he aimed his weapon at Mr. Harmon and fired
                    three times.

                            Officer Fox said that in ten years of!aw
                                                               oflaw enforcement and two military deployments, it
                    was the scariest situation he had ever been in. Officer Fox said Mr. Harmon immediately gained
                    the "upper hand" when Mr. Harmon produced the open knife as he stopped running and turned to
                    face the officers. Officer Fox said he felt like Mr. Harmon presented a situation from which
                    Officer Fox could not recover.

                    Officer Smith

                            On August 14, 2017, protocol investigators interviewed SLCPD Officer Kris Smith.
                    Officer Smith said he was on duty on August 13, 2017 and on patrol when he saw a man on a
                    bicycle riding on State Street. Officer Smith said he saw the man, subsequently identified as
                    Patrick Harmon, ride across all six lanes of travel and across a median on State Street. Officer
                    Smith said it was night, but Mr. Harmon's bicycle did not have a required red tail light. Officer
                    Smith said he stopped Mr. Harmon to discuss the situation.

                            Officer Smith said he asked the man for his name, and the man gave him a name that had
                    no match in his police computer. Officer Smith said he asked the man for his name a couple
                    more times and each time, the man gave a different name. Officer Smith said he called on the
                    police radio for other officers to assist him. Eventually, Officer Smith said the man said he was
                    Patrick Harmon and Officer Smith found that Mr. Harmon had warrants for his arrest, including
                    a felony warrant for aggravated assault.

                           Officer Smith said SLCPD Officers Fox and Robinson arrived and made contact with
                    him and Mr. Harmon. Officer Smith said he walked from his patrol car to where Mr. Harmon
                    and the officers were standing. Officer Smith said he told Mr. Harmon that he had warrants and
                    was under arrest. Officer Smith said he reached for his handcuffs and Mr. Harmon started to put
                    his hands behind his back. Officer Smith said that once Mr. Harmon's hands were behind his
                    back, Mr. Harmon turned and ran northbound on the sidewalk. Officer Smith said Mr. Harmon
                    turned quickly and started to run back towards the south. Officer Smith said he drew his Taser.

                             Officer Smith said he heard Mr. Harmon say "I'm going to cut
                                                                                      cut......"" Officer Smith said he
                     saw Mr. Harmon reach towards his pants with his right hand. Officer Smith said he fired his
                     Taser and simultaneously heard a gunshot. Officer Smith said he saw Mr. Harmon go down.
                     Officer Smith said Officer Robinson placed Mr. Harmon in handcuffs and he and the other
                     officers rendered aid until medical personnel arrived.




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                    Officer Robinson

                           On August 14, 2017, protocol investigators interviewed SLCPD Officer Scott Robinson.
                    Officer Robinson said he was on duty at the police station on August 13, 2017 when he heard
                    Officer Smith on the police radio ask for assistance. Officer Robinson said he and Officer Fox
                    drove to Officer Smith's location and saw Officer Smith's patrol car and a man with a bicycle
                    stopped by the side of the road.

                            Officer Robinson said he saw Officer Fox talking to the man, later identified as Patrick
                    Harmon. Officer Robinson said Officer Fox asked Mr. Harmon to get off his bicycle. Officer
                    Robinson said he talked to Officer Smith who was running Mr. Harmon for warrants. Officer
                    Robinson said Officer Smith told him that Mr. Harmon had felony warrants and he was going to
                    arrest Mr. Harmon. Officer Robinson said he activated his body worn camera.

                            Officer Robinson said Officer Smith told Mr. Harmon he was under arrest for the
                    warrants. Officer Robinson said Mr. Harmon pleaded with the officers not to take him to jail.
                    Officer Robinson said one of the officers asked Mr. Harmon to remove his backpack and set it on
                    the ground. Officer Robinson said he held Mr. Harmon's left hand and placed Mr. Harmon's
                    hand behind his back in order to handcuff him. Officer Robinson said Officer Smith took control
                    of both of Mr. Harmon's hands and placed them behind Mr. Harmon's back. Officer Robinson
                    said that when Mr. Harmon's hands went behind his back, Mr. Harmon bolted and ran.

                            Officer Robinson said he tried to grab Mr. Harmon's clothing to stop him but couldn't.
                    Officer Robinson said he heard Mr. Harmon say: "I stab" or something to that effect; Officer
                    Robinson said he couldn't remember Mr. Harmon's exact words. Officer Robinson said Mr.
                    Harmon turned and ran again and said something about stabbing again.

                             Officer Robinson said he saw that Mr. Harmon had something in his hand. Officer
                    Robinson said he couldn't tell for sure ifit
                                                            if it was a knife, but Mr. Harmon appeared to be holding
                    it out towards the officers.

                              Officer Robinson said he heard a Taser "pop" and three gunshots almost simultaneously.
                    Officer Robinson said he saw Mr. Harmon go down. Officer Robinson said he and the other
                    officers secured Mr. Harmon in handcuffs and rendered first aid until medical personnel arrived
                    to treat ·Mr.
                              Mr. Harmon.

                    Physical Evidence

                            All three officers wore body cameras that recorded the incident. OICI protocol
                    investigators reviewed the body-worn camera recordings and presented the recordings and still
                    photographs made from the recordings to the District Attorney for this review. Some of the still
                    photographs are included with this letter as an exhibit.

                           Officer Smith's body-worn camera recorded Mr. Harmon when he stopped and turned
                    towards the officers with the knife in his hand. Still photographs from Officer Smith recording




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                    are included as Figures 11 and 2. In Figure 2, Mr. Hannon's toes and feet are shown pointing at
                    Officer Fox. Officer Smith's recording also captured Officer Fox's abrupt stop when Mr.
                    Hannon turned towards him with a knife. Figure 3 depicts Officer Fox up on his toes with his
                    Harmon
                    back arched away from Mr. Harmon as he fired his weapon.

                          OICI protocol investigators observed and photographed a knife on the ground near where
                    Mr. Hannon went down. Photographs of the knife are depicted in Figures 4 and 5.

                           Protocol investigators inspected and documented Officer Fox's handgun and Officer
                    Smith's Taser. Investigators determined that Officer Fox's weapon fired three shots during the
                    incident. Investigators also determined that Officer Smith's Taser was fired. Investigators
                    determined the officers' other weapons were not used in the incident.

                                                  DISCUSSION AND CONCLUSION

                    Justified Use of Deadly Force

                            Mr. Hannon
                                Harmon threatened to stab or cut the officers as they tried to arrest him. While the
                    officers were in very close proximity to Mr. Hannon,
                                                                 Harmon, he presented an opened knife as he turned
                    towards the officers who were running at him. Officer Fox saw that he and Officers Smith and
                    Robinson were in immediate danger of Mr. Hannon
                                                                Harmon inflicting death or serious bodily injury on
                    them. Officer Fox said he believed Mr. Hannon
                                                             Harmon was going to stab or cut him and/or the other
                    officers.

                            Officer Fox reasonably believed deadly force was necessary to prevent death or serious
                    bodily injury to himself and/or others and therefore his use of deadly force was ''.justified"
                                                                                                     'justified" under
                    Utah State law. A "justified" use of deadly force provides Officer Fox a legal defense to a
                    criminal prosecution for his use of force. Accordingly, the District Attorney's Office declines to
                    file criminal charges and prosecute or otherwise pursue matters against Officer Fox.

                           If you have any questions or concerns regarding the determination made in this case, or
                    otherwise wish to discuss the matter, please feel free to contact our office to set up a personal
                    meeting.

                                                           Very Truly Yours,




                                                           SIM GILL,
                                                            Salt Lake County District Attorney

                    SG/JWH/jh
                    enclosure




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                                                              Photographs




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                    Figure I:
                           1: Three still frames from Officer Smith's body-worn camera video recording showing
                    Mr. Harmon's turn towards the officers.




                           .    .      .                 .          .                                          Ji.
                    Harmon turning to face the officers.




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                    Figure 3: Two still frames from Officer Smith's body-worn camera video recording.




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                    Figure 4: Still frame from Officer Robinson's body-worn video camera recording showing a
                    lmife
                    knife on the round.
                                  round.




                    Figure 5: Photograph from the OICI scene investigation showing a knife on the ground.




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Related Attachment(s) - Outside Agency Police Report
    Attachment Description: UPD REPORT
    Reference Number:

                                                        UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                    GO# CO 2017-130290 OPEN/ACTIVE               7399-99
                                                                                 7399.99 PUB ORD-POLICE ASSISTANCE




                   General Offense Information
                     Operational status: OPEN/ACTIVE
                     Reported on: Aug-13-2017 (Sun.) 2307
                     Occurred on: Aug-13-2017 (Sun.) 2307
                     Report submitted by: 23D - BENCH, ZACHARY
                         unit: VIOLENT CRIMES
                     Org unit:
                     Address: 1002 S STATE
                                       STA TE ST
                     County: Salt Lake County
                               District: SL Beat: 40 Grid: 40
                     Bias: None (no bias)
                     Bias:
                     Family violence: NO

                   Offenses {Completed/Attempted)
                            (Completed/Attempted)
                     Offense:# 1I 7399-99 PUB ORD-POLICE ASSISTANCE - COMPLETED




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                    For: 23D           on: Nov-13-2017
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                                                      UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE              7399.99 PUB ORD-POLICE ASSISTANCE
                                                                              7399-99




                Related Event(s)
                  CP        CO2017-130290

                Related Person(s)
                   1. Involved # 11-FOX,
                                    - FOX, CLINTON

                   (Case Specific Information)
                    Sex: MALE
                    Race: Caucasian/White
                    Race:
                    Address: 300 E 475 S
                             Municipality: SALT LAKE CITY
                                                     CITY,, Utah 84114-
                  Particulars
                    Occupation: POLICE OFFICER
                    Employer: SLC PD
                    Additional remarks: BADGE Q25
                  Master Name Index Reference
                    Name: FOX, CLINTON
                    Sex: MALE
                    Race: Caucasian/White
                    Address: 300 E 475 S
                             Municipality:: SALT LAKE CITY
                             Municipality             CITY,, Utah 84114-
                  Linkage factors
                    Resident status :: Non-Resident
                    Age range :: Unknown

                      Involved # 22-ROBINSON,
                   2. Involved#     - ROBINSON, SCOTT

                   (Case Specific Information)
                    Sex: MALE
                    Race: Caucasian/White
                    Race:
                    Address: 475 S 300 E
                             Municipality: SALT LAKE CITY
                             Municipality:           CITY,, Utah 84114-
                  Particulars
                    Occupation: POLICE OFFICER
                    Employer: SLC PD
                               remarks: BADGE Qll
                    Additional remarks:
                  Master Name Index Reference
                    Name: ROBINSON, SCOTT
                    Name:
                    Sex: MALE
                    Race: Caucasian/White
                    Race:
                    Address: 475 S 300 E




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                                                      CITY,, Utah 84114-
                              Municipality: SALT LAKE CITY
                  Linkage factors
                    Res ident status :: Non-Resident
                    Resident
                    Age range :: Unknown

                   3. Involved # 33--SMITH,
                                     SMITH, KRIS

                   (Case Specific Information)
                    Sex: MALE
                    Race: Caucasian/White
                    Address: 475 S 300 E
                              Municipality: SALT LAKE CITY
                             Municipality:            CITY,, Utah 84114-
                  Particulars
                    Occupation: POLICE OFFICER
                    Employer: SLC PD
                    Additional remarks: BADGE 096
                  Master Name Index Reference
                    Name: SMITH, KRIS
                    Sex: MALE
                    Race: Caucasian/White
                    Race:
                    Address: 475 S 300 E
                                                      CITY,, Utah 84114-
                             Municipality:: SALT LAKE CITY
                             Municipality
                  Linkage factors
                    Resident status :: Non-Resident
                    Age range :: Unknown

                                   - RAIDER, STEVEN J
                   4. Witness # 11-RAIDER,          J
                   (Case Specific Information)
                    Sex: MALE
                    Race: Caucasian/White
                    Date
                    b." of birth:
                           i      REDACTED




                  Particulars
                    Pl        birth: Utah
                       ace of birth:
                    Place
                    Occupation: WAREHOUSE




                !For:
                 For: 23D
                     23D            on: Nov-13-2017
                            Printed On: Nov-13-20i7 (Mon.)
                                                    (ion.)                                           ages
                                                                                                     Page    7i]!
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                                                                                              SLCC 000073
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                                                   SALT LAKE    Filed 10/28/22 PageID.1295 Page 27 of 154
                                                                          DEPARTMENT
[]
                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                       UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE              7399-99
                                                                              7399.99 PUB ORD-POLICE ASSISTANCE




                    Employer: ST ANNE'S 5300 S 4700 W #APPROX TAYLORSV
                    Ethnicity:
                    Ethnicity: Not of Hispanic Origin
                    Language(s) spoken: English
                    Height: 5'10 Weight: 165 lbs.
                    Build: Medium Complexion:
                                      Complexion: Light Brown
                    Handed:
                    Handed: Right Handed
                    Eye color: Brown Lens type:
                                             type: None
                    Hair color: Brown
                    Hair style:
                         style: Medium
                    Additional remarks: OVER FLOW INTOWN SUITS ON 3300
                  Master Name Index Reference
                    Name: RADER, STEVEN JOHN
                    Sex: MALE
                    Race:
                    Race: Caucasian/White
                    Date of birth:
                            bi     REDACTED
                    Ethnicity
                    Ethnic : Not of Hispanic Origin
                    Address:
                    Addr       REDACTED




                  Linkage factors
                    Resident status :: Resident
                    Age range :: 50-64 Years

                   5. Witness#
                      Witness # 22-MITCHELL,
                                   - MITCHELL, LAURIE

                   (Case Specific Information)
                    Sex:
                    Sex: FEMALE
                    Race: Caucasian/White
                    Date
                    b."nof birth:
                           i      REDACTED




                  Particulars
                     Ethnicity:
                     Ethnicity: Unknown
                     Language(s) spoken: English
                  Master Name Index Reference
                     Name: MITCHELL, LAURIE




                !For: 230
                For: 23D    Printed On:
                                    on: Nov-13-2017
                                        Nov-13-20i7 (Mon.)
                                                    (ion.)                                           Fge 4vii]
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                                                                     DEPARTMENT
[]
                                                      GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                      UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE              7399-99
                                                                              7399.99 PUB ORD-POLICE ASSISTANCE




                    Sex: FEMALE
                    Race: Caucasian/White
                    Date
                    b}   of birth:
                            i      REDACTED




                  Linkage factors
                    Resident status :: Non-Resident
                    Age range :: 30-49 Years

                                    HEATON, JEFFREY ALAN
                      Witness # 33--HEATON,
                   6. Witness#

                   (Case Specific Information)
                    Sex:
                    Sex: MALE
                    Race: Caucasian/White
                    Date
                    b}   of birth:
                            i      REDACTED




                  Particulars
                    Pl ace of birth:
                    Place      birth: South Carolina
                    Occupation: TIRE STORE MANA
                    Employer:
                    Employer                                 REDACTED
                    Ethn  icity: Unknown
                    Ethnicity:
                    Language(s) spoken: English
                    Height: 5'11 Weight: 210 lbs.
                    Disability:
                    Disability:         REDACTED
                    Build: Medium Complexion:
                                         Complexion: Light
                    Handed: Right Handed
                    Handed:
                    Eye color: Hazel Lens type: None
                    Hair color: Gray or Partially Gray/Salt and Pepper
                    Hair style:
                           style: Curly
                    Facial hair color:
                                  color: Gray or Partially Gray
                    Facial hair style: Partial Beard
                  Master Name Index Reference
                    Name: HEATON, JEFFREY ALAN
                    Sex: MALE
                    Race:
                    Race: Caucasian/White
                    Date of birth: REDACTED




                !For:
                 For: 23D   Printed On: Nov-13-20i7 (Mon.)
                                    on: Nov-13-2017 (ion.)                                           ages56
                                                                                                     Page    7i]
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                                                                     DEPARTMENT
[]
                                                         GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                               906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                         UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE               7399-99
                                                                                7399.99 PUB ORD-POLICE ASSISTANCE




                       Ethnicity
                       Ethnicity:: Unknown
                       Address:      REDACTED




                  Linkage factors
                    Resident status :: Non-Resident
                    Age range :: 50-64 Years

                   7. Witness#
                      Witness # 4
                                4--WRIGHT,
                                   WRIGHT, ASHLEY LYNN

                   (Case Specific Information)
                       Sex:
                       Sex: FEMALE
                       Race: Caucasian/White
                       Date
                       b}   of birth:
                               i      REDACTED




                  Particulars
                    Ethnicity:: Not of Hispanic Origin
                    Ethnicity
                    Language(s) spoken:
                                  spoken: English
                    Height: 5'06 Weight: 125 lbs.
                    Eye color: Brown
                    Hair color: Blond/Strawberry
                  Master Name Index Reference
                   Name: WRIGHT,ASHLEY
                          WRIGHT, ASHLEY LYNN
                   Sex:
                   Sex: FEMALE
                   Race: Caucasian/White

                   Ethnicity:
                                  l.
                   Date of birth: REDACTED
                   Ethnicity: Not of Hispanic Origin
                              Municipality:         REDACTED
                    REDACTED


                  Linkage factors
                    Resident status :: Non-Resident
                    Age range :: 30-49 Years




                !For: 230
                For:  23D     Printed On: Nov-13-20i7 (Mon.)
                                      on: Nov-13-2017 (ion.)                                               @
                                                                                                              ii]!
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                                                                      DEPARTMENT
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                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                   906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                        UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                   7399-99
                                                                                    7399.99 PUB ORD-POLICE ASSISTANCE




                   8. Killed In# 11-- HARMON, PATRICK
                   (Case Specific Information)
                       Sex: MALE
                       Race: African American/Black
                       Date of birth:
                               birth: Oct-15-1966
                       Address: 7800 S 3375 W Apartment: 127
                                 Municipality: SALT LAKE CITY
                                                         CITY,, Utah 84088
                       Phone Numbers
                             Home:
                             Home: (801) 680-6360
                             Home: (801) 842-7273
                            Cellular:
                            Cellular: (801) 842-1773
                           Business: (801) 973-2510
                           Business:
                            Cellular: (385) 313-7817
                  Particulars
                       Place of birth: Missouri
                       Occupation: NONE
                       Employer: WILD GRAIN BAKERY
                       Citizenship: America, United States of
                       Marital statu  s: Single
                                status:
                       Ethnicity:: Unknown
                       Ethnicity
                       Language(s) spoken:
                                       spoken: English
                       Height: 5'11 Weight: 200 lbs.
                       Di sability: Drug/Alcohol Addiction
                       Disability:
                       Build: Medium Complexion: Black
                       Build:
                       Handed:
                       Handed: Left Handed
                       Eye color: Bro\m
                                    Brown Lens type:
                                                  type: Glasses
                       Hair color: Black
                       Hair style:
                            style: Bald
                                    remarks: TRESPASSED FROM MOTEL 6,176
                       Additional remarks:                         6, 176 W 600 S
                  Master Name Index Reference
                       Name:
                       Name: HARMON, PATRICK
                       Sex:
                       Sex: MALE
                       Race:
                       Race: African American/Black
                       Date of birth: Oct-15-1966
                       Ethnicity:
                       Ethnicity: Unknown
                                                  Apartment: 127
                       Address: 7800 S 3375 W Apartment:
                                  Municipality: SALT LAKE CITY
                                                            CITY,, Utah 84088
                       Phone numbers
                       Home:
                       Home: (801) 680-6360
                       Home:
                       Home: (801) 842-7273
                       Cellular: (801) 842-1773
                       Business:
                       Business: (801) 973-2510
                       Cellular: (385) 313-7817




                !For: 23D
                For:          Printed On: Nov-13-20i7 (Mon.)
                                      on: Nov-13-2017 (ion.)                                               ia7or7]
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                                                                      DEPARTMENT
[]
                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                       906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                       UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                        7399-99
                                                                                        7399.99 PUB ORD-POLICE ASSISTANCE




                  Alias(es)IAKA
                  Alias(es)/AKA
                    Name:                              Address:                                       Sex
                                                                                                      Sex::   DOB
                                                                                                              DOB::
                    FISHER, PATRICK                                                                   M       Oct-15-1966
                    HALMON,
                    HALM ON, PATRICK                                                                  M       Oct-15-1966
                    CROWDER, CAREY                     3815 S 300 E, F 1 SALT LAKE CI
                                                              300E,                Cl                 M       Oct-15-1966
                  Linkage factors
                    Res ident status :: Non-Resident
                    Resident
                    Age range :: 50-64 Years

                   9. Next of Kin # 11-SMITH,
                                       - SMITH, TASHA

                   (Case Specific Information)
                    Sex: FEMALE
                    Race:
                    Race: Unknown
                    Date of birth: Jan-28-1991
                    Address: 4480 MARGARETTA AVE    A VE
                              Municipality:: ST LOUIS
                              Municipaljty      LOUIS,, Missouri 63115-
                    Phone Numbers
                         Cellular:
                         Cellular: (314) 939-2467
                  Particulars
                    Additional remarks:
                               remarks: DAUGHTER OF PATRICK HARMON
                   Master Name Index Reference
                    Name:
                    Name: SMITH, TASHA
                    Sex: FEMALE
                    Race:
                    Race: Unknown
                    Date of birth:
                             birth: Jan-28-1991
                    Address: 4480 MARGARETTA A VE
                               Municipality: ST LOUIS
                                                LOUIS,, Missouri 63115-
                    Phone numbers
                    Cellul ar: (314) 939-2467
                    Cellular:
                  Linkage factors
                    Res ident status :: Non-Resident
                    Resident
                    Age range :: 22-29 Years

                   10. Next of Kin# 22-HARMON,
                                       - HARMON, ANTIONETTE

                   (Case Specific Information)
                    Sex: FEMALE
                    Race: African American/Black
                    Address: 4170 ENIGHT AVE Apartment: 304
                             Municipality: ST. LOUIS , Missouri 63108-
                             Municipality:
                    Phone Numbers
                          Home: (314) 393-0466




                !For: 23D
                For: 23D    Printed On:
                                    on: Nov-13-2017
                                        Nov-13-20i7 (Mon.)
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                                                                                                               Page     ii]!
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                                                                       DEPARTMENT
[]
                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                        UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                    GO# CO 2017-130290 OPEN/ACTIVE               7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                 7399-99




                            Cellular: (314) 601-4972
                  Master Name Index Reference
                    Name: HARMON, ANTIONETTE
                    Sex: FEMALE
                    Race: African American/Black
                    Address: 4170 ENIGHT A    VE Apartment: 304
                                             AVE
                              Municipality: ST. LOUIS , Missouri 63108-
                    Phone numbers
                    Home: (314) 939-2467
                    Cellular: (314) 601-4972
                    Cellular:
                    Home: (314) 393-0466
                  Linkage factors
                    Resident status :: Non-Resident
                    Age range :: Unknown




                !For:
                 For: 230
                      23D      Printed On:
                                       on: Nov-13-2017
                                           Nov-13-20i7 (Mon.)
                                                       (ion.)                                           Tiger
                                                                                                        Page 9 of 71]!




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                                                                       DEPARTMENT
[]
                                                        GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                          UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                    GO# CO 2017-130290 OPEN/ACTIVE                         7399-99
                                                                                           7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                        Document: INITIAL R/0
                        Author: 23D
                        Author:  23D-- BENCH, ZACHARY
                        Subject: OICI
                        Related date/time: Aug-16-2017 (Wed.) 1610
                On August 13, 201  7, II was co
                               2017,            ntacted by Sergeant Du
                                             contacted                 ran and asked to respond on an Officer In
                                                                    Duran                                        vo lved Criti
                                                                                                               Involved        cal
                                                                                                                         Critical
                Incident involving Salt Lake City Police. I responded to I1002
                                                                            002 South State Street and was assigned to be the case
                manager. See Supplementa
                              Supplementall reports foforr further.

                NFD

                ZB 23D




                !For: 23D
                 For:                  on: Nov-13-2017
                               Printed On: Nov-13-20i7 (Mon.)
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                                                                        DEPARTMENT
[]
                                                          GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                                   906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                            UNIFIED POLICE DEPT-GREATER SL
                                                                   GENERAL OFFENSE HARDCOPY
                                    GO# CO 2017-130290 OPEN/ACTIVE                                 7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                                   7399-99




                Related Text Page(s)
                    Document: INVSTGTR F/U
                    Author: MH2 - PEATROSS, JARED (Other)
                    Subject: SCENE RESPONSE
                    Related date/time: Aug-13-2017 (Sun.)
                                         13, 2017 I was called out by Sgt. Tim Duran on an Officer Involved Critical Indecent,
                             On August 13,
                involving Salt Lake City Police officers. II was asked to respond to the address of II 002 South State Street.

                When II arrived lI was briefed with other Violent Crime Detectives on scene. I was asked by Lead Detective
                Zach Bench to be over the scene and try and locate a next of kin for the deceased male. I wa
                                                                                                           walked
                                                                                                               lked the scene with
                detective Bench before he left for interviews. II then stayed on scene with the Forensic Units
                                                                                                         Units as the processed the
                scene.

                II ran the decedents name in UCJTSUCJIS and found he had several active warrants and was listed in OMS as being on
                                            Ad ult Probation and Parole and spoke with Robin King, who told me the decedent was
                probation. II contacted Adult
                 lilisted
                     sted as a C lass 2 probation start on 02/28/2017 and was listed on two cases as a walk away on 05/16/2017.
                               Class
                 Robin told me AP&P did an audit on 06/13/2017 and the decedent was still lilistedsted with active warrants. Robin did
                 not know if a bulletin had been released on the decedent listing him as a walk away with active warrants.

                 Robin told me he had two names lilisted     sted as next of kins for the decedent. The first name was Curtis Harmon who
                 was listed
                          li sted as a brother and Henry Ross a half brother. Both males lilisted
                                                                                                sted as family for the decedent resided in
                Ogden. The numbers I was provided were non working numbers. II was ab                  le to located address for both Curtis in
                                                                                                     able
                Ogden and Henry in Farmington. I sent local police to the lilisted      sted addresses. I was contacted that the male did not
                 lilive
                     ve at the address which I had them listed at. Through further investigation I was able to verify both Curtis and
                 Henry where deceased. I ran the decedent throug                                                                      Harmon
                                                                     throughh Lexis Nexis and located a female by the name of Jill Harmon
                     I 0/16/1965) living back in St. Louis Missouri. II located the address of 4457 W Belle PL FL I1st
                ((10/16/1965)                                                                                               st in Saint Loui s.
                                                                                                                                        Louis.
                II sent Saint Loui Louiss police department over to the address to try and make contact with Jill. II was contacted by
                Officer Thomas, who said he responded to the address and was told there was not a Jill Harmon living there.
                Officer Thomas was ab         able        JTils name and located the address of 4451 4Park # 815 in Saint Louis. Officer
                                                le to run Jllls
                Thomas was ab        able
                                        le to make contact with Jill and tell her of the passing of her brother in law. Officer Thomas gave
                Jill my contact information.

                I advised Detective Bench, that I had contacted the next of kin for the decedent and they had been advised of his
                death. I then cleared the scene.

                On August 14,14, 2017 I was contacted by Jill Harmon in regards to the death of her brother in law Patrick Harmon.
                II explained to Jill, Patrick had been in an indecent with Salt Lake City Police, where he was shot and killed. I told
                                                                thiss time.
                Jill I could not give her much information at thi

                Jill told me she was not surpri sed that Patrick would fight with police, Jill told me "Patrick is a motherfucker".
                                         surprised
                Jill explained to me she was married to Curtis who is Patrick's brother at the time of Curtis passing. Jill also told




                !For:
                 For: 23D
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[]                                             SALT LAKE              DEPARTMENT
                                                        GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                         UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                              7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                              7399-99




                me Henry had passed away while incarcerated. Jill said Patrick does have sisters and a daughter but they all live
                back in St. Louis. Jill told me she is in contact with Patrick's family and wou ld tell him of hi
                                                                                            would              hiss death. I gave Jill
                my name and contact information and the case number and told her to call if she or any of the fami   family
                                                                                                                         ly members
                had questions. I took down Jill   's information which will be passed along to Detective Bench.
                                              Jill's




                             NFD.




                  JLP/MH2




                !For: 230
                 For: 23D                Nov-13-20i7 (Mon.)
                                     on: Nov-13-2017
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[]                                          SALT LAKE              DEPARTMENT
                                                    GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                                  906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                       UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                     7399-99
                                                                                    7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                   Document: CRIME SCENE ANALYSIS
                   Author: HV9-BOWLES,
                   Author:  HV9 - BOWLES, HEATHER
                   Subject: OIS
                           date/time: Aug-13-2017 (Sun.) 2330
                   Related date/time:
                Date                              [Aug-13-2017

                Time of Occurrence               [2330

                Address [1002 SO STATE ST
                                       ST..

                Type of Offense                  [OIS

                Investigating Officer            [BENCH                    II.S.
                                                                              .S.    # [

                Departmen t /Division
                Department/Division              [SLCPD

                Photographs Taken                [YES

                Video Tape Taken                 [NO

                Latent Processing                [NO

                Latent Prints Obtained           [NO

                Narrative

                [I was requested by Sgt
                                     Sgt.. Petty-Brown to respond to the Salt Lake City Po     l ice
                                                                                             Police
                Department to photograph tthree
                                            h ree officers involved in a shooting
                                                                          shooting..  I photographed
                front and back pictures of the officers
                                                  officers,, their duty belts
                                                                        belts,, their guns
                                                                                      guns,,
                ammunition
                ammunition,, extra magazines and tasers
                                                   tasers.. I then separated the magazines and guns
                into their own bags/boxes for detectives
                                                 detectives..

                I was then rrequested
                              equested to respond to an O. R . room at IHC Hospital to photograph a
                                                        O.R.
                male
                male,, echo
                       echo..

                I photographed an overall of the room,
                                                   room , overalls of the male
                                                                          male,, and injuries on
                him
                him..  I also collected all the items aand
                                                         nd clothing that came into the hospital
                with him
                      him..

                The clothing/items were brought back to the Crime lab and secured into a drying
                cabinet at 326
                           326.. Please see below for a list of photographs taken
                                                                            taken..




                !For: 230
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    s
[]                                          SALT LAKE              DEPARTMENT
                                                   GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                    UNIFIED POLICE DEPT-GREATER SL
                                                            GENERAL OFFENSE HARDCOPY
                                GO# CO 2017-130290 OPEN/ACTIVE               7399-99
                                                                             7399.99 PUB ORD-POLICE ASSISTANCE




                SLCPD case number 17-149617]

                 ITEM           PHOTO NUMBER                      DESCRIPTION
                ********************************************************************************
                [l
                [1 0001 Coversheet for Officer Fox
                2 0002 Front view of Officer Fox
                3 0003 Duty belt
                4 0004 Back view of Officer Fox
                5 0005 Duty belt
                6 0006 Of ficer Fox?s gun/magazine
                       Officer
                7 0007 Ammo from magazine
                8 0008 Officer Fox?s gun
                9 0009 Officer Fox?s gun
                10 0010 Extra magazines
                11 0011 Ammo from extra magazine
                12 0012 Ammo from extra magazine
                13 0013 Ammo from extra magazine
                14 0014 Ammo type
                15 0015 Off  i cer Fo
                        Officer       x ?s left hand/arm
                                   Fox?s
                16 0016 Possible blood on arm
                17 0017 Off  i cer Fox?s rright
                        Officer             i ght hand/arm
                18 0018 Officer Fox?s right hand/arm
                19 0019 Of f i cer Fo
                        Officer       x ?s lef
                                   Fox?s   leftt hand/arm
                20 0020 Officer Fox?s right hand
                21 0021 Off  i cer Fox?s left hand
                        Officer
                22 0022 Off  i cer Fox?s taser
                        Officer
                23 0023 Taser
                24 0024 Taser
                25 0025 Bottom of Taser
                26 0026 Bottom of Taser
                27 0027 Bottom of Taser
                28 0028 Taser ca   r tridge
                                 cartridge
                29 0029 Taser ca   r tridge
                                 cartridge
                30 0030 Coversheet for Officer Smith
                31 0031 Front of Officer Sm      i th
                                               Smith
                32 0032 Duty belt
                33 0033 Back of Officer Smith
                34 0034 Duty belt
                35 0035 Off  i cer Smiths gun
                        Officer
                36 0036 Officer Smiths gun
                37 0037 Off  i cer Smiths gun
                        Officer
                38 0038 Officer Smiths gun
                39 0039 Off  i cer Smiths gun
                        Officer
                40 0040 Officer Smiths gun and magazine




                !For: 23D
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                                    on: Nov-13-2017                                                     i of7ii]
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                                                      GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                              906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                       UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE               7399-99
                                                                                7399.99 PUB ORD-POLICE ASSISTANCE




                41     0041   Ammo from magazine
                42     0042   Ammo from magazine
                43     0043   Extra magazines
                44     0044   Ammo from extra magazine
                45     0045   Ammo from extra magazine
                46     0046   Officer Smiths taser
                47     0047   Officer Smiths taser
                48     0048   Bottom of taser
                49     0049   Bottom of taser
                50     0050   Coversheet for Officer Robinson
                51     0051   Front picture of Officer Robinson
                52     0052   Duty belt
                53     0053   Back photo of Officer Robinson
                54     0054   Duty belt
                55     0055   Front photo of Officer Robinson wearing vest
                56     0056   Back photo of Officer Robinson wearing vest
                57     0057   Officer Robinsons gun
                58     0058   Officer Robinsons gun
                59     0059   Officer Robinsons gun
                60     0060   Officer Robinsons gun
                61     0061   Officer Robinsons gun and magazine
                62     0062   Ammo from magazine
                63     0063   Ammo type
                64     0064   Extra magazines
                65     0065   Ammo from extra magazines
                66     0066   Ammo from extra magazines
                67     0067   Ammo from extra magazines
                68     0068   Officer Robinsons taser
                69     0069   Officer Robinsons taser
                 70    0070   Officer Robinsons taser
                7711   0071   Bottom of taser
                 72    0072   Bottom of taser
                 73    0073   Taser cartridge
                74     0074   Overall of male in O.    R . at hospital
                                                     O.R.
                75     0075   Overall of male in O.    R . at hospital
                                                     O.R.
                 76    0076   Male on bed in O  . R.
                                              O.R.
                 77    0077   Males left arm
                 78    0078   Males left hand
                 79    0079   Out of focus
                80     0080   Males left hand/arm
                81     0081   Males left arm
                82     0082   Males left arm with scale
                83     0083   Males left arm with scale
                84     0084   Males left arm




                !For: 23D
                 For: 230                 Nov-13-20i7 (Mon.)
                                      on: Nov-13-2017
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                                                    GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE               7399-99
                                                                              7399.99 PUB ORD-POLICE ASSISTANCE




                85 0085 Males face/shoulders
                86 0086 Males face
                87 0087 Males face
                88 0088 Overall of male
                89 0089 Left side of males torso
                90 0090 Left side of males torso with scale
                91 0091 Males ri    g ht side
                                 right
                92 0092 males right side
                93 0093 Males ri    ght hand
                                 right
                94 0094 Males right hand
                95 0095 Right side of males torso
                96 0096 Right side of males torso with scale
                97 0097 Right sside
                                  i de of males torso with scale
                98 0098 Tourniquet on males right leg
                99 0099 Males rright
                                  i ght leg
                100 0100 Males feet
                101 0101 Males legs/feet
                102 0102 Males chest/torso
                103 0103 Males chest/face
                104 0104 Males feet
                105 0105 Males legs/torso
                106 0106 Males legs/torso/chest
                107 0107 Males chest/head/shoulders
                108 0108 Males shoulder with scale
                109 0109 Males shou     l ders
                                  shoulders
                ll0  0110 Males shoulders with scale
                110 0ll0
                lll
                111 0111 Out of ffocusocus
                ll2
                112 0112 Tattoo on males right shoulder
                ll3
                113 0113 Males back
                114 0114 Males back
                ll5
                115 0ll5
                     0115 Bac
                           Backk of males legs
                ll6
                116 0116 Back ooff males legs
                ll
                1177 0117 Injury to males back
                ll8
                118 0ll8
                     0118 Injury to males back
                ll9
                119 00119  I njury to males back wi
                      ll 9 Injury                   th scale
                                                  with
                Jl




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I             GO# SL 2017-149617 CLOSED/COMPLETED                                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




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                                                                  GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                           7399.99 PUB ORD-POLICE ASSISTANCE
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                Related Text Page(s)
                      Document: INVSTGTR F/U
                      Author: SOL
                               50L - BROWNLEE, MA TT
                      Subject: CANVAS
                      Related date/time: Aug-15-2017 (Tue.) 908

                On August 14, 2017 at approximate
                                      approximatelyly 0030 Hrs, Detective Bench requested II canvas the area for any video
                cameras that may have record the incident. Myself and Detective Hermansen checked the following businesses
                for cameras.

                Businesses with no Cameras:

                I 030 South State Street- Mixed Emotions
                1030

                IO 166 South State Street-Tourist Auto and Truck
                101

                IO IO South State Street-Moonbeam Garage
                1010

                I 004 South State Street-Tourist Transmission
                1004

                950 South State Street-Advantage Auto

                Businesses with Cameras:

                979 South State Street- Audi Dealership. Cameras are on the inside of the building and are TR
                                                                                                           IR type cameras.

                999- South State Street- Audi Dealership. Cameras are on the in side of the building and are IR type cameras.
                                                                             inside                                  cameras.

                During the canvas I did not notice anything else that wou
                                                                      would
                                                                          ld be helpful to the investigation.

                NFI
                NFI

                50LMB




                !For: 23D
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                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




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                                                                  GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                           7399-99
                                                                                            7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                      Document: INVSTGTR F/U
                      Author: SOL
                               50L - BROWNLEE, MA TT
                      Subject: SCENE RESPONSE
                      Related date/time: Aug-15-2017 (Tue.) 927

                On August 1313,, 2017 at approximate ly 2300 Hrs, I was contacted by Sgt. Duran and asked to respond to an
                                         approximately
                Officer Involved incident in Salt Lake City. JI arrived at the address of 1050
                                                                                          1050 S State Street and was briefed.

                Detective Bench was assigned as the case manager. Detective Bench requested JI canvas the area for any video
                cameras that may have record the incident. Please see my follow up report in regards to the canvas results.

                NF!
                NFI

                SOL MB
                50LMB




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                                                        GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                         UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                            7399-99
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                Related Text Page(s)
                    Document: INVSTGTR F/U
                    Author: 51K --SORENSON,
                                   SORENSON, CHAD
                    Subject: AUTOPSY PATRICK HARMON
                    Related date/time: Aug-16-2017 (Wed.) 912

                On August 14, 2017, II attended the autopsy for Patrick Harmon I10-15-1966
                                                                                 0-15-1966 at the Office of the Medical
                Examiner. The autopsy was performed by DR. Joe Pestaner.

                                                                  traveled
                DR. Pestaner advised me that the gunshot injuries trave led from left to right and from back to front with a
                downward trajectory. Rods were inserted into the injuries and photographed. Injuries are described as follows:

                II gunshot injury to the front right upper leg near the pelvic area (exit wound)

                2 gunshot injuries to the left upper buttocks area (entrance wounds)
                                                                                 wounds).. One of these bullets was recovered from the
                soft titissue
                         ssue just above the pelvis on the right side of the decedent. The other bullet continued through the body
                ex iting on the front right upper leg and was not recovered at the time of autopsy.
                exiting

                2 gunshot injuries to the left forearm area (through and through)
                                                                         through),, causing a signifi cant break to the bone. Several
                                                                                              significant
                metal fragments were recovered.

                DR Pestaner advised me that the decedent died as a result of these injuries. Refer to DR. Pestaner's final report
                for comp lete details.
                    complete

                Evidence collected at the time of autopsy is as follow s:
                                                                follows:

                I- Fingernail clippings left hand

                2- Fingernail clippings riright
                                            ght hand

                3- DNA spot card

                4- 2 white beads from under body

                5- 3 additional
                     additional beads from under body

                6- Fingerprints

                7-Photo CD

                8- Metal fragments from left forearm

                9- Bullet from pelvis




                !For:
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I             GO# SL 2017-149617 CLOSED/COMPLETED                                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




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                              thiss ev
                I transported thi   evidence
                                       idence from the Office of the Medical                  Unified
                                                                     Medica.l Examiner to the Unifi    Police
                                                                                                    ed Poli ce Department property
                and evidence storage facility. I booked all property listed above with the exception of the photo CD which was
                given to Detective Bench (case manager).

                  willll also provide detective bench with copies of all documentation from the autopsy.
                I wi                                                                            autopsy.

                NFI




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I             GO# SL 2017-149617 CLOSED/COMPLETED                                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




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                                                                GENERAL OFFENSE HARDCOPY
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                Related Text Page(s)
                    Document: INVSTGTR F/U
                    Author: 51K --SORENSON,
                                   SORENSON, CHAD
                    Subject: SCENE RESPONSE
                    Related date/time: Aug-16-2017 (Wed.) 920

                On August 1313,, 2017 Twas
                                      I was con
                                            contacted
                                                tacted by Sergeant Duran who requested II respond to the listed address to assist
                                                            (OICI) investigation.
                with an Officer Involved Critical Incident (OTCI)

                      arrival,, II met with several members of the protocol
                Upon arrival                                       protocol team and was prese nt for the briefing. Detective Bench
                                                                                         present
                                          lntermountain Medical Center where the suspect had been transported. Prior to arrival I
                requested II respond to Intermountain
                was notified by Sergeant Duran that the suspect had died.

                Upon arrival, I met with Salt Lake City Police Officer Daniel Carlson who was providing scene security and had
                perso nal property belonging to the decedent.
                personal

                I was advised by nursing staff that the decedent was pronounced deceased by DR.
                                                                                            DR. Don Vanbourem
                                                                                                      Yanbourem (surgeon) at
                            Yanbourem spoke with me briefly and pointed out several gunshot injuries to the male decedent, these
                00:03. DR Vanbourem
                injuries are listed below:

                II gunshot injury to the front right leg just below the hip (possible exit)

                2 gunshot injuri es to the left upper buttocks area (possible entrance)
                          injuries

                2 gunshot injuries to the left forearm (possib le through and through).
                                                       (possible

                Medical staff with IMC who provided life-saving efforts for the decedent are as follows:
                Medical

                Dalton, Caralin, RN

                Copeland, Kylee, RN

                         Denali,, Orderly
                Cordell, Denali

                Rogers
                Rogers,, Ann Marie, RN

                Stones-Crawford, Barbara, RN

                Hansen, Chris, Scrub tech

                Burt, Elizabeth, Scrub Tech

                                      Anesthesiologi st Monitor Tech
                Brinkerhoff, Chelsey, Anesthesiologist




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                                                    GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                       906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




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                Richins, lacee, Scrub Tech

                Fano, Jared, Core Tech

                Vanboerum, Don, MD (S urgeon)
                                   (Surgeon)

                Berquist, Barry, MD (Anesthesiologist)

                I contacted the Office of the Medical Examiner and spoke with OME Investigator Courtney Neilson. I provided
                all known information for the decedent and the known circumstances surrounding hi
                                                                                               hiss death at that time.

                OME Investigator Neilson arranged for transport to the Office of the Medical Examiner for autopsy 2017-1858.
                OME Transport is identifi
                                    identified
                                            ed as Josh McDonald and Brian Cogburn. Body was released for Transport from IMC
                to the Office of the Medical Examiner.

                Forensic Technician Heather Linton-Bowles on scene for photographs and the collection of evidence. Refer to
                her report for details.

                This completes my scene response and observations. All pertinent information relayed to Sergeant Duran and
                Detective Bench (case manager).

                NFI
                NF!




                !For: 230
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I             IGO# SL 2017-149617 CLOSED/COMPLETED                                906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                           UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                    GO# CO 2017-130290 OPEN/ACTIVE                7399-99
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                Related Text Page(s)
                        Document: FORENSIC PHOTOGRAPHY
                        Author: HV9-BOWLES,
                                 HV9 - BOWLES, HEATHER
                        Subject: EVIDENCE BOOKING
                                date/time: Aug-16-2017 (Wed.) 1030
                        Related date/time:
                Date                                 [Aug-16-2017

                Time of Occurrence                   [1030

                              so STATE ST
                Address [1002 SO       ST..

                Type of Offense                      [OIS

                Investigating Officer                [BENCH                   I.S.. #
                                                                              I.S       [[

                Department/Division                  [SLCPD

                Photographs Taken                   [YES

                Video Tape Taken                     [NO

                Latent Processing                    [NO

                Latent Prints Obtained               [NO

                Narrative

                [8/16/2017 the clothes and items recovered from the hospital aandnd secured in a
                drying cabinet at the UPD crime lab were removed
                                                          removed,, photographed
                                                                    photographed,, and booked into
                property and evidence
                             evidence.. See below for a list of items photographed and booked
                                                                                         booked..

                #1-      Black piece of clothing wi t h yellow stripe
                                                 with
                #2-      Black piece of clothing with yellow stripe and hospital bag
                #3-      Mardi Gras mask with beads
                #4-      Black socks (x2)
                                     (x2 )
                #5-      Plastic container with 6 colored beads]

                 ITEM        PHOTO NUMBER                         DESCRIPTION
                ********************************************************************************




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I             GO# SL 2017-149617 CLOSED/COMPLETED                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




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                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE               7399-99
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I             GO# SL 2017-149617 CLOSED/COMPLETED                                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




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                                                              GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                           7399-99
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                Related Text Page(s)
                    Document: OTHER F/U
                    Author: 898
                             898-- GRIFFITHS, TODD C
                    Subject: WEAPONS DOWNLOAD
                    Related date/time: Aug-16-2017 (Wed.) 1229

                lI received a phone call from Lieutenant April Morse at approximately 2345 hours on 8/13/2017 advising me of
                an officer involved shooting that took place in Salt Lake City involving Salt Lake City Officers. The protocol
                 investigation team had been called out and she was requesting assistance from the firearms unit for a download of
                the involved officer?s weapons.

                II initially responded to the scene where I met briefly with Lt. Morse and Sgt. Tim Duran. II was advised that
                 II wou
                    would
                        ld be needed for weapon
                                         weaponss downloads on three Salt Lake City Police Officers. Those officers had been
                                         Lake City Police Station. I responded to the Salt Lake City Police Administration building
                transported to the Salt Lake
                at 475 So. 300 East. where II met with Detective Zach Bench, ID Technician Heather Bowles and other protocol
                team members.
                        members. We were escorted to an interview room where the downloads would take place.

                Officers were brought to my location one at a time. After each officer had been photographed by Tech Bowles,
                they were instructed to remove their handgun from the holholster
                                                                             ster and hand it to me "as is". Each handgun was then
                placed on the table and photographed by Tech Bowles. The magazine was then removed from the handgun and
                the round removed from the chamber. The loaded magazine and chamber round were then photographed. The
                handgun magazine was then downloaded, rounds counted, and photographed. The officer was then instructed
                to hand me the two spare magazines he kept on hihiss belt, those magazines were photographed, downloaded, and
                rounds counted.

                Next the handgun was inspected to determine if it showed evidence of having been fired since its last ccleaning.
                                                                                                                        leaning.
                The handgun was subsequently packaged in an evidence handgun box. Each officer's rounds were placed back
                in their respective magazines. Each officer's handgun magaz ine and chamber round were packaged separately
                                                                      magazine
                in a paper evidence bag. Each officer's spare magazines were then packaged in their own evidence bag. The
                handguns, magazines and ammunition were turned over to Detective Bench.

                Each officer indicated that their primary duty handgun was the on ly firearm they had on them.
                                                                               only

                Each of the 3 officer's Tasers were also inspected and photographed. One taser was missing its cartridge, this
                taser was placed into an evidence bag and turned over to Detective Bench.

                Below is an accounting of the download for each individual officer:



                # I Officer Clinton Fox
                #I

                Weapon:               Glock 17 #YCK912




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                                                      GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




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                                                              GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                               7399.99 PUB ORD-POLICE ASSISTANCE
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                                                      Condition:: Fired since last cleaning
                                                      Condition

                Weapon Magazine:                    +1
                                                14, +l

                Spare Magazine
                      Magazine##1:
                                1:               17

                Spare Magazine #2:               17

                T ASER:              Inspected and returned to Officer Fox

                #2 Officer Kris Smith

                Weapon:              Glock 17 #XFW971

                            Condition: Fired since last cleaning

                Weapon Magazine:                18, +l
                                                    +1

                Spare Magazine
                      Magazine##1:
                                1:               16

                Spare Magazine #2:               17

                TASER:                            Inspected and seized, weapon was missing its ca1tridge
                                                                                               cartridge

                #3 Officer Scott Robinson

                Weapon:              Glock 17 #ZCH809

                            Condition: Fired since last cleaning

                Weapon Magazine:
                       Magazine:                 17,
                                                 17, +I

                Spare Magazine
                      Magazine##I:
                                I:               17

                Spare Magazine #2:               17

                T ASER:
                TASER:                Inspected and returned to Officer Robinson




                !For: 230
                 For: 23D           on: Nov-13-2017
                            Printed On: Nov-13-20i7 (Mon.)
                                                    (ion.)                                                          Page zi@Ti]
                                                                                                                    age 26  of 71 !




                                                                                                              SLCC 000096
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    sI
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                                               SALT LAKE    Filed 10/28/22 PageID.1318 Page 50 of 154
                                                                      DEPARTMENT
[]
                                                        GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                               906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                          UNIFIED POLICE DEPT-GREATER SL
                                                                 GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                              7399-99
                                                                                               7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                    Document: INVSTGTR F/U
                             23D-- BENCH, ZACHARY
                    Author: 23D
                    Subject: SCENE RESPONSE
                    Related date/time: Aug-16-2017 (Wed.) 1616
                On August 13, 2017, II was contacted by Sergeant Duran and asked to respond on an Officer Involved Critical
                Incident. I was told a Salt Lake City Police Officer was involved in a shooting near 1050 South State Street.

                II responded to the scene and was present for a brief that was provided by Salt Lake City Police. We were told
                Officer Smith had conducted a pedestrian stop on Patrick Harmon who was riding a bicycle. Officer Fox and
                           Robinsonn responded to the location of the stop to assist. It was learned Patrick had a Felony 2 warrant
                Officer Robinso
                     hiss arrest. As the Officers were attempting to secure Patrick in handcuffs he broke free from their grip and
                for hi
                presented a kn    ife to the Officers. Officer Fox fired 3 shots at Patrick who was subsequently transported to IMC
                               knife                                                                                              IMC
                where he died shortly after arriving. We were told there was one civi   civilian
                                                                                            lian witness that had been transported to Salt
                Lake City Police Department along with the 3 involved Officers.

                Detective North (SLCPD) was assigned to be the liaison at the scene and Detective Mount was ass     igned as the
                                                                                                                 assigned
                liliaison
                    aison at SLCPD building.
                II was assigned as the Case Manager as the Unified Poli
                                                                   Police                      Involved
                                                                        ce Department Officer Invol ved Critical Incident Protocol
                Team was requested to investigate the incident. The fo ll owing Officers were present:
                                                                    following

                - Detective Brownlee (UPD)
                - Detective Sorenson (UPD)
                - Detective Peatross (UPD)
                            Stillion
                - Detective Sti ll ion (UPD)
                - Sergeant Duran (UPD)
                - Detective Smithson (UTA PD)
                - Detective Hermansen (SSL PD)
                - Officer Thomson (UDOC)
                - Sergeant Lake (Granite PD)
                - Forensic Investigator
                           Investigator Benner
                - Forensic Investigator Andrews
                - Forensic Investigator
                           Investigator Bowles

                II gave the following assignments:
                                      assignments:

                Detectives Peatross, Brownlee and Hermansen were assigned to the scene.

                Detective Sorenson responded to IMC and remained with Harmon until hi
                                                                                   hiss body was released to the Office of the
                         Examiner.
                Medical Exam  iner.




                !For:
                 For: 23D    Printed On: Nov-13-20i7 (Mon.)
                                     on: Nov-13-2017 (ion.)                                                                 Fe2ii]
                                                                                                                            Page 27 of 71    !




                                                                                                                     SLCC 000097
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                                                            Filed 10/28/22 PageID.1319 Page 51 of 154


    sI
[]                                             SALT LAKE              DEPARTMENT
                                                        GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                         UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                              7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                              7399-99




                Detective Smithson, Officer Thomson, Sergeant Lake, Detective Stillion and myself responded to SLCPD to
                conduct interviews and oversee the down loads.
                                                   downloads.

                Prior to leaving, Detective Stillion and I walked through the scene. I observed multiple evidence placards and
                                          items. I saw an area where there was blood on the sidewalk and grass. Near the blood was
                cones marking various items.
                a fo lding silver colored knife. I noticed there was bloody clothes on the sidewalk that I was told were cut off of
                  folding
                Patrick as life-sav ing efforts were administered. As I walked around the 3 patrol cars I observed a black folding
                            life-saving
                knife on the hood of one of the marked patrol cars.
                                                                 cars. I was told thi
                                                                                  thiss knife was used by an Officer to cut the clothes
                off of Patrick. Refer to the scene photos for further.

                Please see supplemental reports for further.

                NFD

                ZB 23D




                !For: 230
                 For: 23D    Printed On: Nov-13-20i7 (Mon.)
                                     on: Nov-13-2017 (ion.)                                                              age 28
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    sI
 Case 2:19-cv-00553-HCN-CMR                   Document 80-7 POLICE
                                               SALT LAKE    Filed 10/28/22 PageID.1320 Page 52 of 154
                                                                      DEPARTMENT
[]
                                                        GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                               906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                          UNIFIED POLICE DEPT-GREATER SL
                                                                 GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                              7399-99
                                                                                               7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                    Document: INVSTGTR F/U
                    Author: 23D
                             23D-- BENCH, ZACHARY
                    Subject: OFFICER DOWNLOADS
                    Related date/time: Aug-16-2017 (Wed.) 1618
                Below is a sy nopsis of the Officer Downloads that were observed shortly after midnight on August 14,
                           synopsis                                                                                14, 2017. I
                responded to the Salt Lake City Public Safety Building (PSB) and observed the downloads of Officers Fox and
                Robinson.
                Robin son. Officer Smith's download was observed by Sergeant Lake. All of the down
                                                                                                downloads
                                                                                                      loads were conducted by
                Lieutenant Griffiths (UPD) and documented by Forensic Investigator Bowles. Add    itionally the downloads were
                                                                                               Additionally
                audio/visual recorded.

                Officer Fox

                Officer Fox was dressed in hihiss patrol uniform with Salt Lake City Police Patches on each shoulder and was
                wearing his
                         hi s badge. Officer Fox had a Glock 17 (9mm) with serial number
                                                                                     number   REDACTED in hi
                                                                                                          hiss holster. There was
                one chambered, unfired round in Officer Fox's gun and 14 rounds in the magazine that was in the gun. Officer
                Fox had 2 additional
                            additional magazines with him and they both contained 17 rounds. Officer Fox's Taser was visually
                inspected and the cartridge had not been fired. Officer Fox said his spare cartridge was in hi hiss veh
                                                                                                                    vehicle
                                                                                                                        icle and that is
                usually where he keeps it. After the download was complete I walked with Officer Fox to the room where hi         hiss
                body worn camera is docked and the video is uploaded. Once this was complete, II stood by while Officer Fox
                removed his vest and duty belt to check for any cas   ings but he did not locate any.
                                                                  casings

                II asked Officer Fox is he wanted to provide a statement to me and he said he would prefer not to. I provided
                Officer Fox with my business card and asked him to contact me if he would like to provide a statement at a later
                time.

                Officer Smith

                Sergeant Lake observed Officer Smith's download
                                                       download;; please refer to his report for further.

                Officer Robinson

                Officer Robinson was dressed in a blue polo shirt with Salt Lake C  ity Police patches on both shoulders and
                                                                                  City
                dark blue shorts. Over Officer Robinson's shirt was a blue vest carrier that had his badge attached to it. Officer
                Robinson was wearing a blue hat with a Salt Lake City patch.

                officer Robinso
                Officer                                          number REDACTED in his holster. There was one unfired round in
                         Robinsonn had a Glock 17 (9mm) serial number[
                the chamber and 17 rounds in the magazine that was in the gun. Officer Robinson had 2 additional magazines
                on his duty belt; both of which contained 17 rounds. Officer Robinson's Taser was visua  lly inspected and his
                                                                                                    visually
                cartridge had not been fired
                                        fired.. Officer Robinson and I walked down to the same room as Officer Fox had and he
                        hiss body worn camera in the docking station.
                placed hi




                !For:
                 For: 23D             on: Nov-13-2017
                              Printed On: Nov-13-20i7 (Mon.)
                                                      (ion.)                                                                     i6
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[]                                            SALT LAKE              DEPARTMENT
                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                        UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                             7399.99 PUB O
                                                                                             7399-99     ORD-POLICE
                                                                                                           RD-POLICE ASSISTANCE




                Officer Robi son was interviewed by Detective Stillion; See hi
                        Robison                                             hiss report for further.

                I took custody of Officer Fox, Officer Smith and Officer Robinson's firearms as well as all of their magazines and
                ammo. I also took custody of Officer Smith's Taser which had been deployed.
                                                                                   deployed. I returned to the scene and gave
                the items to
                          lo Forensic Investi gator Benner.
                                      Investigator

                Officer Smith and Officer Robinson's firearms were taken as they had been fired recently (at qualification) and
                were not cleaned prior to returning to work.

                NFD

                ZB 23D




                !For: 230
                 For: 23D               Nov-13-20i7 (Mon.)
                                    on: Nov-13-2017
                            Printed On:             (ion.)                                                          Page iv7i]
                                                                                                                    Fig 30 of 71  !




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    sI
 Case 2:19-cv-00553-HCN-CMR                  Document 80-7 POLICE
                                              SALT LAKE    Filed 10/28/22 PageID.1322 Page 54 of 154
                                                                     DEPARTMENT
[]
                                                      GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                          906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                       UNIFIED POLICE DEPT-GREATER SL
                                                              GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                            7399-99
                                                                                           7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                    Document: INVSTGTR F/U
                             23D-- BENCH, ZACHARY
                    Author: 23D
                    Subject: AUDI VIDEO
                    Related date/time: Aug-16-2017 (Wed.) 1628
                On August 14, 2017, II responded to the Audi Dealership located across the street to the east of where the incident
                                                  handles
                took place. I met with Brain who hand         IT for Audi. Brian
                                                      les the TT            Brian provided me with a copy of the video from that
                                                            would
                night. I viewed the video and determined it wou  ld not help with the investigation as the camera was too far away
                and the area where the incident occurred was dark.

                NFD

                ZB 23D




                !For:
                 For: 23D
                      23D   Printed On: Nov-13-20i7 (Mon.)
                                    on: Nov-13-2017 (ion.)                                                           Tiger
                                                                                                                     Page      ii]!
                                                                                                                          31 of 71




                                                                                                               SLCC 000101
For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                                                          Page 54 of 154
    sI
 Case 2:19-cv-00553-HCN-CMR                    Document 80-7 POLICE
                                                SALT LAKE    Filed 10/28/22 PageID.1323 Page 55 of 154
                                                                       DEPARTMENT
[]
                                                         GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                                906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                          UNIFIED POLICE DEPT-GREATER SL
                                                                 GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                               7399-99
                                                                                                7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                    Document: INVSTGTR F/U
                    Author: 23D
                    Author:  23D-- BENCH, ZACHARY
                    Subject: TASER DOWNLOAD
                    Related date/time: Aug-16-2017 (Wed.) 1630
                On August 15,
                           I5, 201 7, II checked out O
                               2017,                 Officer                           hiss fifirearm,
                                                       fficer Smith's Taser as well as hi       rearm , magazines and ammo from
                property and evidence.                                          firearm,, magazines and ammo.
                             ev idence. I also checked out Officer Robinson's firearm

                II took the Taser to the Unifi
                                         Unified  Police
                                               ed Poli ce Department's Range and had Dave Ney lan      Ian downl
                                                                                                            download
                                                                                                                 oad the Taser. The report
                showed the Taser was activated at 10:  I 0: 13
                                                            13 pm fo
                                                                  forr 5 seconds and then placed in "safe" mode. There were not any
                other acti vations of the Taser while Officer Smith was on scene fo
                       activations                                                     forr thi
                                                                                            thiss incident.

                Later in the afternoon, II met with Detecti ve Mount (SLCPD) and returned the Taser, firearms, magazines and
                                                    Detective
                ammo to him.

                NFD

                ZB 23D




                !For:
                 For: 23D    Printed On: Nov-13-20i7 (Mon.)
                                     on: Nov-13-2017 (ion.)                                                                  Fig·ii]
                                                                                                                             Page 32 of 71   !




                                                                                                                      SLCC 000102
For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                                                                     Page 55 of 154
 Case 2:19-cv-00553-HCN-CMR                  Document 80-7 POLICE
                                                           Filed 10/28/22 PageID.1324 Page 56 of 154


    s
[]                                            SALT LAKE              DEPARTMENT
                                                      GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                                906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                         UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                7399-99
                                                                                 7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                        Document: CRIME SCENE ANALYSIS
                        Author: GE8 - BENNER, BRENT A
                        Subject: CRIME LAB/FOLLOW UP-COPY/PASTE
                        Related date/time: Aug-17-2017 (Thu.)
                Date                               [Aug-13-2017

                Time of Occurrence                 [2308

                Address [1050 S STATE

                Type of Offense                    [OIS

                Investigating Officer              [Z
                                                   [Z.. BENCH                II.S.#
                                                                                . S . # [23D
                                                                                        (23D

                Departmen t /Division
                Department/Division                [40 SALT LAKE CITY

                Photographs Taken                  [NO

                Video Tape Taken                   [NO

                Latent Processing                  [NO

                Latent Prints Obtained             [NO

                Narrative

                [I responded to the
                                 t he scene at the above listed address     ors protocol team
                                                                  address.. OIS
                briefed and assignments were given to individuals. I was assigned to scan the
                scene using the FARO laser scanner
                                              scanner.. I also assisted with evidence searching and
                collection
                collection.. Analyst RR.. Andrews was assigned as Case Manager for Forensics
                                                                                     Forensics.. See
                Andrews report for details of evidence collected
                                                           collected..

                Detective Bench arrived back at the scene after Officer downloads were
                completed
                completed.. I took possession of the following list of items
                                                                       items..

                1-   Handgun
                     Handgun.. Glock brand
                                     brand.. Model 17
                                                   17.. 9mm
                                                        9mm..     REDACTED
                2-   Magazine with 14 cartridges and one cartridge from chamber
                                                                              chamber..
                3-   Magazines
                     Magazines.. two spare magazines from duty belt with 17 cartridges each
                                                                                        each..
                4-   Handgun
                     Handgun.. Glock brand
                                     brand.. Model 17   9mm.. REDACTED
                                                   17.. 9mm       REDACTED
                5-   Magazine with 17 cartridges and one cartridge from chamber
                                                                              chamber..
                6-   Magazines
                     Magazines.. two magazines with 17 cartridges each each..
                7-
                7-             Glock brand
                     Handgun.. Glock
                     Handgun         brand.. Model
                                             Model 17
                                                   17.. 9mm
                                                        9mm ..._ REDACTED _,




                !For: 230
                 For: 23D                 Nov-13-20i7 (Mon.)
                                      on: Nov-13-2017
                              Printed On:             (ion.)                                           Fig·3
                                                                                                       Page 33 ofii]
                                                                                                                 71  !




                                                                                                 SLCC 000103
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                                                         Filed 10/28/22 PageID.1325 Page 57 of 154


    s
[]                                          SALT LAKE              DEPARTMENT
                                                   GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                    UNIFIED POLICE DEPT-GREATER SL
                                                            GENERAL OFFENSE HARDCOPY
                                GO# CO 2017-130290 OPEN/ACTIVE               7399-99
                                                                             7399.99 PUB ORD-POLICE ASSISTANCE




                8- Magazine with 17 cartridges and one cartridge from chamber
                                                                          chamber..
                9- Magazines
                   Magazines.. two magazines wi t h 17 cartridges each
                                              with                 each..
                10- Taser
                    Taser.. Taser brand
                                  brand.. serial 1102X3 and Xl2000WE2
                                                              X12000WE2
                The listed items were placed in an evidence locker at the Crime lab after
                clearing the scene. On 8/14/2017 I collected the listed items and booked them
                into evidence at 2000 hrs on 8/14/2017
                                               8/14/2017..

                8/15/2017 and 816/2017 I1 processed the Faro scans
                                                             scans.. II created a Webshare of the
                scans and made a top-down drawing of the scene
                                                          scene.. II prov i ded digital and paper
                                                                     provided
                copies of the scans to Detective Bench.

                Nothing further at this time .]
                                        time.]

                 ITEM        PHOTO NUMBER                         DESCRIPTION
                ********************************************************************************




                !For: 23D
                 For:       Printed On:             (ion.
                                        Ny-13-20i7 (Mon.)
                                    on: Nov-13-2017                                                     i of7ii]
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                                                                                                   Page 34  71   l




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For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                                         Page 57 of 154
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                                                             Filed 10/28/22 PageID.1326 Page 58 of 154


    sI
[]                                              SALT LAKE              DEPARTMENT
                                                         GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                          UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                    GO# CO 2017-130290 OPEN/ACTIVE                         7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                           7399-99




                Related Text Page(s)
                       Document: SGT NARRATIVE
                       Author: 83K - DURAN, TIMOTHY
                       Subject: SCENE RESPONSE
                       Related date/time: Aug-18-2017 (Fri.) 1208
                On August 13, 20   I7, II received a phone call from Lieutenant Bell of West Jordan Police Department who is the
                                2017,
                Officer Involved Critical Incident Protocol Team Coordinator. Lieutenant Bell  Bell informed me a Salt Lake City
                Police officer was involved in a shooting and requested the Uni    fied Police Department's Protocol Team respond
                                                                                Unified
                to conduct the investigation. II was told there were three police offers present during the shooting. However, II
                was told only one officer fired his
                                                  hi s gun. I was told the person who was shot was shot multiple times and had been
                transported to TMC
                               IMC Hospital in delta minus condition.

                II contacted my command staff to inform them of the call-out. II then contacted members of the Unified Police
                Department's Protocol Team to have them respond to the address of occurrence which was identified as I1002   002
                South State Street in Salt Lake City. II responded to the address of occurrence. While en route, II contacted
                Detective Zach Bench via telephone and advised him he would be assigned as the case manager on this
                investigation.

                Once at the scene, Detectives and Forensic Techs were briefed by Salt Lake City Police Department's Staff.
                Detective Zach Bench made assignments to Detectives. I remained at the scene to supervise.

                NFL
                NFI.




                !For:
                 For: 23D      Printed On: Nov-13-20i7 (Mon.)
                                       on: Nov-13-2017 (ion.)                                                         Fig· 35
                                                                                                                      Page 3sof 71 ii]!




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For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                                                              Page 58 of 154
    sI
 Case 2:19-cv-00553-HCN-CMR                     Document 80-7 POLICE
                                                 SALT LAKE    Filed 10/28/22 PageID.1327 Page 59 of 154
                                                                        DEPARTMENT
[]
                                                          GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                         906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                           UNIFIED POLICE DEPT-GREATER SL
                                                                 GENERAL OFFENSE HARDCOPY
                                     GO# CO 2017-130290 OPEN/ACTIVE                      7399-99
                                                                                         7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                        Document: INVSTGTR F/U
                                 23D-- BENCH, ZACHARY
                        Author: 23D
                        Subject: REQUEST OF EXAMINATION
                        Related date/time: Aug-18-2017 (Fri.) 1357
                On August 18, 2017, II faxed a request to the Medical Examiner's Office in regards to the cause of death of
                Patrick Harmon. The Medica
                                     Medicall Examiner's case number is 2017-01  858. The original request will be maintained in
                                                                         2017-01858.
                the case file.

                No further informati
                           information
                                     on at this time.

                ZB 23D




                !For: 23D
                 For:                   on: Nov-13-2017
                                Printed On: Nov-13-20i7 (Mon.)
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                                                                                                                   Fag 36    71    !




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For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                                                           Page 59 of 154
 Case 2:19-cv-00553-HCN-CMR                   Document 80-7 POLICE
                                                            Filed 10/28/22 PageID.1328 Page 60 of 154


    s
[]                                             SALT LAKE              DEPARTMENT
                                                       GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                                    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                        UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                    7399-99
                                                                                     7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                        Document: INVSTGTR F/U
                                 23D-- BENCH, ZACHARY
                        Author: 23D
                        Subject: CRIME LAB- OFFICER FORENSIC RE
                        Related date/time: Aug-18-2017 (Fri.) 1411
                CRIME LAB FORENSIC REQUEST

                Date of Request:           [8-18- 17
                                           [8-18-17               Type of Offense
                                                                          Offense::     [OICI

                Outside Agency
                        Agency::           [Yes        ]] If Yes -- Agency Name:
                                                                           Name :   [SALT LAKE CITY POLICE

                Investigating/Requesting Officer
                                          Officer::
                First
                First:: [ZACH
                        [ ZACH         ]]  Last
                                           Last:: [BENCH                                  MIS ##:: [230

                               Suspect
                               Suspect::                             D. O. B .
                                                                     D.0.B.               SID                 SLCO SO#
                                                                                                          [
                                                                                                          [
                                                                                                          [


                                Victim
                                Victim::                             D. O. B .
                                                                     0.0.B.               SID                 SLCO SO#
                                                                                                          [
                                                                                                          [
                                                                                                          [

                Forensic Examination Requested
                   ]Latent Print Processing
                   ]Substance Analysis                  [X ]Forensic Photography
                   ]Alternate Lig ht Source Analysis
                               Light                    [ ]Ten Print Search /Print
                                                                      Search/Print
                   ]Blood Draw                          [ ]Document Analysis
                   ]Firearms E-Trace                    [ ]Footwear/Tire Tread Analysis
                   ]AFIS/AFIX Search                    [ ]Serial Number Restoration
                   ]Handwriting Analysis                [ ]Utah State Crime Lab
                   ]Counterfeit Analysis                [ ]Forensic Cell Phone download
                   ]Pawn Ticket Comparison ((Ticket
                                             Ticket Locat i on ) [[
                                                     Location)
                   ]Other
                   ] Other (Describe
                           (Describe)) [

                Forensic Examination Requested/Notes
                                     Requested/Notes:: [I HAVE A
                                                               A COPY OF ALL PHOTOS TAKEN UP TO]
                [THIS POINT
                      POINT..                                                                  l
                 [                                                                                                         l
                 [                                                                                                         l
                 [                                                                                                         l
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                                      on: Nov-13-2017
                              Printed On:             (ion.)                                                    Fags
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    sI
[]                                          SALT LAKE              DEPARTMENT
                                                    GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE               7399.99 PUB ORD-POLICE ASSISTANCE
                                                                              7399-99




                   Item        UPD Property           Evidence Description           Evidence Location
                                Tag Number
                                 [
                                 [
                                 [
                                 [
                                 [
                                 [
                                 [




                !For: 230
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[]                                          SALT LAKE              DEPARTMENT
                                                    GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                              906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                       UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                7399-99
                                                                               7399.99 PUB ORD-POLICE ASSISTANCE




                Related Text Page(s)
                   Document: CRIME SCENE ANALYSIS
                   Author: HZ9 - ANDREWS, RYAN
                   Author:
                   Subject: CRIME LAB/FOLLOW UP-COPY/PASTE
                           date/time: Aug-18-2017 (Fri.) 2018
                   Related date/time:
                Date                              [Aug-13-2017

                Time of Occurrence               [2308

                Address [1050 S STATE ST

                Type of Offense                  [OFFICER INVOLVED SHOOTING]
                                                                   SHOOTING)

                Investigating Officer            [BENCH                    II.S.#
                                                                              . S . # [23D
                                                                                      (23D

                Departmen t /Division
                Department/Division              [INVESTIGATIONS

                Photographs Taken                [YES

                Video Tape Taken                 [NO

                Latent Processing                [NO

                Latent Prints Obtained           [NO

                Narrative

                [I responded with the Unified Police Department Mobile Crime Lab to the above
                address where I assisted with an Officer involved shooing case for Salt Lake
                City Police
                     Police..

                Upon arrival I was assigned as the forensic case manager
                                                                  manager.. Forensic
                Investigator Benner was assigned to Faro scan the scene and Forensic
                Investigato
                Investigatorr Bowles respond to the Salt Lake City Police Department for the
                Officer download
                        download,, see their reports for further information
                                                                 information..

                I took overall photographs
                                phot ographs of the West side of state street
                                                                       street,, including the
                roadway
                roadway,, lawn strip
                               strip,, sidewalk
                                       sidewalk,, and lawn area
                                                           area..

                Facing South
                        South,, along the West side of state street
                                                              street,, I photographed three marked
                Salt Lake City Police Department cruisers
                                                   cruisers,, units number 40524
                                                                            40524,, 40577
                                                                                    40577,, and
                40626
                40626..  I photographed a black Gerber brand folding knife with red/brown stains
                located on the hood of unit number 40577
                                                     40577.. This knife would later be marked as




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[]                                          SALT LAKE              DEPARTMENT
                                                    GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE               7399-99
                                                                              7399.99 PUB ORD-POLICE ASSISTANCE




                item number 19 and collected as evidence
                                                evidence..

                In the shoulder of the roadway
                                        roadway,, to the south of the police vehicles
                                                                              vehicles,, I
                photographed a green Specialized brand bicycle
                                                         bicycle,, serial number CB9B8337
                                                                                 CB9B8337,, and a
                black backpack.   The bicycle was marked as item 1 and the backpack as item 2
                and both collected as evidence
                                       evidence.. The contents of the backpack were later
                photographed
                photographed,, see photographs for more information
                                                         information..

                South of the bicycle and backpack
                                         backpack,, also located in the shoulder of the roadway
                                                                                        roadway,,
                I photographed a green taser door
                                             door,, marked as item 3. The other taser door was
                located on the sidewalk and marked as item 77.. Both were collected as evidence
                                                                                       evidence..

                On the lawn strip I photographed a pair of black patrol gloves with red/brown
                stains
                stains.. These gloves were marked as item 4 and collected as evidence
                                                                             evidence..

                In the lawn area on the west side of the sidewalk I photographed two Silver
                Speer brand 9mm Luger casings
                                      casings.. These casings were marked as items 5 and 6 and
                both collected as evidence
                                  evidence..  It was later determined that there should be a
                third casing in the same area
                                         area.. The entire lawn area was searched using a metal
                detector but no third casing was recovered.
                                                  recovered .

                In this same lawn area I also photographed a silver "Castleview
                                                                        ''Castleview Hospita l" brand
                                                                                     Hospital''
                folding knife
                        knife,, marked as item 12
                                                12,, a pair of handcuffs
                                                                handcuffs,, marked as item 13
                                                                                           13,, and a
                pair of bent eyeglasses
                              eyeglasses,, marked as time 18
                                                           18.. All of these items were collected
                as evidence.

                On the sidewalk II photographed a taser cartridge
                                                           cartridge,, marked as item 88,, a bullet
                fragment
                fragment,, marked as item 99,, blue jeans with red/brown stains
                                                                           stains,, marked as item
                10
                10,, a bullet
                       bullet,, marked as item 11
                                                11,, a pair of red underwear
                                                                    underwear,, marked as item 14
                                                                                                14,, A
                                                                                                     A
                pair of shoes
                         shoes,, marked as items 15 and 1616,, and a cigarette marked as item 1717..
                All of these items were collected as evidence.

                I also photographed multiple red/brown stains located on the sidewalk and lawn
                area
                area..

                I also photographed where the the taser cartridge conductive wires were wrapped
                around the blue jeans
                                 jeans.. One of the taser probes was still attached to the
                conductive wire and was located on the sidewalk next to the blue jeans.
                                                                                  jeans . The
                other taser probe had broken free of the conductive wire and was located under
                the blue jeans.
                         jeans .

                The blue jeans and underwear were laid out on a table inside the Mobile Crime
                Lab and photographed in greater detail
                                                detail.. I photographed two apparent holes in
                the right leg area of the blue jeans and three apparent holes in the back side




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[]                                           SALT LAKE              DEPARTMENT
                                                     GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                      UNIFIED POLICE DEPT-GREATER SL
                                                              GENERAL OFFENSE HARDCOPY
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                                                                               7399.99 PUB ORD-POLICE ASSISTANCE




                of the jeans
                       jeans,, above the left pocket
                                               pocket..  I photographed four apparent holes in the
                back side of the underwear
                                  underwear,, bu
                                              butt none in the front
                                                               front..

                I packaged and sealed all of the above listed items of evidence
                                                                         evidence,, except for
                items 10 and 14
                             14,, and transported them to the Unified Police Department Property
                and Evidence facility where they we r e secured in an evidence locker
                                                  were                          locker.. Items 10
                and 14 were transported to the Unified Police Department Cr  i me Lab where they
                                                                           Crime
                were secured in a drying cabinet and will be booked into evidence once drydry..

                Evidence Log
                         Log::

                Item    11:: Bicycle
                Item    22:: Backpack
                Item    3 : Taser door
                        3:
                Item     4 : Gloves
                         4:
                Item    55:: Casing
                Item    66:: Cas i ng
                              Casing
                Item     77:: Taser door
                Item    88:: Taser cartridge
                Item    99:: Bullet fragment
                Item    10
                         10:: Blue Jeans
                Item    1111:: Bullet
                Item    12
                         12:: Kn if e
                               Knife
                Item    1313:: Handcuffs
                Item    14
                         14:: Underwear
                Item    1515:: Right shoe
                Item    16
                         16:: Left shoe
                Item    1717:: Cigarette
                Item    18
                         18:: Eyeglasses
                Item    1919:: Knife]

                 ITEM        PHOTO NUMBER                         DESCRIPTION
                ********************************************************************************
                [l
                [1  9769 Cover sheet
                2 9770 Roadway
                3 9771 Roadway
                4 9772 Roadway
                5 9773 Roadway
                6 9774 Roadway
                7 9775 Roadway
                8 9776 Roadway
                9 9777 Roadway
                10 9778 Roadway
                11  9779 Roadway




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[]                                               SALT LAKE              DEPARTMENT
                                                         GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                                 906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                          UNIFIED POLICE DEPT-GREATER SL
                                                                  GENERAL OFFENSE HARDCOPY
                                      GO# CO 2017-130290 OPEN/ACTIVE               7399-99
                                                                                   7399.99 PUB ORD-POLICE ASSISTANCE




                    12   9780     Roadway
                    13   9781     Roadway
                    14   9782     Unit 40524
                    15   9783     Unit 40524
                    16   9784     Unit 40524
                    17   9785     Unit 40524
                    18   9786     Unit 40577
                    19   9787     Unit 40577
                    20   9788     Unit 40577
                    21   9789     Unit 40577
                    22   9790     Unit 40626
                    23   9791     Unit 40626
                    24   9792     Un i t 40626
                                  Unit
                    25   9793     Unit 40626
                    26   9794     Unit 40626
                    27   9795     Bicycle
                    28   9796     Bi cycle
                                  Bicycle
                    29   9797     Bicycle
                    30   9798     Backpack
                    31   9799     Backpack
                    32   9800     Backpack
                    33   9801     Gloves
                    34   9802     Glov
                                  Gloveses
                    35   9803     Gloves
                    36   9804     Gloves
                    37   9805     Taser door
                    38   9806     Taser door
                    39   9807     Taser cartridge
                    40   9808     Taser cartridge
                    41   9809     Taser cartridge
                    42   9810     Blue jeans
                    43   9811     Blue jeans
                    44   9812     Shoes
                    45   9813     Shoes
                    46   98 14
                         9814     Apparent blood
                    47   9815     Apparent blood
                    48   9816     Apparent blood
                    49   9817     Apparent blood
                    50   9818     Apparent blood
                    51   9819     Apparent blood
                    52   9820     Apparent blood
                    53   9821     Taser probes
                    54   9822     Taser probes
                    55   9823     Cigarette




                I
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[]                                              SALT LAKE              DEPARTMENT
                                                        GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                                906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                         UNIFIED POLICE DEPT-GREATER SL
                                                                 GENERAL OFFENSE HARDCOPY
                                     GO# CO 2017-130290 OPEN/ACTIVE               7399-99
                                                                                  7399.99 PUB ORD-POLICE ASSISTANCE




                    56   9824    Cigarette
                    57   9825    Handcuffs
                    58   9826    Handcuffs
                    59   9827    Handcuffs
                    60   9828    Handcuffs
                    61   9829    Knife
                    62   9830    Bullet
                    63   9831    Bullet
                    64   9832    Bullet
                    65   9833    Bullet
                    66   9834    Bullet
                    67   9835    Casings
                    68   9836    Casings
                    69   9837    Casings
                    70   9838    Casings
                    71   9839    Casings
                    72   9840    Item 11:: Bicycle
                    73   9841    Item 11:: Bicycle
                    74   9842    Item 11:: Bicycle
                    75   9843    Item 11:: Bicycle
                    76   9844    Item 22:: Backpack
                    77   9845    Item 22:: Backpack
                    78   9846    Item 22:: Backpack
                    79   9847    Item 33:: Taser door
                    80   9848    Item 33:: Taser door
                    81   9849    Item 33:: Taser door
                    82   9850    Item 33:: Taser door
                    83   9851    Item 33:: Taser door
                    84   9852    Item 44:: Gloves
                    85   9853    Item 44:: Gloves
                    86   9854    Item 44:: Gloves
                    87   9855    Item 55:: Casing
                    88   9856    Item 55:: Casing
                    89   9857    Item 55:: Casing
                    90   9858    Item 55:: Casing
                    91   9859    Item 66:: Casing
                    92   9860    Item 66:: Casing
                    93   9861    Item 77:: Taser door
                    94   9862    Item 77:: Taser door
                    95   9863    Item 88:: Taser cartridge
                    96   9864    Item 88:: Taser cartridge
                    97   9865    Item 88:: Taser cartridge
                    98   9866    Item 88:: Taser cartridge
                    99   9867    Item 88:: Taser cartridge




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                I For,
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                                                     GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                      UNIFIED POLICE DEPT-GREATER SL
                                                              GENERAL OFFENSE HARDCOPY
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                                                                               7399.99 PUB ORD-POLICE ASSISTANCE




                    100   9868   Item 88:: Taser cartridge
                    101   9869   Item 88:: Taser cartridge
                    102   9870   Item 10
                                       10:: Blue Jeans
                    103   9871   Item 99:: Bullet fragment
                    104   9872   Item 99:: Bullet fragment
                    105   9873   Item 99:: Bullet fragment
                    106   9874   Item 11
                                       11:: Bullet
                    107   9875   Item 11
                                       11:: Bullet
                    108   9876   Item 11
                                       11:: Bullet
                    109   9877   Item 11
                                       11:: Bullet
                    110   9878   Item 11
                                       11:: Bullet
                    111   9879   Item 12
                                       12:: Knife
                    112   9880   Item 12
                                       12:: Knife
                    113   9881   Item 12
                                       12:: Knife
                    114   9882   Item 13
                                       13:: Handcuffs
                    115   9883   Item 14
                                       14:: Underwear
                    116   9884   Item 14
                                       14:: Underwear
                    117   9885   Item 14
                                       14:: Underwear
                    118   9886   Item 15
                                       15:: Right shoe
                    119   9887   Item 16
                                       16:: Left shoe
                    120   9888   Item 17
                                       17:: Cigarette
                    121   9889   Item 17
                                       17:: Cigarette
                    122   9890   Item 18
                                       18:: Eye glasses
                    123   9891   Item 18
                                       18:: Eye glasses
                    124   9892   Item 18
                                       18:: Eye glasses
                    125   9893   Item 18
                                       18:: Eye glasses
                    126   9894   Item 18
                                       18:: Eye glasses
                    127   9895   Knife on police vehicle
                    128   9896   Knife on police vehicle
                    129   9897   Knife on police vehicle
                    130   9898   Knife on police vehicle
                    131   9899   Knife on police vehicle
                    132   9900   Gloves
                    133   9901   Gloves
                    134   9902   Gloves
                    135   9903   Item 19
                                       19:: Knife
                    136   9904   Item 19
                                       19:: Knife
                    137   9905   Item 11:: Bicycle Serial number
                    138   9906   Item 22:: Backpack and contents
                    139   9907   Item 22:: Backpack and contents
                    140   9908   Item 2: Backpack and contents
                    141   9909   Item 22:: Backpack and contents
                    142   9910   Item 22:: Backpack and contents
                    143   9911   Item 22:: Backpack and contents




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[]                                          SALT LAKE              DEPARTMENT
                                                    GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE               7399-99
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                144    9912    Item     22:: Backpack and contents
                145    9913    Item     22:: Backpack and contents
                146    9914    Item    33:: Gloves
                147    9915    Item   33:: Gloves
                148    9916    Item    33:: Gloves
                149    9917    Item   33:: Gloves
                150    9918    Item    55:: Casing
                151    9919    Item    55:: Casing
                152    9920    Item    66:: Casing
                153    9921    Item    66:: Casing
                154    9922    Item    88:: Taser cartridge and probes
                155    9923    Item    88:: Taser cartridge and probes
                156    9924    Item    88:: Taser cartridge and probes
                157    9925    Item    88:: Taser cartridge and probes
                158    9926    Item    88:: Taser cartridge and probes
                159    9927    Item    99:: Bullet fragment
                160    9928    Item    99:: Bullet fragment
                161    9929    Item    99:: Bullet fragment
                162    9930    Item   10 10:: Blue jeans
                163    9931    Item   10 10:: Blue jeans
                164    9932    Item   10 10:: Blue jeans
                165    9933    Item   10 10:: Blue jeans
                166    9934    Item   10 10:: Blue jeans
                167    9935    Item   10 10:: Blue jeans
                168    9936    Item   10 10:: Blue jeans
                169    9937    Item   10 10:: Blue jeans
                170    9938    Item      10
                                         10:: Blue jeans
                1171
                  71   9939    Item   10 10:: Blue jeans
                172    9940    Item   10 10:: Blue jeans
                173    9941    Item   10 10:: Blue jeans
                174    9942    Item   10 10:: Blue jeans
                175    9943    Item   10 10:: Blue jeans
                1 76   9944    Item   11 11:: Bullet
                177    9945    Item   11 11:: Bullet
                178    9946    Item   11 11:: Bullet
                179    9947    Item   12 12:: Knife
                180    9948    Item   12 12:: Knife
                181    9949    Item   12 12:: Knife
                182    9950    Item   13 13:: Handcuffs
                183    9951    Item   13 13:: Handcuffs
                184    9952    Item   13 13:: Handcuffs
                185    9953    Item   14 14:: Underwear
                186    9954    Item     14
                                         14:: Underwear
                187    9955    Item   14 14:: Underwear




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[]                                          SALT LAKE              DEPARTMENT
                                                    GENERAL OFFENSE HARDCOPY
I             IGO# SL 2017-149617 CLOSED/COMPLETED                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
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                188     9956   Item   14
                                       14:: Unde r wear
                                            Underwear
                189     9957   Item   14
                                       14:: Underwear
                190     9958   Item   14
                                       14:: Underwear
                191     9959   Item   15 and Item 16  16::   Shoes
                192     9960   Item   15 and Item 16  16::   Shoes
                193     9961   Item   15 and Item 16  16::   Shoes
                194     9962   Item   15 and Item 16  16::   Shoes
                195     9963   Item   15 and Item 16  16::   Shoes
                196     9964   Item   15 and IItem
                                                 tem 16
                                                      16::   Shoes
                197     9965   Item   88:: Taser probe
                198     9966   Item   88:: Taser probe
                199     9967   Item   18
                                       18:: Eye glasses
                200     9968   Item   19
                                       19:: Knife
                201     9969   Item   19
                                       19:: Knife
                202     9970   Item   19
                                       19:: Knife
                203     9971   Item   19
                                       19:: Knife
                l)




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                                                         GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                              906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                          UNIFIED POLICE DEPT-GREATER SL
                                                                 GENERAL OFFENSE HARDCOPY
                                     GO# CO 2017-130290 OPEN/ACTIVE                            7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                               7399-99




                Related Text Page(s)
                        Document: INVSTGTR F/U
                        Author: NDI-STILLION,
                        Author:  NDl - STILLION, JARED
                        Subject: SCENE RESPONSE
                        Related date/time: Aug-22-2017 (Tue.) 1049
                                2017,
                On August 13, 201    7, at 2300 hours II received a call from Sgt. Duran requesting I respond to 1002
                                                                                                                 I 002 S State St. to
                assist with an offi cer involved critical incident investigation
                               officer                             investigation..

                II arri ved at the above location
                   arrived               locati on was tasked with interviewing invol     ved offi
                                                                                    involved       cers and one witness. I conducted
                                                                                               officers
                                      Officer
                and interview with Offi    cer Robinson in regards to thi
                                                                       thiss incident. I also conducted an interview with a witness
                identified as Steve Raider. See other foll    ow up reports fo
                                                          follow              forr details on the interview with Officer Robinson and
                Steve Raider.

                NFI.
                NFL




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                                              SALT LAKE    Filed 10/28/22 PageID.1339 Page 71 of 154
                                                                     DEPARTMENT
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                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                        UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                            7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                            7399-99




                Related Text Page(s)
                    Document: INVSTGTR F/U
                    Author: NDI-STILLION,
                             NDl - STILLION, JARED
                    Subject: OFFICER ROBINSON INTERVIEW
                    Related date/time: Aug-22-2017 (Tue.) 1130
                On August 14, 2017, II conducted an interview with Salt Lake City Police Officer Robinson in regards to the
                events that took place at II 002 S State St.

                Officer Robinson stated he and Officer Fox were at the SLCPD building when Officer Smith conducted a
                pedestrian stop located at 1002
                                           I 002 S State St. Officer Robinson stated he heard Officer Smith ask for a backup
                officer, at which Officer Fox and he left the building to assist Officer Smith.

                Officer Robinson stated it was approximately three minutes of travel time before they arrived at Officer Smith's
                location. Officer Robinson stated he arrived and noticed a male sitting on a bike. Officer Robinson stated he a
                spoke to Officer Smith on the passenger side of Officer Smith's patrol car, while Officer Fox started to speak with
                the male, identified as Patrick Harmon.

                Officer Robinson stated Officer Fox requested Harmon step off the bike, in which Harmon complied using the
                                    hiss bike standing. Officer Robin
                kick stand to leave hi                          Robinson
                                                                      son stated Officer Smith located a felony two warrant for
                Harmon's arrest and advised him they were going to take Harmon into custody.

                Officer Robinson stated thithiss is the approximate
                                                        approx imate time he turned his body camera on. Robinson stated he put on his
                patrol gloves to assist in the arrest. Officer Robinson stated Harmon pleaded not to go to jail. Officer Robinson
                stated he grabbed Harmon's backpack and placed it on the ground ground.. Officer Robinson stated he took control of
                Harmon's left hand and placed it behind Harmon's back as Officer Smith did the same thi       ng on Harmon's right
                                                                                                           thing
                hand.

                         Robinsonn stated Officer Smith took control of both hands and attempted to place handcuffs on Harmon.
                Officer Robinso
                 Officer Robinson stated Harmon took off running west towards the Palmer Apartment Gate.Gate. Officer Robinson
                stated he grabbed Harmon's clothing in an attempt to maintain control. Officer Robinson stated he heard Harmon
                state "T
                      "I stab" and something else but couldn't remember.

                Officer Robinson stated the incident was active when Harmon started running. Officer Robinson stated Harmon
                                                                                                                        Harmon
                turned quickly and stared back towards State St. Officer Robinson stated he heard Harmon say "I'll stab" again.
                 Officer Robinson stated Harmon appeared to have an object in hi
                                                                               hiss right hand. Officer Robinson stated the
                object appeared to be black but unsure if it was a knife.

                Officer Robinson stated he heard the "pop" of a Tazer and three shots from a firearm. Officer Robinson stated he
                is not sure which was fired first. Officer Robinson
                                                           Robinso n stated Officer Smith advised on the radio shots were fired and
                to start medical.




                !For: 23D
                 For: 230   Printed On: Nov-13-20i7 (Mon.)
                                    on: Nov-13-2017 (ion.)                                                             Fige48 of7i]
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For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                                                                Page 71 of 154
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                                                      GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                        UNIFIED POLICE DEPT-GREATER SL
                                                              GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                           7399-99
                                                                                           7399.99 PUB ORD-POLICE ASSISTANCE




                Officer Robinson stated he secured Harmon whom was still breathing and then started first aid. Officer Robinson
                stated Harmon was bleeding from hi   hiss arm
                                                          arm,, unknown        arm. Offi
                                                                un known which arm. Officer  Robinson
                                                                                         cer Robi nson stated they rolled Harmon to
                his left side to check for additional wounds.

                Officer Robinson stated at this point Officer Fortuna arrived and placed a tourniquet oonn Harmon to stop the
                bleeding. Officer Robinson stated he was transported to the SLCPD station.

                NFI




                !For: 230
                 For: 23D               Nov-13-20i7 (Mon.)
                                    on: Nov-13-2017
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                                                                       DEPARTMENT
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                                                        GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                         UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                    GO# CO 2017-130290 OPEN/ACTIVE                           7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                             7399-99




                Related Text Page(s)
                       Document: INVSTGTR F/U
                       Author: NDI-STILLION,
                       Author:  NDl - STILLION, JARED
                       Subject: RADIER INTERVIEW
                       Related date/time: Aug-22-2017 (Tue.) 1145
                On August 1414,, 201
                                 2017,
                                     7, II conducted and interview with Steve Raider in regards to the events that took pl        1002
                                                                                                                           ace at 1002
                                                                                                                        place
                S State St.

                Raider stated he was walking to the Chevron on State St. and observed the male, later identified as Patrick
                Hannon riding hi
                Harmon         hiss bike. Raider stated the gave them a strange look, but did not think anything of it.

                Raider stated he observed a police car turn around and stop to talk with Harmon.
                                                                                         Harmon. Raider stated he heard the
                Police Officer say on the PA system of the car "please remain on the side walk" two times. Raider stated the red
                             ghts were activated oonn the police car.
                and blue lilights

                                                                                forr approx
                Raider stated he entered the Chevron gas station and was inside fo          imately ten to fififteen
                                                                                     approximately             fteen minutes. Raider
                state once he exited the store he could smell gun smoke. II asked Raider if he heard any of the gun shots, he
                stated no.

                NFL
                NFI.




                !For:
                 For: 23D
                       23D    Printed On:
                                      on: Nov-13-2017
                                          Nov-13-20i7 (Mon.)
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    sI
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                                                                     DEPARTMENT
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                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                        UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                            7399.99 PUB ORD-POLICE ASSISTANCE
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                Related Text Page(s)
                    Document: INVSTGTR F/U
                    Author: 23D
                             23D-- BENCH, ZACHARY
                    Subject: OFFICER FOX INTERVIEW
                    Related date/time: Aug-22-2017 (Tue.) 1635
                On Friday, Augu
                            August st 18, 2017, Detective Brownlee and II responded to the law office of Rebecca Skordas who
                is representing Officer Fox. We showed Officer Fox and Rebecca a portion of his body camera footage from
                this incident. I did not leave a copy of the video nor did II show Officer Fox or Rebecca any other Officer's body
                camera from that evening.

                On August 22, 2017, II met with Officer Fox and Rebecca at the Sheriffs Office Building
                                                                                                    Building to obtain a statement
                from Officer Fox. The interview
                                       intervi ew was audio recorded
                                                            recorded.. Please refer to the transcript                    further.
                                                                                           transc ript and recording for furth er.

                Detective Brownlee and Investigator
                                       Investigator Kotrodimos were also present.

                NFD

                ZB 23D




                !For:
                 For: 23D   Printed On: Nov-13-20i7 (Mon.)
                                    on: Nov-13-2017 (ion.)                                                              age 51
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                                                                      DEPARTMENT
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                                                        GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                              906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                         UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                              7399-99
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                Related Text Page(s)
                    Document: INVSTGTR F/U
                    Author: 23D
                             23D-- BENCH, ZACHARY
                    Subject: OFFICER SMITH FOLLOW UP
                    Related date/time: Aug-30-2017 (Wed.) 923
                On Wednesday August 23, 20  2017,
                                               I 7, II met with Officer Smith to clarify a few things with him
                                                                                                           him.. Please refer to the
                recording and transcript for further.

                NFD

                ZB 230
                   23D




                !For:
                 For: 23D    Printed On: Nov-13-20i7 (Mon.)
                                     on: Nov-13-2017 (ion.)                                                               iges
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                                                                    DEPARTMENT
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                                                      GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                          906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                       UNIFIED POLICE DEPT-GREATER SL
                                                              GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                           7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                          7399-99




                Related Text Page(s)
                    Document: INVSTGTR F/U
                            23D-- BENCH, ZACHARY
                    Author: 23D
                   Subject: TANSFER OF EVIDENCE
                    Related date/time: Oct-11-2017 (Wed.) 1350
                On October 1111,, 20 17, I met with Detective Mount with Salt Lake City Police Department and transferred all
                                  2017,
                the evidence that was booked on this case to him. I retained possession of the backpack that belonged to Patrick
                which will be mailed     hiss sister, Antoinette Harmon.
                              mai led to hi

                NFD

                ZB 23D




                !For:
                 For: 23D           on: Nov-13-2017
                            Printed On: Nov-13-20i7 (Mon.)
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                                                                     DEPARTMENT
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                                                     GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                         906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                       UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                          7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                         7399-99




                Related Text Page(s)
                    Document: INVSTGTR F/U
                             23D-- BENCH, ZACHARY
                    Author: 23D
                    Subject: REPORT OF EXAMINATION
                    Related date/time: Oct-26-2017 (Thu.) 922
                                2017,
                On October 26, 20   17, I received a Report of Examination from the Office of the Medical Examiner with the
                following findings.

                Report of Examination

                Name: Harmon, Patrick                           Date/Time Found Dead:
                                                                Dateffime                  08/14/2017 - 00:03 Hours
                M.E. Case #R201701858                Date/Time of Exam:
                                                     Dateffime                        08/14/2017 - 07:30 Hours
                Age: 50                               Examination by:              Joseph P. Pestaner, M.D.
                Race: Black                                     Investigating
                                                                Investigating Agency:       Unified
                                                                                            U nifi ed Police
                Department
                Sex: Male                                             Witnesses:
                                                                 Exam Witnesses:               Detective Bench;
                                                                                               Detective Bench; Detective
                Sorenson


                Manner of Death: Homicide
                Immediate Cause of Death: Gunshot Wounds of Torso and Extremity


                Final Pathologic Diagnoses

                I.Gunshot wounds of torso and extremity
                rI.Cutaneous abrasions and contusions
                II.Cutaneous
                ITI.Hypertensive cardiovascular disease
                ill.Hypertensive                 di sease
                IV .Aortic atherosclerosis
                V. Toxicology results.
                             A. Caffeine: Positive (hosp  ital blood)
                                                    (hospital
                             B. Cotinine: Positive (hospital blood)
                             C. Delta-9 THC 0.89 ng/mL (hospital
                                                            (hospital blood)
                             D. Amphetamine: 37 ng/mL (hospital blood)
                             E. Methamphetamine: 270 ng/mL (hospital blood)


                Opinion: Patrick Harmon died as a result
                                                     resu lt of gunshot wounds of the torso (2) and extrem     (I) during an
                                                                                                           ity (1)
                                                                                                    extremity
                encounter with police. Gunshot wound #3 injured the femoral artery and vein, major blood vessels in the body,
                causing significant blood loss. The other two gunshot wounds inured soft tissue and contributed to death through
                bleeding. The manner of death is homicide.




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                                                      GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                             906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                       UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
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                                                                              7399.99 PUB ORD-POLICE ASSISTANCE




                Please see supplemental reports for further information.
                                                            information.

                NFD

                ZB 23D




                !For: 23D
                 For: 230           on: Nov-13-2017
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                                                    GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                              906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                7399-99
                                                                               7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                   fFollow
                                                                                     ollow Up Report # CO II-NOT
                                                                                                             - NOT COMPLETED




                Follow Up Report# CO 11-NOT
                                        - NOT COMPLETED
                  Assignment Information
                    Assigned
                    Ass                                   Rank: Forensics Analyst
                        igned to: HZ9 - ANDREWS, RYAN Rank:
                    Capacity: Crime Lab Org unit: FORENSICS INVEST UNIT
                    Assigned  on: Aug-16-2017 (Wed.) 1059 by:
                    Ass igned on:                         by: J94- PETTY-BROWN, CHRISTINE
                                on: Sep-15-2017
                    Report due on:  Sep-I5-20I7 (Fri.)




                !For:
                 For: 23D           on: Nov-13-2017
                            Printed On: Nov-13-20i7 (Mon.)
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                                                    GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                      7399-99
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                                                                                        fFollow
                                                                                          ollow Up Report # CO 22-NOT
                                                                                                                 - NOT COMPLETED




                Follow Up Report# CO 22-NOT
                                        - NOT COMPLETED
                  Assignment Information
                    Ass igned to: 23D - BENCH, ZACHARY Rank:
                    Assigned                                Rank: Detective
                    Capacity: Investigate/Case Manager Org unit:
                                                             unit: VIOLENT CRIMES
                    Ass igned on:
                    Assigned  on: Aug-18-2017 (Fri.) 1211 by:
                                                          by: 83K
                                                              83K-- DURAN, TIMOTHY
                    Report due on:
                                on: Nov-16-2017 (Thu.)




                !For:
                 For: 23D   Printed On: Nov-13-20i7 (Mon.)
                                    on: Nov-13-2017 (ion.)                                                            5ii]
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                                                                   DEPARTMENT
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                                                    GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                   906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                     7399-99
                                                                                    7399.99 PUB ORD-POLICE ASSISTANCE




                Related Property Report(s)
                  Report Information
                   Property Report #: 258445
                            Report#:
                    Property case status: SEIZED
                    Submitted on: Aug-14-2017 (Mon.) by:by: ANDREWS, RYAN
                    Authority for di sposal: BENCH, ZACHARY Org unit: VIOLENT CRIMES
                                  disposal:
                    Related:
                    Offense:
                    Offense: GO CO 2017- 130290
                            items:: 19
                    Related items
                  Articles - Evidence
                    Status: SEIZED                                 Tag #: CO258445- 2
                    Article:
                    Article: PBCKPCK- PERSONAL ACCESSORIES
                    Make:
                    Make:
                    Serial
                    Serial# # I:
                              1: UNKNOWN                           OAN:
                    Value: $0.00                                   Color: Black
                    Description: BACKPACK
                                 date:--
                    Recovered date:                                Recovered value: $0.00
                    Fl ags: de
                    Flags:    *e
                    Current Location:
                              Location: DISPOSED
                  Articles - Evidence
                    Status:
                    Statu s: SEIZED                                Tag#: CO258445- 3
                    Article: YTASER- OTHER ITEMS
                    Serial#
                    Serial    1: UNKNOWN
                            # 1:                                   OAN:
                    Value: $0.00                                   Color:
                                                                   Color:
                    Description: TASER DOOR
                    Description:
                    Recovered date: -                              Recovered value:
                                                                             value: $0.00
                    Flags: de *e
                    Current Location
                              Location:: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                                 Tag #: CO258445- 4
                                                                   Tag#:
                    Article:
                    Article: PGLOVE-
                              PG LOVE- PERSONAL ACCESSORIES
                    Make:
                    Make:
                    Serial
                    Serial# # I:
                              1: UNKNOWN                           OAN:
                    Value: $0.00                                   Color: Black
                    Description: GLOVES
                                 date: --
                    Recovered date:                                Recovered value: $0.00
                    Fl ags: de
                    Flags:    *e
                    Current Location:
                              Location: DISPOSED
                  Articles - Evidence
                    Status:
                    Statu s: SEIZED                                Tag #: CO258445- 5
                                                                   Tag#:
                    Article: YCASING- OTHER ITEMS
                    Serial#
                    Serial    1: UNKNOWN
                            # 1:                                   OAN:




                !For:
                 For: 23D           on: Nov-13-2017
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                                                    GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                   906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                     7399-99
                                                                                    7399.99 PUB ORD-POLICE ASSISTANCE




                    Value: $0.00                                   Color:
                    Description: CASING
                    Recovered date: -                              Recovered value: $0.00
                    Flags: de*e
                    Current Location: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                                 Tag #: CO258445- 6
                                                                   Tag#:
                    Article: YCASING- OTHER ITEMS
                    Serial
                    Serial## 1: UNKNOWN                            OAN:
                    Value: $0.00                                   Color:
                    Description: CASING
                    Recovered date: --                             Recovered value: $0.00
                    Flags: de*e
                    Current Location: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                                 Tag#: CO258445- 7
                    Article: YTASER- OTHER ITEMS
                    Serial
                    Serial## 1: UNKNOWN                            OAN:
                    Value: $0.00                                   Color:
                    Description: TASER DOOR
                    Recovered date: -                              Recovered value: $0.00
                    Flags: de*e
                    Current Location: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                                 Tag #: CO258445- 8
                                                                   Tag#:
                    Article: YTASER- OTHER ITEMS
                    Serial# 1:  C4103D5I4
                             1: C4103D514                          OAN:
                    Value: $0.00                                   Color:
                    Description: TASER CARTRIDGE
                    Recovered date  :-
                                date:-                             Recovered value:
                                                                             value: $0.00
                    Flags: de*e
                    Current Location: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                                 Tag #: CO258445- 9
                                                                   Tag#:
                    Article: YFRAGME- OTHER ITEMS
                    Serial
                    Serial## 1:
                             1: UNKNOWN                            OAN:
                    Value: $0.00                                   Color:
                    Description: BULLET FRAGMENT
                    Recovered date: -                              Recovered value:
                                                                             value: $0.00
                    Flags: de*e
                    Current Location: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                                 Tag #: CO258445- 10
                                                                   Tag#:            IO




                !For: 23D
                For: 23D    Printed On: Nov-13-20i7 (Mon.)
                                    on: Nov-13-2017 (ion.)                                                age 59
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                                                                    DEPARTMENT
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                                                     GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                      UNIFIED POLICE DEPT-GREATER SL
                                                              GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                     7399-99
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                     Article: YCLOTHE- OTHER ITEMS
                     Make:
                              I: UNKNOWN
                     Serial# 1:                                     OAN:
                     Value: $0.00                                   Color: Blue
                     Description: PANTS
                     Recovered date: --                             Recovered value: $0.00
                            de
                     Flags: d
                     Flags:   *e
                     Current Location: DISPOSED
                    Articles - Evidence
                     Status: SEIZED                                 Tag #: CO258445- 14
                                                                    Tag#:
                     Article: PUNDERW- PERSONAL ACCESSORIES
                     Make:
                     Serial
                     Serial#  I: UNKNOWN
                            # 1:                                    OAN:
                     Value: $0.00                                   Color: Red
                     Description: UNDERWEAR
                                 date:--
                     Recovered date:                                Recovered value: $0.00
                            de
                     Flags: d
                     Flags:   *e
                     Current Location: DISPOSED
                    Articles - Evidence
                     Status: SEIZED                                 Tag #: CO258445- 11
                                                                    Tag#:
                     Article: YBULLET- OTHER ITEMS
                     Serial#
                     Serial   I: UNKNOWN
                            # 1:                                    OAN:
                     Value: $0.00                                   Color:
                     Description: BULLET
                     Recovered date: --                             Recovered value: $0.00
                            de
                     Flags: d *e
                     Current Location: DISPOSED
                    Articles - Evidence
                     Status: SEIZED                           Tag #: CO258445- 12
                                                              Tag#:
                     Article: HKNIFE- HOUSEHOLD APPLIANCES & HOUSEWARES
                     Make:
                     Serial
                     Serial#  I: UNKNOWN
                            # 1:                              OAN:
                     Value: $0.00                             Color: Silver/Aluminum
                     Description: KNIFE
                     Recovered date: --                       Recovered value: $0.00
                            de
                     Flags: d *e
                     Current Location: DISPOSED
                    Articles - Evidence
                     Status: SEIZED                                 Tag #: CO258445- 13
                                                                    Tag#:
                     Article: PHANDCU- PERSONAL ACCESSORIES
                     Make:
                              I: UNKNOWN
                     Serial# 1:                                     OAN:
                     Value: $0.00                                   Color: Black
                     Description: HANDCUFFS




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                For:
                For: 23D             on: Nov-13-2017
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                                             SALT LAKE    Filed 10/28/22 PageID.1352 Page 84 of 154
                                                                    DEPARTMENT
[]
                                                     GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                      UNIFIED POLICE DEPT-GREATER SL
                                                              GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                     7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                     7399-99




                     Recovered date: --                             Recovered value: $0.00
                            de
                     Flags: d *e
                     Current Location: DISPOSED
                    Articles - Evidence
                     Status: SEIZED                                 Tag #: CO258445- 15
                                                                    Tag#:
                     Article: PSHOES- PERSONAL ACCESSORIES
                     Make:
                     Serial# 1: UNKNOWN                             OAN:
                     Value: $0.00                                   Color: White
                     Description: RIGHT SHOE
                     Recovered date: --                             Recovered value: $0.00
                            de
                     Flags: d *e
                     Current Location: DISPOSED
                    Articles - Evidence
                     Status: SEIZED                                 Tag#: CO258445- 16
                     Article: PSHOES- PERSONAL ACCESSORIES
                     Make:
                     Serial#
                     Serial # 1: UNKNOWN                            OAN:
                     Value: $0.00                                   Color: White
                     Description: LEFT
                     Recovered date: --                             Recovered value: $0.00
                            de
                     Flags: d *e
                     Current Location: DISPOSED
                    Articles - Evidence
                     Status: SEIZED                                 Tag #: CO258445- 17
                                                                    Tag#:
                     Article: YCIGAR- OTHER ITEMS
                     Serial# 1: UNKNOWN                             OAN:
                     Value: $0.00                                   Color:
                     Description: CIGARETTE
                     Recovered date  :-
                                 date:-                             Recovered value: $0.00
                            de
                     Flags: d *e
                     Current Location: DISPOSED
                    Articles - Evidence
                     Status: SEIZED                           Tag#: CO258445- 18
                     Article: VEYEGLA- VIEWING EQUIPMENT, BINOCULARS, ETC.
                     Serial#
                     Serial # 1: UNKNOWN                      OAN:
                     Value: $0.00                             Color:
                     Description: EYE GLASSES
                     Recovered date: --                       Recovered value: $0.00
                            de
                     Flags: d *e
                     Current Location: DISPOSED
                    Articles - Evidence
                     Status: SEIZED                                 Tag #: CO258445- 19
                                                                    Tag#:




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                For:
                For: 23D             on: Nov-13-2017
                             Printed On: Nov-13-20i7 (Mon.)
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                                                SALT LAKE    Filed 10/28/22 PageID.1353 Page 85 of 154
                                                                       DEPARTMENT
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                                                         GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                              906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                          UNIFIED POLICE DEPT-GREATER SL
                                                                 GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                              7399-99
                                                                                               7399.99 PUB ORD-POLICE ASSISTANCE




                     Article: HKNIFE- HOUSEHOLD APPLIANCES & HOUSEWARES
                     Make:
                     Make:
                     Serial#
                     Serial   I: UNKNOWN
                            # 1:                              OAN:
                     Value: $0.00                             Color: Black
                     Description: KNIFE
                                 date: --
                     Recovered date:                          Recovered value: $0.00
                            de
                     Flags: d *e
                     Current Location: DISPOSED
                    Bicycle - Evidence
                     Statu s: SEIZED
                     Status:
                          #: CO258445- 1
                     Tag #:                                                  T ype: Mountain
                                                                             Type:
                     Make: SPECIALIZED
                     Make:                                                   Model
                                                                             Model#:#: EXPEDITION
                             #: CB9B8337
                     Serial #:                                               OAN:
                     Value: $0.00                                            Color: Green
                                                                             Color:
                     Recovered date: --                                                 value:: $0.00
                                                                             Recovered value
                     Fl
                     Flags:  de
                        ags: d  *e
                               Location: DISPOSED
                     Current Location:
                     Flags
                     Flags== d (disposed) x (x-reference)
                                            (x-refere nce) n (entered on NCIC) *e (evidence)




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                For:
                For: 23D                 Nov-13-20i7 (Mon.)
                                     on: Nov-13-2017
                             Printed On:             (ion.)                                                          age@
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[]                                          SALT LAKE              DEPARTMENT
                                                    GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                 906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                   7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                  7399-99




                                 Attachment(s)-- Release to Outside agency
                Property Related Attachment(s)
                  Attachment Description: RELEASED TO SLCPD
                  Reference
                  Re         Number:
                     ference Number:


                                                                  EASE PROPERTY




                !For:
                 For: 23D               Nov-13-20i7 (Mon.)
                                    on: Nov-13-2017
                            Printed On:             (ion.)                                              age 63
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                                             SALT LAKE    Filed 10/28/22 PageID.1355 Page 87 of 154
                                                                    DEPARTMENT
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                                                     GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                      UNIFIED POLICE DEPT-GREATER SL
                                                              GENERAL OFFENSE HARDCOPY
                                  GO# CO 2017-130290 OPEN/ACTIVE                     7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                     7399-99




                Related Property Report(s)
                    Report Information
                     Property Report #: 258506
                              Report#:
                     Property case status: SEIZED
                     Submitted on: Aug-15-2017 (Tue.) by:
                                                        by: SORENSON, CHAD
                     Authority for di sposal: SORENSON, CHAD Org unit: VIOLENT CRIMES
                                   disposal:
                     Related:
                     Offense: GO CO 2017- 130290
                     Offense:
                     Related items
                             items:: 6
                    Articles - Evidence
                     Status: SEIZED                            Tag #: CO258506- 1
                                                                Tag#:
                     Article: YCLIPPI-
                     Article:  YCLIPPl- OTHER ITEMS
                     Serial
                     Serial#   1: UNKNOWN
                             # I:                              OAN:
                     Value: $0.00
                     Value:                                    Color:
                     Description: FINGERNAIL CLIPPINGS R&L HAND
                     Recovered date:
                                  date:--                       Recovered value: $0.00
                     Fl      de
                        ags: d
                     Flags:    *e
                               Location: DISPOSED
                     Current Location:
                    Articles - Evidence
                           s: SEIZED
                     Status:
                     Statu                                          Tag #: CO258506- 2
                                                                    Tag#:
                     Article: YDNAPRO- OTHER ITEMS
                     Serial#
                     Serial  # 1: UNKNOWN                           OAN::
                                                                    OAN
                     Value: $0.00                                   Color:
                                                                    Color:
                     Description: DNA SPOT CARD
                     Description:
                                  date:--
                     Recovered date:                                Recovered value: $0.00
                     Fl      de
                        ags: d
                     Flags:    *e
                               Location: DISPOSED
                     Current Location:
                    Articles - Evidence
                     Status: SEIZED                                 Tag #: CO258506- 3
                                                                    Tag#:
                     Article: PITEMS- PERSONAL ACCESSORIES
                     Article:
                     Make:
                     Make:
                     Serial
                     Serial#   1: UNKNOWN
                             # I:                                   OAN:
                     Value: $0.00
                     Value:                                         Color: White
                     Description: BEADS
                                  date:--
                     Recovered date:                                Recovered value: $0.00
                     Fl      de
                        ags: d
                     Flags:    *e
                               Location: DISPOSED
                     Current Location:
                    Articles - Evidence
                           s: SEIZED
                     Status:
                     Statu                                          Tag #: CO258506- 4
                                                                    Tag#:
                     Article: YFRAGME- OTHER ITEMS
                     Model: METAL FRAGMENTS
                     Model:                                         # of pieces:
                     Serial
                     Serial# # 1: UNKNOWN                           OAN:




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                For:
                For: 23D                 Nov-13-20i7 (Mon.)
                                     on: Nov-13-2017
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                                                                     DEPARTMENT
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                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                        UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                             7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                            7399-99




                    Value: $0.00                            Color:
                    Description: METAL FRAGMENTS FROM L FOREARM
                    Recovered date:
                                date:--                     Recovered value: $0.00
                    Flags: de*e
                    Current Location: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                                         Tag #: CO258506- S5
                                                                           Tag#:
                    Article: YCASING- OTHER ITEMS
                    Model: BULLET                                          # of pieces:
                    Serial
                    Serial## 1:
                             I: UNKNOWN                                    OAN:
                    Value: $0.00                                           Color:
                    Description: BULLET FROM PELVIS
                    Recovered date: --                                     Recovered value: $0.00
                    Flags: de*e
                    Current Location: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                             Tag #: CO258506- 6
                                                               Tag#:
                    Article: IFINGERPRI- ITEMS OF IDENTIFICATION (NON-PUBLIC SAFETY)
                    Model: FINGERPRINTS                        # of pieces:
                    Serial#
                    Serial # 1:
                             I: UNKNOWN                        OAN:
                    Value: $0.00                               Color:
                    Description: FINGERPRINTS
                    Recovered date: -                          Recovered value:
                                                                            value: $0.00
                    Flags: de *e
                    Current Location: DISPOSED
                    Flags= d (disposed) x (x-reference) n (entered on NCIC) *e (evidence)




                !For:
                 For: 23D
                     23D            on: Nov-13-2017
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                                                                   DEPARTMENT
[]
                                                    GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                 7399-99
                                                                                7399.99 PUB ORD-POLICE ASSISTANCE




                Related Property Report(s)
                  Report Information
                    Property Report
                               Report#:#: 258507
                    Property case status: SEIZED
                    Submitted on: Aug-14-2017 (Mon.) by:by: BENNER, BRENT A
                    Authority for di sposal: BENCH, ZACHARY Org unit: VIOLENT CRIMES
                                  disposal:
                    Related:
                    Offense:
                    Offense: GO CO 2017- 130290
                    Related items:
                            items: 10
                  Articles - Evidence
                    Status: SEIZED                            Tag #: CO258507- 2
                                                              Tag#:
                    Article:
                    Article: ECLIP- EQUIPMENT, MEASURING DEVICES, & TOOLS
                    Make:
                    Make: GLOCK
                    Serial
                    Serial# # I:
                              1: UNKNOWN                      OAN:
                    Value: $0.00                              Color:
                    Description: GLOCK MAG 14 CARTRIDGE IN MAG, 1 FROM CHAMBER SPEER 9MM
                    Recovered date:
                                 date:--                      Recovered value: $0.00
                    Fl ags: dde
                    Flags:    *e
                    Current Location:
                              Location: DISPOSED
                  Articles - Evidence
                    Statu s: SEIZED
                    Status:                                    Tag#: CO258507- 3
                    Article: ECLIP- EQUIPMENT, MEASURING DEVICES, & TOOLS
                    Make: GLOCK
                    Make:
                    Serial
                    Serial# # I1:: UNKNOWN                     OAN:
                    Value: $0.00                               Color:
                                                               Color:
                    Description: 2 SPARE GLOCK MAG 17 RNDS EACH SPEER 9MM
                    Recovered date:date:--                     Recovered value: $0.00
                    Flags: dde *e
                    Current Location:
                              Location: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                             Tag #: CO258507- 5
                                                               Tag#:
                    Article:
                    Article: ECLIP- EQUIPMENT, MEASURING DEVICES, & TOOLS
                    Make:
                    Make: GLOCK
                    Serial# I:1: UNKNOWN                       OAN:
                    Value: $0.00                               Color:
                                                               Color:
                    Description:
                    Description: GLOCK MAG 17 CART IN MAG, 1 CART FROM CHAMPER SPEER 9MM
                    Recovered date:
                                 date:--                       Recovered value:
                                                                         value: $0.00
                    Fl ags: dde
                    Flags:    *e
                    Current Location:
                              Location: DISPOSED
                  Articles - Evidence
                    Statu s: SEIZED
                    Status:                                  Tag #: CO258507- 6
                                                             Tag#:
                    Article: ECLIP- EQUIPMENT, MEASURING DEVICES, & TOOLS




                !For:
                 For: 23D   Printed On:
                                    on: Nov-13-2017
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                                               SALT LAKE    Filed 10/28/22 PageID.1358 Page 90 of 154
                                                                      DEPARTMENT
[]
                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                       906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                        UNIFIED POLICE DEPT-GREATER SL
                                                                GENERAL OFFENSE HARDCOPY
                                     GO# CO 2017-130290 OPEN/ACTIVE                     7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                        7399-99




                        Make: GLOCK
                        Serial#
                        Serial # 1: UNKNOWN                       OAN:
                        Value: $0.00                              Color:
                        Description: GLOCK MAG 2- SPARE MAG 17 CART IN EACH
                                    date:--
                        Recovered date:                           Recovered value: $0.00
                        Flags: de*e
                        Current Location: DISPOSED
                   Articles - Evidence
                        Status: SEIZED                                Tag#: CO258507- 8
                        Article: ECLIP- EQUIPMENT, MEASURING DEVICES, & TOOLS
                        Make: GLOCK
                        Serial# 1: UNKNOWN                            OAN:
                        Value: $0.00                                  Color:
                        Description: GLOCK 17 MAG, 17 CART IN MAG, 11 FROM CHAMBER 9MM SPEER
                                    date:--
                        Recovered date:                                         value:: $0.00
                                                                      Recovered value
                        Flags: de*e
                        Current Location: DISPOSED
                   Articles - Evidence
                        Status: SEIZED                             Tag#: CO258507- 9
                        Article: ECLIP- EQUIPMENT, MEASURING DEVICES, & TOOLS
                        Make: GLOCK
                        Serial# 1: UNKNOWN                         OAN:
                        Value: $0.00                               Color:
                        Description: GLOCK MAG 2 SPARES 17 CART EACH
                                    date:--
                        Recovered date:                            Recovered value: $0.00
                        Flags: de*e
                        Current Location: DISPOSED
                   Articles - Evidence
                        Status: SEIZED                                Tag#: CO258507-10
                                                                            CO258507- IO
                        Article: YTASER- OTHER ITEMS
                        Make: TASER
                        Serial#
                        Serial # 1: 11002X3X12000WE2
                                    11002X3Xl2000WE2                  OAN:
                        Value: $0.00                                  Color: Black
                        Description: TASER
                        Recovered date: --                            Recovered value: $0.00
                        Flags: de*e
                        Current Location: DISPOSED
                   Firearm - Evidence
                        Status: SEIZED
                        Tag#: CO258507-
                                CO258507-11
                        Make: Glock, Inc.
                        hem: Pistol
                        Item:                                         Type: Semi-Auto
                        Model: 17                                     Caliber: 9
                        sear,
                        Serial#: REDACTED




                !For: 23D
                 For:                      Nov-13-20i7 (Mon.)
                                       on: Nov-13-2017
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                                                                       DEPARTMENT
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                                                         GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                              906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                          UNIFIED POLICE DEPT-GREATER SL
                                                                 GENERAL OFFENSE HARDCOPY
                                   GO# CO 2017-130290 OPEN/ACTIVE                              7399-99
                                                                                               7399.99 PUB ORD-POLICE ASSISTANCE




                    OAN:
                    OAN:                                         Value: $0.00
                                                                 Value:
                    Description: GLOCK 17 W/ TACLIGHT
                    Description:               TACLlGHT TLR-lHL STREAMLIGHT
                                                                STREAMLlGHT
                                 date:--
                    Recovered date:                                        value: $0.00
                                                                 Recovered value:
                    Fl      de
                       ags: d
                    Flags:    *e
                              Location: DISPOSED
                    Current Location:
                  Firearm - Evidence
                    Status:
                    Statu s: SEIZED
                    Tag#: CO258507- 4
                    Tag#:
                    Make: Glock, Inc.
                    Make:
                    Item:
                    hem: Pistol                                              Type:
                                                                             Type: Semi-Auto
                    Model:
                    Model: 17                                                Caliber: 9
                    sear,
                    Serial  #: REDACTED
                    OAN:                                                      Value: $0.00
                    Description: GLOCK 17 W/ TAXLIGHT
                    Description:               TAXLlGHT TLR-1
                    Recovered date: --                                        Recovered value: $0.00
                    Fl      de
                       ags: d
                    Flags:     *e
                    Current Location:
                              Location: DISPOSED
                  Firearm - Evidence
                    Status: SEIZED
                    Tag#: CO258507- 7
                    Tag#:
                    Make: Glock, Inc.
                    hem: Pistol
                    Item:                                                    Type:
                                                                             Type: Semi-Auto
                    Model: 17
                    Model:                                                   Caliber: 9
                    sear,
                    Serial #: REDACTED
                    OAN:                                                      Value: $0.00
                                                                              Value:
                    Description: GLOCK 17 W/ TACLIGHT
                    Description:             TACLlGHT TLR-1
                    Recovered date:
                                 date: -                                      Recovered value: $0.00
                           de
                    Flags: d  *e
                    Current Location: DISPOSED
                     Flags
                     Flags== d (disposed) x (x-reference) n (entered on NClC)    (evidence)
                                                                        NCIC) *e (ev idence)




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                 For: 23D                Nov-13-20i7 (Mon.)
                                     on: Nov-13-2017
                             Printed On:             (ion.)                                                               @7i]
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                                                                   DEPARTMENT
[]
                                                    GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                      7399-99
                                                                                     7399.99 PUB ORD-POLICE ASSISTANCE




                Related Property Report(s)
                  Report Information
                   Property Report #: 258571
                            Report#:
                    Property case status: SEIZED
                    Submitted on: Aug-16-2017 (Wed.) by:by: BOWLES, HEATHER
                    Authority for di sposal: BENCH, ZACHARY Org unit: VIOLENT CRIMES
                                  disposal:
                    Related:
                    Offense:
                    Offense: GO CO 2017- 130290
                            items:: 5
                    Related items
                  Articles - Evidence
                    Status: SEIZED                            Tag  #: CO258571-1
                                                               Tag#:  CO258571- 1
                    Article:
                    Article: YCLOTHE- OTHER ITEMS
                    Make:
                    Make:
                    Model: TEK GEAR                           ##of
                                                                of pieces: 1
                    Serial# I:1: UNKNOWN                       OAN:
                    Value: $0.00                               Color:
                                                               Color: Black
                    Description: BLACK PIECE OF CLOTHIGN WI
                    Description:                         W/ YELLOW STRIPE
                                 date:--
                    Recovered date:                                       value: $0.00
                                                               Recovered value:
                                 location: HOSPITAL
                    Recovered location:
                    Fl      de
                       ags: d
                    Flags:    *e
                    Current Location:
                              Location: DISPOSED
                  Articles - Evidence
                    Statu s: SEIZED
                    Status:                                   Tag
                                                              Tag#:#: CO258571- 2
                    Article: YCLOTHE- OTHER ITEMS
                    Make:
                    Model: TEK GEAR                                pieces: 2
                                                                of pieces:
                                                              #of
                                                              #
                    Serial
                    Serial# # I1:: UNKNOWN                    OAN:
                    Value: $0.00                              Color: Black
                    Description: BLACK PIECE OF CLOTHING WI
                                                         W/ YELLOW STRIPE AND HOSP BAG
                    Recovered date:date:--                                value: $0.00
                                                              Recovered value:
                    Recovered location: HOSPITAL
                    Fl      de
                       ags: d
                    Flags:     *e
                              Location: DISPOSED
                    Current Location:
                  Articles - Evidence
                    Statu s: SEIZED
                    Status:                                        Tag #: CO258571- 3
                                                                   Tag#:
                    Article: PMASK- PERSONAL ACCESSORIES
                    Model:
                    Model: MASK                                    # of pieces: 11
                    Serial#
                    Serial    1: UNKNOWN
                           # 1:                                    OAN::
                                                                   OAN
                    Value: $0.00                                   Color:
                                                                   Color:
                    Description: MARDI GRAS MASK WI BEADS
                    Description:
                    Recovered date
                                 date:: -                          Recovered value:
                                                                             value: $0.00
                    Recovered location: HOSPITAL




                !For: 23D
                For: 23D            on: Nov-13-2017
                            Printed On: Nov-13-20i7 (Mon.)
                                                    (ion.)                                                 Page @7i]
                                                                                                           Fige 69 of 71 !




                                                                                                     SLCC 000139
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    sI
 Case 2:19-cv-00553-HCN-CMR                  Document 80-7 POLICE
                                              SALT LAKE    Filed 10/28/22 PageID.1361 Page 93 of 154
                                                                     DEPARTMENT
[]
                                                       GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                        UNIFIED POLICE DEPT-GREATER SL
                                                               GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                             7399.99 PUB ORD-POLICE ASSISTANCE
                                                                                            7399-99




                    Fl      de
                       ags: d
                    Flags:    *e
                    Current Location:
                              Location: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                                         Tag#: CO258571-
                                                                                 C0258571- 4
                    Article: PSOCKS- PERSONAL ACCESSORIES
                    Make:
                    Model:                                                 # of pieces: 2
                    Serial
                    Serial## 1:
                             I: UNKNOWN                                    OAN:
                    Value: $0.00                                           Color: Black
                    Description: BLACK SOCKS
                    Recovered date: --                                     Recovered value: $0.00
                    Recovered location:
                                location: HOSPITAL
                           de
                    Flags: d *e
                    Current Location:
                             Location: DISPOSED
                  Articles - Evidence
                    Status: SEIZED                                         Tag#: CO258571-
                                                                                 C0258571- 5
                    Article: OCONTAI- OFFICE EQUIPMENT
                    Model:
                    Model: CONTAINER                                       # of pieces: 1
                    Serial#
                    Serial # II:: UNKNOWN                                  OAN:
                    Value: $0.00                                           Color:
                    Description
                    Description:: PLASTIC CONTAINER W BEADS
                    Recovered date: -                                      Recovered value: $0.00
                    Recovered location: HOSPITAL
                           de
                    Flags: d  *e
                    Current Location: DISPOSED
                    Flags= d (disposed) x (x-reference) n (entered on NCIC) *e (evidence)




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                 For: 23D               Nov-13-20i7 (Mon.)
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                                                                   DEPARTMENT
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                                                    GENERAL OFFENSE HARDCOPY
I             GO# SL 2017-149617 CLOSED/COMPLETED                                 906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




                                                     UNIFIED POLICE DEPT-GREATER SL
                                                             GENERAL OFFENSE HARDCOPY
                                 GO# CO 2017-130290 OPEN/ACTIVE                   7399-99
                                                                                  7399.99 PUB ORD-POLICE ASSISTANCE




                                                        ***END
                                                            END OF HARDCOPY ***




                !For: 23D
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                                                        SALT LAKE    Filed 10/28/22 PageID.1363 Page 95 of 154
                                                                               DEPARTMENT
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                                                              GENERAL OFFENSE HARDCOPY
I                 GO# SL 2017-149617 CLOSED/COMPLETED                                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Attachment(s) - Miscellaneous
    Attachment Description: FBI LETTER
    Reference Number:




                            e-                                               U.S. Deparlment
                                                                                  Department of Juslicc
                                                                                                Justice



                            «:                                               Federal Bureau of Investigation




                         In Reply. Please Refer to
                         File No. 282A-SU-222   I206
                                  2824-SU-2221206

                                                                             December 8, 2017
                         RATHOD II MOHAMEDBHAI
                         270 I Lawrence Street, Suite 100
                         2701
                         Denver, Colorado 80205


                                                       RE: Patrick Hannon
                                                                   Harmon

                         Dear Mr. Mohamedbhai and Mr. Rathod
                                                      Rathod::

                                As discussed in our conversation today, we completed our review of the shooting death
                        of Patrick Hannon by Salt Lake City Police Officer Clinton Fox. We reviewed the entire
                        investigative file obtained from the Salt Lake County District Attorney's Office and also
                        obtained and reviewed the medical examiner's report which was not included in the provided
                        investigative file. We forwarded the material to the Department of Justice Civil Rights Section
                        (DOJ) for an additional review. Upon consultation with DOJ, we mutually detennined
                                                                                                      determined the
                        evidence did not establish a prosecutable violation of the federal criminal civil rights statutes.
                        Accordingly, we will not conduct further investigation and will close our review.

                               In closing, we regret this news will add to the trials of the Hannon
                                                                                             Harmon family as they
                        continue to process this tragedy and offer our condolences.



                                                                                     Sincerely,


                                                                                     Eric Barnhart
                                                                                     Special Agent in Charge




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                                                                                    Assistant
                                                                                    Ass        Specix -
                                                                                        istant Spcci           f~nt in Charge
                                                                                                               cnl




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                                          GENERAL OFFENSE HARDCOPY
              GO# SL 2017-149617 CLOSED/COMPLETED                   906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Attachment(s) - Miscellaneous
 Attachment Description: SLCPD IA LETTER
 Reference Number:




                       *** The attached file cannot be included in this hardcopy. ***




                                                                                  SLCC 000143
For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                Page 96 of 154
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                                                    DEPARTMENT
                                              GENERAL OFFENSE HARDCOPY
                GO# SL 2017-149617 CLOSED/COMPLETED                  906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Person(s)
 1. Victim # 1 - HARMON, PATRICK
 (Case Specific Information)
   Sex: MALE



               -
   Race: African American/Black
   Date of birth: REDACTED
             Municipality: SALT LAKE CITY , Utah
 Master Name Index Reference
   Name: HARMON, PATRICK
   Sex: MALE



               -
   Race: African American/Black
   Date of birth: REDACTED
   Ethnicity: Unknown
   Address: 7800 S 3375 W Apartment: 127
             Municipality: SALT LAKE CITY , Utah 84088
   Phone numbers
   Home: (801) 680-6360
   Home: (801) 842-7273
   Cellular: (801) 842-1773
   Business: (801) 973-2510
   Cellular: (385) 313-7817
 Alias(es)/AKA
   Name:                                 Address:                                     Sex:   DOB:
   FISHER, PATRICK                                                                    M      Oct-15-1966
   HALMON, PATRICK                                                                    M      Oct-15-1966
   CROWDER, CAREY                        3815 S 300 E, F 1 SALT LAKE CI               M      Oct-15-1966
 Linkage factors
   Resident status : Non-Resident
   Age range : 50-64 Years
   Aggravated assault/homicide : Unknown Circumstances
   Victim of :
   906- 1 HOMI-PUB OFF-ID WEAP/OFFIC INV - COMPLETED

   Victim's Relationship to Offender : *** PRIVATE INFORMATION ***
   Person's role : Off/Suspect #1
   Person's name : *** PRIVATE INFORMATION ***
 Use of Force Details
   Date occured: Aug-13-2017 (Sun.)
   Location: 1002 S STATE ST
   Nature of contact: Pedestrian Check
   Reason: To Defend Another

                                                                                SLCC 000144
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                                                    DEPARTMENT
                                            GENERAL OFFENSE HARDCOPY
                GO# SL 2017-149617 CLOSED/COMPLETED                  906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




   Subjects present: 1
   Subject's conduct:
             Non-Compliant
   Subject's resistance:
             Active Aggression, Unlawful Flight from Presence, Refusal to Submit to Officer's Command
   Level of force or control used:
             Physical Control, Lethal Force
   Police weapons used:
             Handgun, Physical/Personal Force
   # shots fired: 3
 Effects of force used:
   On subject:
             Death
   On police:
             No Injuries
   Remarks:
 Officers involved
   Reporting officer: I57 - Mitchell, Todd C
   Date reported: Mar-09-2018 (Fri.)
 Supervisor Information
   Supervisor notified: I57 - Mitchell, Todd C
   Date Notified: Aug-13-2017 (Sun.)
   Responded: YES

 2. Off/Suspect # 1 - FOX, Q25 SLCPD
 (Case Specific Information)
   Sex: MALE
   Race: Caucasian/White
   Address: 475 S 300 E
            Municipality: SALT LAKE CITY , Utah 84111-
   Phone Numbers
      Business: (801) 799-3000
 Master Name Index Reference
   Name: FOX, Q25 SLCPD
   Sex: MALE



               -
   Race: Caucasian/White
                 REDACTED
   Date of birth: REDACTED
   Ethnicity: Not of Hispanic Origin
   Address: 475 S 300 E
             Municipality: SALT LAKE CITY , Utah 84111-
   Phone numbers
   Home: REDACTED
   Home: (801) 799-3000
   Business: (801) 799-3000


                                                                                   SLCC 000145
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 Case 2:19-cv-00553-HCN-CMR Document 80-7 POLICE
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                                                    DEPARTMENT
                                            GENERAL OFFENSE HARDCOPY
                 GO# SL 2017-149617 CLOSED/COMPLETED       906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




 Linkage factors
   Resident status : Resident
   Age range : Unknown

 3. Witness # 1 - MITCHELL, LAURIE
 (Case Specific Information)
   Sex: FEMALE



                -
   Race: Caucasian/White
   Date of birth: REDACTED




 Particulars
   Ethnicity: Unknown
   Language(s) spoken: English
 Master Name Index Reference
   Name: MITCHELL, LAURIE
   Sex: FEMALE



                -
   Race: Caucasian/White
   Date of birth: REDACTED
   Ethnicity: Unknown
   Address:         REDACTED



 Linkage factors
   Resident status : Non-Resident
   Age range : 30-49 Years
   Access to firearm : NO

 4. Witness # 2 - HEATON, JEFFREY ALAN
 (Case Specific Information)
   Sex: MALE



                -
   Race: Caucasian/White
   Date of birth: REDACTED




                                                                      SLCC 000146
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                                GENERAL OFFENSE HARDCOPY
                GO# SL 2017-149617 CLOSED/COMPLETED     906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




 Particulars
   Ethnicity: Unknown
   Language(s) spoken: English
   Height: 5'11 Weight: 210 lbs.
   Eye color: Hazel
   Hair color: Gray or Partially Gray/Salt and Pepper
 Master Name Index Reference
   Name: HEATON, JEFFREY ALAN
   Sex: MALE



                -
   Race: Caucasian/White
   Date of birth: REDACTED
   Ethnicity: Unknown
   Address:       REDACTED




 Linkage factors
   Resident status : Non-Resident
   Age range : 50-64 Years
   Access to firearm : NO

 5. Witness # 3 - WRIGHT, ASHLEY LYNN
 (Case Specific Information)
   Sex: FEMALE
   Race: Caucasian/White
   Date of birth: REDACTED




 Particulars
   Ethnicity: Not of Hispanic Origin
   Language(s) spoken: English
   Height: 5'06 Weight: 125 lbs.
   Eye color: Brown
   Hair color: Blond/Strawberry
 Master Name Index Reference
   Name: WRIGHT, ASHLEY LYNN


                                                                   SLCC 000147
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   Sex: FEMALE
   Race: Caucasian/White
   Date of birth: REDACTED




 Linkage factors
   Resident status : Non-Resident
   Age range : 30-49 Years
   Access to firearm : NO

 6. Witness # 4 - RADER, STEVEN JOHN
 (Case Specific Information)
   Sex: MALE



                -
   Race: Caucasian/White
   Date of birth: REDACTED




 Particulars
   Place of birth: Utah
   Occupation: WAREHOUSE
   Employer:                      REDACTED
   Ethnicity: Not of Hispanic Origin
   Language(s) spoken: English
   Height: 5'10 Weight: 165 lbs.
   Build: Medium Complexion: Light Brown
   Eye color: Brown Lens type: None
   Hair color: Brown
   Hair style: Medium
   Additional remarks: OVER FLOW INTOWN SUITS ON 3300
 Master Name Index Reference
   Name: RADER, STEVEN JOHN
   Sex: MALE



                -
   Race: Caucasian/White
   Date of birth: REDACTED




                                                                   SLCC 000148
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           Municipality:            REDACTED
   Phone numbers
       REDACTED




 Linkage factors
   Resident status : Resident
   Age range : 50-64 Years
   Access to firearm : NO

 7. Next of Kin # 1 - SMITH, TASHA
 (Case Specific Information)
   Sex: FEMALE
   Race: African American/Black
   Phone Numbers
        Cellular: REDACTED
 Master Name Index Reference
   Name: SMITH, TASHA
   Sex: FEMALE
   Race: African American/Black
   Phone numbers
   Cellular: REDACTED
 Linkage factors
   Age range : Unknown

 8. Next of Kin # 2 - HARMON, ANTIONETTE
 (Case Specific Information)
   Sex: FEMALE
   Race: African American/Black
                     REDACTED
    REDACTED


 Master Name Index Reference
   Name: HARMON, ANTIONETTE
   Sex: FEMALE
   Race: African American/Black
   Address:    REDACTED

   Phone numbers


                                                                  SLCC 000149
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   REDACTED




 Linkage factors
   Resident status : Non-Resident
   Age range : Unknown




                                                                 SLCC 000150
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Related Text Page(s)
    Document: INITIAL R/O
    Author: K27 - Mount, Harry
    Subject: OICI
    Related date/time: Aug-17-2017 (Thu.) 911
This report documents events involving a SLCPD Officer Involved Critical Incident which occurred at 1002 S
State Street on 081317 at 2217 hrs; see supplemental reports for all details. -NFD-




                                                                                 SLCC 000151
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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: O70 - Stone, Jesse
   Related date/time: Aug-13-2017 (Sun.)
I responded on to the 9-1 being called.

Upon my arrival I initially stay with Ofcr Fox and Ofcr Smith to ensure
their safety. Once I was relieved by SGT Peterson I began searching for
witness but was unsuccessful. Lastly, I secured the inner perimeter as
instructed by LT Siebeneck and signed the major incident log.

This ends my involvement in the case.

No axon footage

NFD




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: O89 - Scott, Brendyn
   Related date/time: Aug-13-2017 (Sun.)
On 08/13/2017 at approximately 22:20 hours, I had finished my shift as a
bike officer and was traveling home. I was listening to my radio when I
heard on over the air that there was "shots fired" and officers asked for
help in the area of 1000 S. State St. This was in close proximity to me so
I responded code (lights and sirens) to this approximate area.

I arrived on scene and assisted with medical care of the suspect. I
assisted with placing the suspect in recovery position. I stayed with the
suspect until medical personnel arrived and took custody of the suspect.

Once medical personnel arrived and took custody of care, they requested
that handcuffs be removed from the suspect so that they could provide
further care to him. I removed the handcuffs from the suspect and placed
them on the ground near where the suspect was lying.

I then assisted in locating evidence and marking it for documentation.

Due to being at the end of my shift, I was on my way home and had already
docked my axon body camera and therefore did not have my camera on.

NFD




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Related Text Page(s)
    Document: SGT NARRATIVE
    Author: I57 - Mitchell, Todd C
    Subject: NOTIFICATION/ CALL OUT
    Related date/time: Aug-13-2017 (Sun.) 2240
At 2240 hours I received a call from Lt. Taylor West who informed me of this officer involved shooting.
At 2243 hours I called Lt. Rich Bell (West Jordan PD) who is the OICI Protocol Coordinator. Lt. Bell stated the
UPD lead OICI Team was next up and that he would notify them and Jeff Hall (District Attorney's Office)
I then notified Det. Pat Mount and Det. Jeff North of this situation and had them respond.
At 2300 hours I spoke with Jeff Hall on the phone who stated Chris Kotrodimos would be responding to
represent their office.
At 2301 hours I spoke with Tim Duran (UPD Team Leader). Tim stated they would conduct the case interviews
at the SLCPD PSB.
I then responded to the scene and met with Lt. West. When Jeff North arrived at the scene I assigned him as the
Scene Liaison. I then responded to the PSB.
Once at the PSB I located the 3 involved officers. The Involved Officers were on the 1st floor- Officer Fox was
in Captains Vandongen's Office speaking with his attorney on the phone. Sgt. Sweeny had been assigned as Fox's
Escorting Officer and continued to remain with him. I moved Fox and Sweeny to the 4th floor Administrative
Conference Room where they remained until Protocol detectives arrived. Officer Fox needed to use the restroom
and requested he be allowed to wash the subjects blood off of his hands. I took pictures of his hands with my
phone and then stated he could wash his hands. At 0313 hours (08/17/2017) I texted the photos to Det. Jared
Peatross (Protocol Team investigator) and deleted them from my phone.
Officers Robinson and Smith were in the Liberty Conference room on the first floor when I arrived. Sgt. Russ
Peterson was their Escorting Officer. I had the three of them move to the 2nd floor Detective Conference room
where they remained until Protocol detectives arrived.
I assigned Detective Pat Mount as the Facility and Case Liaison.




                                                                                  SLCC 000154
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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: Q49 - Kewish, James
   Related date/time: Aug-13-2017 (Sun.) 2331
This supplemental report is being written to provide additional information
regarding case #17-149617.

On 8/13/17 at approximately 2230 hours I responded to the area of 1050 S.
State St. reference an officer-involved shooting. I secured crime scene
tape from the east end of State Street near the intersection with Williams
Avenue, across State Street to the west side of the street blocking all
northbound traffic and in order to establish the southern end of the crime
scene.

I was directed by Sgt. Sweeny to escort medical personnel into the scene.
Salt Lake City Fire and Gold Cross personnel arrived from the north end of
the scene on State Street. Fire personnel took over medical aid of the
subject that had been shot. Officers had started to render medical aid to
the subject and had placed a tourniquet on the subject's left leg. Salt
Lake City Fire and Gold Cross personnel were briefed of the injuries to the
subject by officers on scene. At 2235 medical personnel placed the subject
onto a backboard and then on to a stretcher in order to transport him to
the hospital. Officer Carlson accompanied medical personnel to the hospital
and will have additional information in his supplemental report.

I retrieved marker cones from my vehicle and placed them over several
evidentiary items at the scene to include a used taser cartridge, two
cartridge casings, a bullet fragment, and blood droplets on the sidewalk.
These items were preliminarily identified by officers on scene just after
the initial response and by no means represent all of the evidence on scene.

After helping to locate and mark evidence I was directed by Sgt. Sweeny to
escort Officer Scott Robinson to the PSB. I drove Ofc. Robinson to the PSB
and sat with him until I was advised by Sgt. Sweeny that Sgt. Peterson
would be able to stay with Ofc. Robinson and Ofc. Kris Smith. This ended my
involvement in this incident. Axon mobile recording is available for my
initial arrival up until medical personnel cleared the scene. NFI




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: O69 - Tadehara, Jared
   Subject: PERIMETER
   Related date/time: Aug-13-2017 (Sun.) 2335
Summary: While at the Public Safety Building located at 475 S 300 E
working on reports I heard Officers call priority traffic of shots fired in
the area of 1002 S State Street.

I initiated my overhead lights and siren and proceeded to the call code
3. I arrived in the area and proceeded to block Southbound lanes at 900 S
State Street.

After the Southbound lanes had been blocked I began searching the area
for witnesses. I located 3 witnesses in the parking lot of Auto Zone
located at 939 S State Street.



                            -
Witness Ashley Wright REDACTED : Ashley stated that she was in the parking
lot of the Auto Zone when she heard a voice over an loudspeaker system.
Ashley stated she had observed two Police vehicles parked down the street.
Ashley stated she believed the Officers were speaking to someone over the
loudspeaker about safety. Ashley stated after an unknown amount of time had
past she heard a loud series of pops. Ashley believed she heard three
shots. Ashley filled out a witness form on scene.



                             -
Witness Jeffrey Heaton REDACTED : Jeffrey stated he was assisting another
person with a Toyota in the parking lot of Auto Zone when he observed a
Police vehicle pull to the side of the road approximately a half block down
from the Auto Zone. Jeffrey stated he heard a voice over the intercom and
initially thought it was coming from the Honda dealership located across
the street. Jeffrey went on to say that he believed the intercom was coming
from the Police vehicles. Jeffrey stated he heard four to five shots fired.
Jeffrey filled out a witness form on scene.



                               -
Witness Laurie Mitchell REDACTED : Laurie stated she was standing in the
parking lot of Auto Zone just after 10 p.m. working on her Toyota when she
heard three shots from down the street. Laurie stated she had heard a voice
over the loudspeaker prior to the gunshots and assumed it was coming from
the Honda dealership. Laurie filled out a witness form on scene.

Axon Flex recording

Tadehara J O69 NFD

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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: Q19 - Collins, Josephine
   Subject: SUPPLEMENTAL ASSISTANCE
   Related date/time: Aug-13-2017 (Sun.) 2342
On 08/13/17 at 2244 hrs I responded to 900 S State St to assist other
officers with maintaining the outer perimeter. I stayed outside the
perimeter until I entered to put tape up at Belmont and State St. I then
exited the outer perimeter, and left the scene to handle other calls. I
signed in the major incident log. My AXON Body Camera was not recording
during my time on this call because I took no action nor had any
interactions. No further details at this time.

Officer Drott




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: K71 - Peterson, Russell
   Subject: FIELD SUPP
   Related date/time: Aug-14-2017 (Mon.)

I responded to the scene at 1050 S State St. When I arrived I stayed with
the three officers involved. I transported Officer Smith to the police
station and stayed with him and officer Robinson until they were released.




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: N48 - Carlson, Daniel
   Related date/time: Aug-14-2017 (Mon.)
I was an assisting officer on this call. My responsibilities were to stay
with the medical crew and then follow to the Hospital if needed. Department
issued camera was on while on scene.

I arrived on scene and asked Sgt. Sweeny what he needed me to assist with.
I was assigned to stay with the medical crew. Salt Lake City Fire
Department Engine 8 and Gold Cross ambulance 593 arrived on scene for
patient care.

At 2235 Medical had the handcuffs removed so they could treat and move the
individual to the backboard for transport. When they moved the patient was
moved onto the board I noticed a spent round on the ground. I pointed this
out to an officer on scene due to the fact that I would be leaving.

I followed the ambulance to the hospital and stayed with the patient until
I was relieved by Det. Sorensen from Unified Police Department.

The patient was in the Emergency Room for awhile and then moved to the
Operating Room and it is there he was pronounced dead at 0003 hours.

NFD N48




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: O82 - Fortuna, Kevin
   Related date/time: Aug-14-2017 (Mon.) 100
I was patrolling in the area of 1700 S 400 E when I heard Officer Kris
Smith call out shots fired. I had heard him call out previously on a
pedestrian stop at 1050 S State St. I activated my emergency lights and
sirens and drove in that direction.

Upon arrival on scene at approximately 2229 hrs I observed Officer Kris
Smith, Officer Scott Robinson, Officer Clint Fox and Sgt. Alma Sweeny
already on scene. They were standing over a black male that was
handcuffed. He had his pants partially pulled down and I could see he was
bleeding from his upper thigh.

I heard Sgt. Sweeny ask who shot and Officer Fox stated he was the one
that shot. Sgt. Sweeny directed me to take his place at that point and
pulled Officer Fox from the scene.

Due to the bleeding on the upper thigh of the black male I removed my
tourniquet from my pocket and began to apply it. I put the tourniquet as
far up on the thigh as I could. I removed the subjects shoes, pants and
underwear from his person by pulling them off of him. I placed them next
to where he was laying. The subject was then placed in the recovery
position until medical arrived.

Once medical arrived on scene I provided them with the details that I had
applied a tourniquet. I also notified them of the wounds I had observed.
There appeared to be an entrance wound on his upper right thigh, an exit
wound out of his left buttocks and also one more wound to his right arm.

Once the subject was transported I assisted in locating evidence on
scene. I remain on scene as scene security until detectives arrived. I
was interviewed on scene on what I had observed and cleared the scene at
approximately 0050 hrs.

Axon Camera
NFD
O82




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: Q52 - Kelley, Justin
   Subject: SUPPLEMENT
   Related date/time: Aug-14-2017 (Mon.) 200
NARRATIVE:

At 2228 hours on 8-14-17 Officer Sadler and I were working as a two man
car, when we heard the call for shots fired come over the radio. We were
close and after the call came out I recall hearing loud pops like gun shots
or fireworks.

We responded to the scene and began assisting in securing the scene. I
located several drops of blood on the side walk, which were marked off, so
they could be processed. While checking for evidence, I located a slug near
the feet of the male involved. I stayed on scene until I was cleared to
handle patrol calls. My Axon was in use. Nothing further.


End report


J Kelley Q52




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Related Text Page(s)
    Document: INVSTGTR F/U
    Author: K27 - Mount, Harry
    Subject: CASE ACTIONS
    Related date/time: Aug-14-2017 (Mon.) 330
On 081317, at 2245 hrs, I was notified by Sgt Mitchell of an Officer Involved Critical Incident which occurred
at approx 1002 S State St. Sgt Mitchell informed me there were three involved SLCPD officers, one civilian
witness, and the Unified Police Department's protocol team would be investigating the incident. Sgt Mitchell
assigned me to be the Liaison between SLCPD and UPD at the Public Safety Building. I arrived and Officers
Kris Smith/O96 and Scott Robinson/Q11, accompanied by their escort Sgt Russ Peterson/K71, were in the 2nd
floor detectives conference room. Officer Clint Fox/Q25, accompanied by his escort Sgt Alma Sweeney, were in
the 4th floor conference room. Witness Steve Rader was in the 2nd floor interview room #2.

I downloaded all the officers downloads, officer interviews, witness interview, and Axon camera videos in
preparation to give to UPD's case agent Det Zach Bench.

On 081317, at 1230 hrs, Det Bench came to the PSB and I gave him copies of the officers downloads, officer
interviews, witness interview, and Axon camera videos.

On 081417, at approx 1330 hrs, I went to UPD headquarters and met with Det Bench. I gave him copies of
Officer Mack's Axon camera video, Officer Fortuna's Axon camera video, and a copy of this report.

Det Bench returned Officer Robinson's Glock 17 (#ZCH809) and three magazines with ammo to me. Det Bench
returned Officer Smith's Glock 17 (#XFW971), three magazine with ammo, and Taser (#11002X3X1200WE2) to
me.

On 081717, at 1100 hrs, I released Officer Robinson's Glock 17 (#ZCH809) and three magazines with ammo and
Officer Smith's Glock 17 (#XFW971), three magazine with ammo, and Taser (#11002X3X1200WE2) to Capt
Vandongen. -NFD-




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: Q34 - Fano, Jarom
   Subject: FIELD SUPP
   Related date/time: Aug-14-2017 (Mon.) 410
On 8/13/17, I responded to the area of 1050 S State St after I heard
officer K. Smith (O96) call out over the radio that shots were fired and he
needed immediate assistance. I drove my vehicle to the scene with lights
and sirens.

There were multiple officers on scene and I heard a supervisor say he
needed more officers to block northbound traffic on State St. I did drive
my vehicle and blocked northbound traffic on State St and Herbert Ave,
directing all traffic to head east. I remained there until I was relieved
by supervisor.

Nothing further.




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: Q74 - Mack, Andrew
   Related date/time: Aug-14-2017 (Mon.) 421
I responded to a shots fired called at the given address. I assisted in
looking for bullet casings. I helped to mark blood evidence.

BWC Active

NFD




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: O79 - Iversen, Neil
   Subject: ACTIONS ON SCENE
   Related date/time: Aug-14-2017 (Mon.) 421
I responded to the area and assisted with closing down the northbound
traffic lanes on State Street, redirecting traffic eastbound onto Herbert
Avenue.

I then moved to the west side of State Street and closed the intersection
to traffic at State Street and Herbert Avenue. I also ran crime scene tape
from the outer perimeter and blocked off the driveway to Mixed Emotions
Bar.

I did not enter the outer or inner perimeter.

Axon Flex
NFD




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: Q46 - Borders, Ian
   Related date/time: Aug-14-2017 (Mon.) 431
On August 13, 2017 I responded to the area of 1002 S State for an officer
involved shooting.

While on another call in the avenues, an officer called out "shots fired"
over the radio. I immediately cleared the call I was on and responded. When
I arrived, I assisted in shutting down south bound traffic on State Street.
I was then asked to respond to the scene and assist in the transportation
of a witness to the Public Safety Building (PSB).

I picked Steve Raider (12/18/1955) up at the back entrance to Palmer Court.
I transported him to the PSB where he met with investigators. Once Steve
was done giving his statement, I transported him back to Palmer Court.

Axon Video available

NFD




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Related Text Page(s)
   Document: SGT NARRATIVE
   Author: M68 - Sweeney, Alma
   Subject: SUPERVISOR ACTIONS
   Related date/time: Aug-14-2017 (Mon.) 503
----During this call my Axon camera became unplugged and nothing was
recorded.------

I was in the area of 300 W 900 S when I heard Officer Smith state over the
radio that shots had been fired during their stop. With my emergency
equipment activated I responded to the scene at 1050 S State. I was the
first officer to arrive, in addition to those initially on scene. As I
arrived I called for traffic to be shut down for both north and southbound
traffic on State Street. I then approached the immediate scene where I
observed a MBA bleeding from his right leg, with what appeared to be a
gunshot wound. The male appeared to be in and out of consciousness and
appeared to be loosing a large amount of blood. I retrieved my tourniquet
from my pocket and went to apply it around the subjects leg. At this time
Officer Fortuna arrived on scene and stated he had gloves on and could
apply the tourniquet, and I handed the tourniquet to Officer Fortuna. I
then went and felt for a pulse on the subject. I could feel a slow/weak
pulse, and I felt that applying the tourniquet and getting medical on scene
was the best care we could currently provide. Once the tourniquet was
placed I assisted officers place the subject in the "recovery position". A
short time later medical arrived.

After moving the subject I observed a folding style knife lying in the
grass. At first it was believed this was Officer Fox's knife, however it
was later determined to be the subjects. I directed officers on scene to
leave the knife in place, and ensure it was not moved.

A short time later medical arrived. I specifically directed Officers
Carlson and Kewish to be with medical personnel and observe their actions
and document them in their reports. I informed medical personnel that
Officers Carlson and Kewish would be with them and essentially shadow them
throughout this call. I then directed Officer Carlson to travel with the
subject to the hospital if he was to be transported.

At this point I directed officers to begin canvassing the area for
witnesses. A major incident log was established and the scene was secure
at this point.

I then spoke briefly with Officer Fox. I asked him how many rounds were

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fired, and he responded 3. I asked if any subjects were outstanding and he
replied there weren't any outstanding subjects. I then asked if there were
any rounds that might have over-penetrated and effected the public, and
that we would need to check, and he stated he didn't believe so. I did not
ask Officer Fox anymore questions related to the shooting.

I then coordinated with other supervisors on scene that Officers Fox, Smith
and Robinson would need to be transported to PSB. I stated I would take
Officer Fox, and I would stay with him until he was released by detectives.

I transported Officer Fox to PSB. I asked Officer Fox if he would like to
notify any family members of this incident. He stated he would, and once
we arrived at PSB I told him I would let him notify those he wanted while
he remained in my vehicle. I exited so that he could have a private
conversation, however I could still clearly see him and maintain a visual
on him.

I contacted the union president Steve Hartney and informed him there had
been an OIS, and that I would like to put Officer Fox in contact with the
union lawyer. I escorted Officer Fox to Captain Vandongen's office, as I
did not have access to the 4th floor conference room. Once at the office
Officer Fox contacted his lawyer. While speaking over the phone I exited
the room so that he could have a private conversation. Once the
conversation was completed I again entered the room so that I could
maintain visual of Officer Fox, and his weapon. During the entire time I
was with Officer Fox he maintained his issued firearm holstered, as well as
his magazines. I did not observed Officer Fox manipulate or alter any of
his equipment. While waiting for detectives to respond Officer Fox did
remove his vest and belt. I felt this was appropriate as I could still
maintain visual over that equipment and I did not feel it effected any
evidentiary value.

I remained with Officer Fox while detectives arrived and processed him and
his equipment. Once he was cleared by detectives I drove him to his
residence.

I then responded back to the scene with Officer's Smith and Robinson, so
that they could obtain their vehicles once the scene was cleared. I then
coordinated getting efforts to get Officer Fox his vehicle, which was
delivered to him by Officer Robinson.

At this point I ensured that traffic had been completely shut down on State
Street. I assigned specific officers to block off the traffic with police
tape.

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It should be noted that when I first arrived on scene I attempted to turn
on my Axon camera. It was not until the scene was secured and I went to
turn my camera off that I realized my cord had come undone and nothing had
been recorded.




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: N52 - Ruff, Michael
   Related date/time: Aug-14-2017 (Mon.) 532
I responded to the area of 1000 S State Street after hearing Officers
advise over the air that shots had been fired.

Upon arrival I blocked north bound traffic on State Street at Williams
Avenue.

While putting up crime scene tape near Palmer Court a male, later
identified as Steve Raider 12/18/55, approached me and stated he had
observed the Officers stop someone.

I advised Steve to stay put and I advised Sgt. Hatch I had a witness.
Officer Borders arrived and Steve was turned over to him. My Axon Flex was
not activated when Steve approached me. I did not turn it on while blocking
traffic for several hours.

I remained at my post blocking traffic until the scene was released by UPD.

NFD N52




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Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: M98 - Jewkes, Kevin
   Related date/time: Aug-14-2017 (Mon.) 537
I ASSISTED WITH SCENE SECURITY AND THE MAJOR INCIDENT LOG.

I responded to assist officers at the scene of an officer involved
shooting at 1002 S State St. When I arrived I observed officers attempting
to stop the bleeding from the subjects leg. I began to set up scene
security and to check the scene for evidence. I observed the jacket from
one of the fired rounds on the sidewalk. I then found two shell casings in
the grass. Cones were placed over the evidence that had been found to
preserve the evidence.
A short time later I signed in on the Major Incident Log. I asked Officer
Stone, who had given me the log, if he was the officer who initiated the
log. He said he wasn't and did not know who had started it. At this time I
took over the Log and maintained it until the scene was cleared. I booked
the log into evidence. When I arrived on scene I activated my camera.
However, when I attempted to tag my video no video was found. It appears
there was a malfunction of my camera.
NFD
M98




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Related Text Page(s)
    Document: INVSTGTR F/U
    Author: N86 - North, Jeffrey
    Subject: SCENE/VEHICLES
    Related date/time: Aug-14-2017 (Mon.) 542

             On 08/13/2017 I was called out by Sgt. Mitchell of the SLCPD Homicide Unit to respond to the
scene of an officer involved shooting. I responded to 1002 S State St to assist on this case. When I arrived I
was assigned to be the scene liaison for Unified Police Department, who would be handling the investigation.
 I remained at the scene of the incident with Unified PD personnel until the scene was cleared at 05:04 the next
morning. While on scene I was contacted by Lt. West who requested that I remove personal items from Officer
Fox's vehicle. I removed an I pod, a pair of earbud style headphones, and a lunch box from Officer Fox's vehicle
and had them transported to the Public Safety Building. At approximately 03:45 Unified Police Department
informed me that they were finished with SCLPD patrol vehicles that were at the time being considered part of
the scene. Officer's Robison and Smith retrieved their patrol vehicles from scene. Officer Fox's vehicle was
transported from the scene by SLCPD officers. The scene was released shortly after.

NFD N86




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Related Text Page(s)
    Document: NOTIFICATION
    Author: I57 - Mitchell, Todd C
    Subject: (Next of Kin #1) SMITH, TASHA
    Related date/time: Aug-15-2017 (Tue.)
I received a call from Tasha Smith who identified herself as the daughter of Patrick Harmon. Tasha heard her
father was shot and killed by one of our officers. I explained the investigative Protocol process and stated I would
have a UPD Protocol detective contact her. I gave her my phone number in case they didn't contact her and I
expressed my condolences.
I then text Sgt. Tim Duran with UPD and asked him to have one of his detectives contact Tasha. Sgt. Duran
immediately texted back stating he would have a detective "call her now".




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Related Text Page(s)
       Document: NOTIFICATION
       Author: I57 - Mitchell, Todd C
       Subject: (Next of Kin #2) HARMON, ANTIO
       Related date/time: Aug-15-2017 (Tue.) 1105

From: Mitchell, Todd (Police)
Sent: Tuesday, August 15, 2017 11:03 AM
To: Nygaard, Laura <Laura.Nygaard@slcgov.com>
Cc: Brown, Mike <Mike.Brown@slcgov.com>; Kendrick, Jeff <Jeff.Kendrick@slcgov.com>
Subject: RE: Mr. Patrick Harmon / Officer Involved Shooting / D5

All,

I just spoke with Antionette Harmon and tried to give her as much information as possible at this point in the
investigation. I explained an outside agency (Unified PD lead Protocol Team) along with the District Attorney?
s Office was called in and are conducting the investigation. I informed her I would have UPD give her a call
(Already passed this request on to UPD and they said they would reach out to her). I also gave her my phone
number and said I would be happy to be her point of contact with our department at this time.

Anntionette gave me two good phone numbers.

314-939-2467

314-301-4972

From: Nygaard, Laura
Sent: Tuesday, August 15, 2017 10:39 AM
To: Mitchell, Todd (Police) <Todd.Mitchell@slcgov.com>
Cc: Nygaard, Laura <Laura.Nygaard@slcgov.com>; Brown, Mike <Mike.Brown@slcgov.com>; Kendrick, Jeff
<Jeff.Kendrick@slcgov.com>
Subject: FW: Mr. Patrick Harmon / Officer Involved Shooting / D5

Todd,

I called Nate Salazar and left him a message that you will speak to Ms. Antoinette Harmon, and asked him to
refer her to you at 3730. Her number is REDACTED . I also let the Council office know, as she contacted them
also.




                                                                                   SLCC 000175
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        •
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                               Document
                                    LAKE80-7POLICE
                                         154
                                             Filed 10/28/22 PageID.1397 Page 129 of
                                                      DEPARTMENT
                                  GENERAL OFFENSE HARDCOPY
                    GO# SL 2017-149617 CLOSED/COMPLETED                       906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Thank you so much.

                                                         LAURA NYGAARD

                                                         Executive Assistant to the Chief of Police


                                                         Salt Lake City Police Department


                                                         O: 801.799.3801 | M: 801.599.1699 | laura.nygaard@slcgov.com




From: Salazar, Nate
Sent: Tuesday, August 15, 2017 9:45 AM
To: Kendrick, Jeff <Jeff.Kendrick@slcgov.com>
Cc: Seelig, Jennifer <Jennifer.Seelig@slcgov.com>; Brown, Mike <Mike.Brown@slcgov.com>; Nygaard, Laura
<Laura.Nygaard@slcgov.com>
Subject: Mr. Patrick Harmon / Officer Involved Shooting / D5
Importance: High

Good Morning Lt. Kendrick,

Ms. Harmon, Mr. Patrick Harmon?s sister has called into the Mayor?s office this morning requesting information
about her brother?s death. She alleges that there are conflicting news accounts of the incident that took place
8/13/17 and wants accurate details about the incident. Please give me a call back as soon as you can as I would
like to get her the best information available, or at least coordinate the best representative from SLCPD / City to
speak with her. Thank you.

Best,

Nate Salazar, MSW

Associate Director of Community Empowerment

O: 801-535-7976

M: 385-775-8406




                                                                                                  SLCC 000176
For: MH7014        Printed On: Aug-17-2018 (Fri.)                                                                Page 129 of 154
        •
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                               Document
                                    LAKE80-7POLICE
                                         154
                                             Filed 10/28/22 PageID.1398 Page 130 of
                                                      DEPARTMENT
                                  GENERAL OFFENSE HARDCOPY
                      GO# SL 2017-149617 CLOSED/COMPLETED   906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




OFFICE of the MAYOR

SALT LAKE CITY CORPORATION


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WWW.SLCGOV.COM




                                                                       SLCC 000177
For: MH7014           Printed On: Aug-17-2018 (Fri.)                               Page 130 of 154
     •
  Case 2:19-cv-00553-HCN-CMR SALT
                             Document
                                  LAKE80-7POLICE
                                       154
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                                                    DEPARTMENT
                                GENERAL OFFENSE HARDCOPY
              GO# SL 2017-149617 CLOSED/COMPLETED    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: O96 - Smith, Kristopher
   Related date/time: Aug-16-2017 (Wed.) 13
I was involved in this case and was interviewed by UPD in regards to it.
See their report for further details.




                                                                SLCC 000178
For: MH7014   Printed On: Aug-17-2018 (Fri.)                                Page 131 of 154
       •
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                                  LAKE80-7POLICE
                                       154
                                           Filed 10/28/22 PageID.1400 Page 132 of
                                                    DEPARTMENT
                                GENERAL OFFENSE HARDCOPY
              GO# SL 2017-149617 CLOSED/COMPLETED    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Text Page(s)
   Document: FIELD SUPPLEMENTAL
   Author: Q11 - Robinson, Scott
   Related date/time: Aug-22-2017 (Tue.) 1717
I arrived as a backing Officer on this call.

I was interviewed by UPD Detectives. See their interview for further
information regarding my involvement in this incident.

NFI.




                                                                SLCC 000179
For: MH7014   Printed On: Aug-17-2018 (Fri.)                                Page 132 of 154
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                                 GENERAL OFFENSE HARDCOPY
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Related Text Page(s)
    Document: INVSTGTR F/U
    Author: K27 - Mount, Harry
    Subject: DA LETTER
    Related date/time: Oct-04-2017 (Wed.) 1304
I received the DA's Clearance Letter; I placed a copy of it in the attachments of this report and in the Homicide
"I" drive.

The case will be closed. -NFD-




                                                                                      SLCC 000180
For: MH7014      Printed On: Aug-17-2018 (Fri.)                                                     Page 133 of 154
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                                                     DEPARTMENT
                                 GENERAL OFFENSE HARDCOPY
                 GO# SL 2017-149617 CLOSED/COMPLETED                   906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Text Page(s)
    Document: INVSTGTR F/U
    Author: K27 - Mount, Harry
    Subject: PROPERTY/EVIDENCE
    Related date/time: Oct-11-2017 (Wed.) 1412
101117, 1125 hrs: I took possession of all the evidence/property from UPD Det Zach Bench. I transported it
to the SLCPD Evidence warehouse and booked all the items under SL17149617A. There were several items
which had bio-hazard stickers on them, I repackaged these items in another bag; these items were items #
6,8,9,11,13,14, and 31. Item #33/Bike had an inoperable tail light taped to the bike seat pole which fell off
during transport. I taped the light back onto the pole. -NFD-




                                                                                    SLCC 000181
For: MH7014     Printed On: Aug-17-2018 (Fri.)                                                    Page 134 of 154
      •
   Case 2:19-cv-00553-HCN-CMR SALT
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                                   LAKE80-7POLICE
                                        154
                                            Filed 10/28/22 PageID.1403 Page 135 of
                                                     DEPARTMENT
                                 GENERAL OFFENSE HARDCOPY
               GO# SL 2017-149617 CLOSED/COMPLETED    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Text Page(s)
   Document: NCIC CHECK
   Author: 86L - Whitaker, Eva
   Subject: NCIC.MKE/NCIC.ORI/UT0180300.TX
   Related date/time: Oct-12-2017 (Thu.) 721
1L0100000000WL22A00
UT0180300

NO RECORD SER/YCK912 MAK/GLC


>>>> ORIGINATING TRANSACTION <<<<

MKE/QG.SER/YCK912.MAK/GLC.CAL/9.ORI/UT0180300.




                                                                 SLCC 000182
For: MH7014   Printed On: Aug-17-2018 (Fri.)                                 Page 135 of 154
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                                        154
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                                                     DEPARTMENT
                                 GENERAL OFFENSE HARDCOPY
               GO# SL 2017-149617 CLOSED/COMPLETED    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Text Page(s)
   Document: NCIC CHECK
   Author: 86L - Whitaker, Eva
   Subject: NCIC.MKE/NCIC.ORI/UT0180300.TX
   Related date/time: Oct-12-2017 (Thu.) 753
1L0100000000WL43J00
UT0180300

NO RECORD SER-OAN/CB9B8337 TYP/BBICYCL


>>>> ORIGINATING TRANSACTION <<<<

MKE/QA.TYP/BBICYCL.SER/CB9B8337.ORI/UT0180300.




                                                                 SLCC 000183
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                                                     DEPARTMENT
                                 GENERAL OFFENSE HARDCOPY
                 GO# SL 2017-149617 CLOSED/COMPLETED                906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Text Page(s)
    Document: INVSTGTR F/U
    Author: K27 - Mount, Harry
    Subject: FOX PROPERTY RELEASE
    Related date/time: Jan-04-2018 (Thu.) 1509
Sgt Mitchell instructed me to release Officer Fox's weapon and magazines to him (Item numbers
SL17149617A-021, 022, and 030. I sent an e-mail to evidence releasing the items to Officer Fox. -NFD-




                                                                                SLCC 000184
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                                                     DEPARTMENT
                                 GENERAL OFFENSE HARDCOPY
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Related Text Page(s)
    Document: INVSTGTR F/U
    Author: K27 - Mount, Harry
    Subject: SLCPD IA LETTER
    Related date/time: Jan-09-2018 (Tue.) 1217
I received the SLCPD IA letter; it was placed in the Homicide I drive and in the attachments of this report. -
NFD-




                                                                                     SLCC 000185
For: MH7014      Printed On: Aug-17-2018 (Fri.)                                                    Page 138 of 154
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                              Document
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                                                     DEPARTMENT
                                 GENERAL OFFENSE HARDCOPY
                 GO# SL 2017-149617 CLOSED/COMPLETED                    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Text Page(s)
    Document: INVSTGTR F/U
    Author: K27 - Mount, Harry
    Subject: FBI LETTER
    Related date/time: Jan-09-2018 (Tue.) 1219
I received the FBI letter; it was placed in the Homicide I drive and in the attachments of this report. -NFD-




                                                                                      SLCC 000186
For: MH7014      Printed On: Aug-17-2018 (Fri.)                                                    Page 139 of 154
       •
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                                                     DEPARTMENT
                                 GENERAL OFFENSE HARDCOPY
                 GO# SL 2017-149617 CLOSED/COMPLETED                  906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Text Page(s)
    Document: INVSTGTR F/U
    Author: K27 - Mount, Harry
    Subject: CLOSED
    Related date/time: Jan-09-2018 (Tue.) 1221
I received the DA's, FBI's, and SLCPD Internal Affairs clearance letters. The case will be closed. -NFD-




                                                                                   SLCC 000187
For: MH7014     Printed On: Aug-17-2018 (Fri.)                                                  Page 140 of 154
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                                                     DEPARTMENT
                                 GENERAL OFFENSE HARDCOPY
                 GO# SL 2017-149617 CLOSED/COMPLETED               906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Text Page(s)
    Document: INVSTGTR F/U
    Author: K27 - Mount, Harry
    Subject: PROPERTY RELEASE
    Related date/time: Jan-30-2018 (Tue.) 955
I released item #SL17149617A-028 and 029 to UPD Detective Zach Bench for analysis. I sent an e-mail to
Evidence releasing the items to Det Bench. -NFD-




                                                                                SLCC 000188
For: MH7014     Printed On: Aug-17-2018 (Fri.)                                               Page 141 of 154
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                                                    DEPARTMENT
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               GO# SL 2017-149617 CLOSED/COMPLETED                   906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV
                                                                                         Follow Up Report # SL 1




Follow Up Report # SL 1
 Assignment Information
   Assigned to: K27 - Mount, Harry Rank: Detective
   Capacity: Investigate/Case Manager Org unit: Homicide Squad
   Assigned on: Aug-14-2017 (Mon.) 1008 by: I57 - Mitchell, Todd C
   Report due on: Feb-10-2018 (Sat.)
 Submission Information
   Submitted on: Jan-09-2018 (Tue.) 1223
   Checked by: I57 - Mitchell, Todd C
   Approved on: Jan-09-2018 (Tue.) by: I57 - Mitchell, Todd C
   Follow Up Conclusion
   Follow Up concluded: YES




                                                                                SLCC 000189
For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                 Page 142 of 154
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                GO# SL 2017-149617 CLOSED/COMPLETED   906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Clearance Information
 Agency: Salt Lake City Proper
 Cleared status: Not Applicable - Not Applicable
 Cleared on: Jan-09-2018 (Tue.)
 Cleared by Officer 1: K27 - Mount, Harry
 Org Unit: HOMI - Homicide Squad
 Complainant/Victim notified: NO




                                                                 SLCC 000190
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                                                    DEPARTMENT
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                                                    DEPARTMENT
                                GENERAL OFFENSE HARDCOPY
                 GO# SL 2017-149617 CLOSED/COMPLETED                        906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Property Report(s)
 Report Information
   Property Report #: 17149617
   Property case status: SEIZED
   Submitted on: Aug-14-2017 (Mon.)       by: Jewkes, Kevin
   Related:
   Offense: GO SL 2017- 149617
   Related items: 1
   Flags = d (disposed) x (x-reference) n (entered on NCIC) *e (evidence)




                                                                                       SLCC 000192
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                                                    DEPARTMENT
                                GENERAL OFFENSE HARDCOPY
                 GO# SL 2017-149617 CLOSED/COMPLETED                        906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Related Property Report(s)
 Report Information
   Property Report #: 17149617A
   Property case status: SEIZED
   Submitted on: Oct-11-2017 (Wed.) by: Mount, Harry
   Related:
   Offense: GO SL 2017- 149617
   Location: 1002 S STATE ST
   Municipality: SALT LAKE CITY County: SLC Cncl Dist 5
   District: 2 Zone: Z5
   Related items: 33
   Flags = d (disposed) x (x-reference) n (entered on NCIC) *e (evidence)




                                                                                       SLCC 000193
For: MH7014     Printed On: Aug-17-2018 (Fri.)                                                     Page 146 of 154
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                                GENERAL OFFENSE HARDCOPY
              GO# SL 2017-149617 CLOSED/COMPLETED                                          906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Property Related Attachment(s) - Authorization to dispose
 Attachment Description: AUTHO TO RLS TAG A21, 22, & 30 TO OWNER-MOUNT
 Reference Number:


                Barker, Brandy
                From:                     Mount, Pat
                Sent:                     Thursday, January 04, 2018 3:12 PM
                To:                       Evidence
                Subject:                  Property Release 17-149617


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                                Document 80-7POLICE
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                                   GENERAL OFFENSE HARDCOPY
I              IGO# SL 2017-149617 CLOSED/COMPLETED                                           906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Property Related Attachment(s) - Authorization to dispose
    Attachment Description: TAGS A28 AND A29 TO ZACH BENCH OF UPD - DET MOUNT
    Reference Number:



                  Whitaker, Eva

                  From:
                  From:                     Mount,
                                            Mount, Pat
                  Sent:                                      30, 2018 9:54 AM
                                            Tuesday, January 30,
                  To
                  To::                      Evidence
                  Subject:
                  Subject:                  17-149617 Property Release


                  Plea se release items# SL17149617A-028 & 029 to Detective Zach Bench with UPD.
                  Please                                                                    UPD.

                  Detective Pat Mount
                  SLCPD Homicide Unit
                  801-799-3745




                                                                                                         SLCC 000195
For: MH7014     Printed On: Aug-17-2018 (Fri.)                                                                       Page 148 of 154
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                                          154
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Property Related Attachment(s) - Release to Outside agency
    Attachment Description: TAG A-29 - DET ZACH BENCH WITH UPD
    Reference Number:




                    54
                    Case
                    case Number(s):
                         amber(s:
                                    Salt Lake City Police Department
                                        Evidence & Property Unit

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                    Tag(s) to be released:
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                    Authorized by (Signature): X                  /:


                    Release to Owner     Owner Rep. // Kin            Item Review


                           □
                                                                                             Lab Analysis


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                                                   □                      □
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                                                                                                   □
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                     Going to Court          Outside Agency           Det. Case
                                                                           Case File
                                                                                File


                                                                          □
                                                                      Det.


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                                                                                            Please Destroy

                          -□                       X
                                                   ~                      □                        □
                    .Qper8i@nature;J
                    Owner Signature: X _ _ _ __ __ _ _ _ __ _ __ _ _ _ __ _

                    Address: _ _ _ _ __ _ _ _ _ _ __ _ _ _ _ _ _ __ _ __ _
                    Address:                                             _

                    City,lip
                    City, Zip: _ _ _ _ __ __ _ _ _ _ __                    Phone#
                                                                           hone#t _ _ _ _ _ __ _

                    II decline money verification. Owner's initials:
                                                           initials: _ __

                                                     Interoffice Use Only

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                            OD.L.    State:. _ __ _ _ _ ID Number:.
                                                           Number:  _ __ __ _ _ _ __
                              Sheet #:
                    Booking Sheet#:                                  Shot ID:
                                                               Mug Shot   ID: _ _ _ _ __
                    Other: _ _ _ _ __ _ _ _ __ _ _ _ _ __ _ _ _ _ _ _ _ __ _
                    Time Out: _ _ __ _ _ Time In: _ __ _ _ _ Evidence ID# _ _ _ __




                                                                                                   SLCC 000196
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                                GENERAL OFFENSE HARDCOPY
              GO# SL 2017-149617 CLOSED/COMPLETED                                            906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Property Related Attachment(s) - Authorization to dispose
 Attachment Description: AUTHO TO RLS TAG A25 TO DET. Z. BENCH-UPD- MOUNT
 Reference Number:


                Barker, Brandy
                From:                     Mount, Pat
                Sent:                     Wednesday, January 31, 2018 7:18 AM
                To:                       Evidence
                Subject:                  17-149617 Property Release


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For: MH7014   Printed On: Aug-17-2018 (Fri.)                                                                        Page 150 of 154
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                                                      GENERAL OFFENSE HARDCOPY
I                 GO# SL 2017-149617 CLOSED/COMPLETED                                  906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Property Related Attachment(s) - Release for Review
    Attachment Description: TAG A25
    Reference Number:



                                        Salt Lake City Police Department
                                            Evidence & Property Unit

                     Case
                     case Number(s):
                          Namers: _ _     h1.
                                          HUI]
                                     h__e._.----'--\':\__._1----'-'-\,-'_
                                                                        -\l _ _ __   Date:   l)\·'? \. 'yo\ :l
                     Tag(s) to be released: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___




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                     Authorized meta=e to:
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                     Authorized by (Prini,:       (Ac) "-en
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                     Authorized by (Signature): X
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                      Release to Owner         Owner Rep. // Kin           Item Review            Lab Analysis


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                      II decline money verification. Owners
                                                     Owner's initials:
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                      OS.ID.  OD.L.. I] State:,
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                                                              Number:  _ _ _ _ _ _ _ __
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                      Booking Sheet#:                                   Shot ID:
                                                                  Mug Shot   ID: _ _ _ _ ___
                      Other: _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ _ ___
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Property Related Attachment(s) - Release to Owner
    Attachment Description: TAG A21,A22, A28, A30 OFFICER C. FOX
    Reference Number:




                                      Salt Lake City Police Department
                                          Evidence & Property Unit

                     Case Namberts     1[kl1
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                     Release to Owner      Owner Rep. // Kin       Item Review              Lab Analysis


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                                Court         Outside Agency


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                     Address: _
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                     Il decline money verification. Owner's initials:
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                                                      GENERAL OFFENSE HARDCOPY
I                 GO# SL 2017-149617 CLOSED/COMPLETED                                    906-1 HOMI-PUB OFF-ID WEAP/OFFIC INV




Property Related Attachment(s) - Release for Review
    Attachment Description: TAG A29
    Reference Number:



                                        Salt Lake City Police Department
                                            Evidence & Property Unit

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                     Case Number(s):.         [1.
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                      Release to Owner                    // Kin
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                        Going to Court


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                                 _ _ _ _ _ _ _ _ _ _ _ __ Phone# _ _ _ _ _ __
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                      Il decline money verification. Owner's initials:
                                                             initials: _ __

                                                           Interoffice Use Only

                      OS.ID. OD.L. I] State:
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                      Booking Sheet#:                                Shot ID:
                                                                Mug Shot  ID: _ _ _ _ __    _
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                                      *** END OF HARDCOPY ***




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